Recovery and Treatment for Patients and Communities Act," or the "SUPPORT for Patients and

Communities Act." This Bill passed the House by a vote of 396-14 on June 22, 2018, passed the

Senate by a vote of 99-1 on September 17, 2018, and was signed into law by the President on

October 24,2018. Among other provisions,the Bill made it easier to intercept drugs being shipped

into the country, authorized new funding for more comprehensive treatment, sped up research on

non-addictive painkillers, and provided for broader coverage for substance abuse under Medicare

and Medicaid regulations that have occasionally stood in the way of treatment. Congressional

interest in the issue is ongoing.



V.      THE MARKETING DEFENDANTS
                               'FALSE,DECEPTIVE,AND UNFAIR
        MARKETING OF OPIOIDS

       246.    The opioid epidemic did not happen by accident.

       247.    Before the 1990s, generally accepted standards of medical practice dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

patients' ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

       248.    Each Marketing Defendant has conducted, and continues to conduct, a marketing

scheme designed to persuade doctors and patients that opioids can and should be used for chronic

pain, resulting in opioid treatment for a far broader group of patients who are much more likely to

become addicted and suffer other adverse effects from the long-term use of()plaids. In connection

with this scheme, each Marketing Defendant spent, and continues to spend, millions of dollars on


                                                67
        251.    The Marketing Defendants intentionally continued their conduct, as alleged herein,

 with knowledge that such conduct was creating the opioid nuisance and causing the harms and

damages alleged herein.

        252.     As alleged throughout this Complaint, Defendants' conduct created a public health

crisis and a public nuisance. The harm and endangerment to the public health, safety, and the

environment created by this public nuisance is ongoing and has not been abated.

        253.    The public nuisance—i.e., the opioid epidemic—created, perpetuated, and

maintained by Defendants can be abated and further recurrence of such harm can be abated by,

inter alia, (a) educating prescribers (especially primary care physicians and the most prolific

prescribers of opioids) and patients regarding the true risks and benefits of opioids, including the

risk of addiction, in order to prevent the next cycle of addiction;(b)providing addiction treatment

to patients who are already addicted to opioids; and (c) making naloxone widely available so that

overdoses are less frequently fatal.

        254.    Defendants have the ability to act to abate the public nuisance, and the law

recognizes that they must do so. It is the manufacturer of a drug that has primary responsibility to

ensure the safety, efficacy, and appropriateness of a drug's labeling, marketing, and promotion.

All companies in the supply chain of a controlled substance are primarily responsible for ensuring

that such drugs are only distributed and dispensed to appropriate patients and not diverted. These

responsibilities, to ensure that their products and practices meet state controlled substances and

consumer protection laws and regulations, exist independent of any FDA or DEA regulation. As

registered manufacturers and distributors of controlled substances, Defendants are placed in a

position of special trust and responsibility, and are uniquely positioned, based on their knowledge

of prescribers and orders, to act as a first line of defense.



                                                  69
misrepresentation, contributed to an overall narrative that aimed to—and did—mislead doctors,

patients, and payors about the risks and benefits of opioids. While this Complaint endeavors to

document examples of each Marketing Defendant's misrepresentations and the manner in which

they were disseminated, they are just that—examples. The Complaint is not, especially prior to

discovery, an exhaustive catalog of the nature and manner of each deceptive statement by each

Marketing Defendant.

               1.        Falsehood #1: The Risk of Addiction from Chronic Opioid Therapy is
                         Low

       258.    Central     to   the   Marketing    Defendants' promotional scheme           was the

misrepresentation that opioids are rarely addictive when taken for chronic pain. Through their

marketing efforts, the Marketing Defendants advanced the idea that the risk of addiction is low

when opioids are taken as prescribed by "legitimate" pain patients. That, in turn, directly led to the

expected and intended result that doctors prescribed more opioids to more patients—thereby

enriching the Marketing Defendants and substantially contributing to the opioid epidemic.

       259.    Each of the Marketing Defendants claimed that the potential for addiction from its

opioids was relatively small or non-existent, even though there was no scientific evidence to

support those claims. None of them have acknowledged, retracted, or corrected their false

statements.

       260.    In fact, studies have shown that a substantial percentage of long-term users of

opioids experience addiction. Addiction can result from the use of any opioid, "even at




                                                  71
                                    ADDICTION RARE IN PATIENTS TREATED
                                             WITH NARCOTICS
                              To tar Editor: Recently, we examined our current Mrs to deter-
                            mine the incidence of narcotic addiction in 39.046 hospitalized
                            medical patients' who were monitored consecutively. Although
                            there were 11,882 patients. who received at least one narcotic prep-
                            aration, there were only four cases of reasonably well documented
                            addiction in patients who had no history of addiction. The addic-
                            tion was considered major in only one instance. The drugs im-
                            plicated were meperidine in two patients,' Percodan in one, and
                            hydromorphone in one. We conclude that despite widespread use of
                            narcotic drugs in hospitals, the development of addiction is rare in•
                            medical patients with no history of addiction.
                                                                                   JANE Palm
                                                                            HERSHILL Jim M.D.
                                                                      Boston Collaborative Drug
                                                                           Surveillance Program
                            Waltham, MA 021541                 Boston University Medical Center
                             I. lick H. Miettinen OS, Shapiro S. Lewis OP. SWIM Y, Slooe D.
                                Comprebardve drug survdltance. /AMA. 1470; 213:1453-60.
                            2. Miller RR,Jidt M.Clinical effects of meperidine in hospitatieed medical
                                patients. I Clin Pharmacal. 19711; 18:111041.




        263.      As Dr. Jick explained to ajournalist years later, he submitted the statistics to NEJM

as a letter because the data were not robust enough to be published as a study.97

        264.      Purdue nonetheless began repeatedly citing this letter in promotional and

educational materials as evidence of the low risk of addiction, while failing to disclose that its

source was a letter to the editor, not a peer-reviewed paper.98 Citation of the letter, which was

largely ignored for more than a decade,significantly increased after the introduction ofOxyContin.

While first Purdue and then other Marketing Defendants used it to assert that their opioids were

not addictive, "that's not in any shape or form what we suggested in our letter," according to Dr.

Jick.




97Barry Meier, Pain Killer: A "Wonder" Drug's Trail OfAddiction And Death, at 47 (Rodale
2003)(herein after "Pain Killer").

98 Porter and   Jick Letter, supra n. 97.



                                                             73
        267.    "It's difficult to overstate the role of this letter," said Dr. David Juurlink of the

 University of Toronto, who led the analysis. "It was the key bit of literature that helped the opiate

 manufacturers convince front-line doctors that addiction is not a concem."102

        268.    Alongside its use ofthe Porter and Jick letter, Purdue also crafted its own materials

and spread its deceptive message through numerous additional channels. In its 1996 press release

announcing the release of OxyContin, for example, Purdue declared, "The fear of addiction is

exaggerated."1°3

        269.    Abbott sales staff were instructed with respect to euphoria patients were receiving

on the shorter-acting painkiller Vicodin, they should tell the physician that "OxyContin has fewer

such effects." Abbott's"King ofPain" taught his staffof"Royal Crusaders" that OxyContin would

"minimize[e] the risk of dependence" and "lower[] euphoria," when, in fact, he had little

knowledge of pharmacology and no basis for these statements.

        270.    At a hearing before the House of Representatives' Subcommittee on Oversight and

Investigations of the Committee on Energy and Commerce in August 2001, Purdue emphasized

"legitimate" treatment, dismissing cases of overdose and death as something that would not befall

"legitimate" patients: "Virtually all of these reports involve people who are abusing the




102 Marilynn Marchione,Painful words: How a 1980letterfueled the opioid epidemic,STAT NEWS,
May 31, 2017, httos://www.statnews.com/20I 7/05/31/ooloid-enidemic-nejm-letter/.

103 Press Release, OxyContin, New Hope for Millions of Americans Suffering from Persistent
Pain: Long-Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996),
http://documents.latimes.com/oxvcontin-press-release-1996/.



                                                 75
        273.   Purdue, through its unbranded website Partners Against Pain,'48 stated the

following: "Current Myth: Opioid addiction (psychological dependence) is an important clinical

problem in patients with moderate to severe pain treated with opioids. Fact: Fears about

psychological dependence are exaggerated when treating appropriate pain patients with opioids."

       274.    Former sales representative Steven May, who worked for Purdue from 1999 to

2005, explained to a journalist how he and his coworkers were trained to overcome doctors'

objections to prescribing opioids. The most common objection he heard about prescribing

OxyContin was that "it's just too addictive."109 May and his coworkers were trained to "refocus"

doctors on "legitimate" pain patients, and to represent that "legitimate" patients would not become

addicted. In addition, they were trained to say that the 12-hour dosing made the extended-release

opioids less "habit-forming" than painkillers that need to be taken every four hours.

       275.    According to interviews with prescribers and former Purdue sales representatives,

Purdue has continued to distort or omit the risk of addiction while failing to correct its earlier

misrepresentations, leaving many doctors with the false impression that pain patients will only

rarely become addicted to opioids.

       276.    With regard to addiction, Purdue's label for OxyContin has not sufficiently

disclosed the true risks to, and experience of, its patients. Until 2014, the OxyContin label stated



1°8 Partners Against Pain consists of both a website, styled as an "advocacy community" for better
pain care, and a set of medical education resources distributed to prescribers by sales
representatives. It has existed since at least the early 2000s and has been a vehicle for Purdue to
downplay the risks of addiction from long-term opioid use. One early pamphlet, for example,
answered concerns about OxyContin's addictiveness by claiming: "Drug addiction means using a
drug to get 'high' rather than to relieve pain. You are taking opioid pain medication for medical
purposes. The medical purposes are clear and the effects are beneficial, not harmful."

1°9 David Remnick, How OxyContin Was Sold to the Masses(Steven May interview with Patrick
Radden Keefe), THE NEW YORKER,Oct. 27,2017, httos://www.newvorkercom/podcast/the-new-
vorker-radio-houi
                lhow-oxvcontin-was-sold-to-the-masses.
                                                77
at the bottom. Kathe and the Project Tango team reviewed their findings that the "market" of

people addicted to opioids, measured coldly in billions ofdollars, had doubled from 2009 to 2014:


                          US market overview,substance abuse'
                                                           El Non-
                                                              opioid
                          Gross sales
                          $ billion                             Opioid

                          2.4                                    2.3     2.3
                          2.2
                                                                 0.4
                          2.0                            1.9
                          1.8                    1.7
                                                         0.4
                          1.6             1.5
                                                 0.4
                          1.4       1.3
                                          0.4
                          1.2
                          1.0   I 0.5                            1.9     1.9
                          0.8   I
                          0.6   1         1.1
                                                 1.3
                                                         1.5

                          0.4I 0.8
                          02 I
                            0
                                1 s•
                        Purdue's measure ofthe opioid addiction "market"

       28L     Kathe and the staff found that the catastrophe provided an excellent compound

annual growth rate("CAGR"):"Opioid addiction (other than heroin) has grown by —20% CAGR

from 2000 to 2010." Kathe and the staff revealed in their internal documents that Purdue's tactic

of blaming addiction on untrustworthy patients was a lie. Instead, the truth is that opioid addiction

can happen to anyone who is prescribed opioids:

                  ■ "This can happen to any-one — from a 50 year
                    old woman with chronic lower back pain to a 18
                    year old boy with a sports injury, from the very
                    wealthy to the very poor"
                      Purdue's "Project Tango"patient and clinical rationale

                                                 79
         288.   APF conveyed through its National Initiative on Pain Control ("NIPC") and its

website www.Painknowledge.com, which claimed that "[p]eople who take opioids as prescribed

usually do not become addicted."

         289.   Another Endo website, www.PainAction.com, stated: "Did you know? Most

chronic pain patients do not become addicted to the opioid medications that are prescribed for

them."

         290.   A brochure available on www.Painknowledge.com titled "Pain: Opioid Facts," an

Endo- sponsored NIPC, stated that "people who have no history ofdrug abuse, including tobacco,

and use their opioid medication as directed will probably not become addicted." In numerous

patient education pamphlets, Endo repeated this deceptive message.

         291.   In a patient education pamphlet titled "Understanding Your Pain: Taking Oral

Opioid Analgesics," Endo answers the hypothetical patient question— "What should I know about

opioids and addiction?" —by focusing on explaining what addiction is("a chronic brain disease")

and is not("Taking opioids for pain relief"). It goes on to explain that "[a]ddicts take opioids for

other reasons, such as unbearable emotional problems. Taking opioids as prescribed for pain relief

is not addiction." This publication is still available online and was edited by KOL Dr. Russell

Portenoy."°

         292.   In addition, a 2009 patient education publication, Pain: Opioid Therapy,funded by

Endo and posted on www.Painknowledge.com, omitted addiction from the "common risks" of

opioids, as shown below:




10 Margo  McCaffery,RN MS,FAAN & Chris Pasero, RN,MS FAAN, Understanding Your Pain,
Taking                      Oral                     Opioid                       Analgesics,
http://www.thblack.com/links/rsd/understand pain opioid analuesics.pdf(last accessed October
26, 2018).
                                                81
"myth" that opioids are addictive, and asserted as fact that "[mjany studies show that opioids are

rarely addictive when used properly for the management of chronic pain"(emphasis in original).

Until recently, this guide was still available online.




                            Myth: Opioid medications are
                            always addictive.
                            Fact: MN?mem show 6E6
                            opioids rarey
                                       l difianzike
                                 properly Ibi               managementaff
                            chronic PAL

       297.    Janssen's website for Duragesic included a section addressing "Your Right to Pain

Relief' and a hypothetical patient's fear that "I'm afraid I'll become a drug addict." The website's

response: "Addiction is relatively rare when patients take opioids appropriately."

                       d.      Cephalon's Misrepresentations Regarding Addiction Risk

       298.    Cephalon sponsored and facilitated the development of a guidebook, Opioid

Medications and REMS:A Patient's Guide, which included claims that "patients without a history

of abuse or a family history of abuse do not commonly become addicted to opioids." Similarly,

Cephalon sponsored APF's Treatment Options: A Guidefor People Living with Pain(2007), which

taught that addiction is rare and limited to extreme cases of unauthorized dose escalations,

obtaining opioids from multiple sources, or theft.

       299.    For example, a 2003 Cephalon-sponsored CME presentation titled Pharmacologic

Management ofBreakthrough or Incident Pain, posted on Medscape in February 2003, teaches:




                                                 83
       302.    By 2012, Mallinckrodt, through the C.A.R.E.S. Alliance, was promoting a book

titled Defeat Chronic Pain Now! This book is still available online.'13 The false claims and

misrepresentations in this book include the following statements:

               a.     "Only rarely does opioid medication cause a true addiction when
                      prescribed appropriately to a chronic pain patient who does not have
                      a prior history of addiction."

               b.     "It is currently recommended that every chronic pain patient
                      suffering from moderate to severe pain be viewed as a potential
                      candidate for opioid therapy."

              c.      "When chronic pain patients take opioids to treat their pain, they
                      rarely develop a true addiction and drug craving."

              d.      "Only a minority of chronic pain patients who are taking long-term
                      opioids develop tolerance."

              e.      "The bottom line: Only rarely does opioid medication cause a true
                      addiction when prescribed appropriately to a chronic pain patient
                      who does not have a prior history of addiction."

              f.      "Here are the facts. It is very uncommon for a person with chronic
                      pain to become `addicted' to narcotics IF(1)he doesn't have a prior
                      history of any addiction and(2)he only takes the medication to treat
                           23
                      pain.

              g.     "Studies have shown that many chronic pain patients can experience
                     significant pain relief with tolerable side effects from opioid
                     narcotic medication when taken daily and no addiction."

       303.   In a 2013 Mallinckrodt Pharmaceuticals Policy Statement Regarding the

Treatment ofPain and Control ofOpioid Abuse, which is still available online, Mallinckrodt stated




1 13 Bradley S. Galder, M.D.& Charles Argoff, M.D., Defeat Chronic Pain Now!: Groundbreaking
Strategies for Eliminating the Pain of Arthritis, Back and Neck Conditions, Migraines Diabetic
Neuropathy, and Chronic Illness, (Fair Winds Press 2010), available at,
https://books.google.corn/books?id—VcSQGYKXWdYC&printsec=frontcover&source=gbs_Vie
wAPI#v=snippet&q=only%2Orarely%20does%20opioid%20medication&f=false.



                                              85
        306.    Purdue shared its Partners Against Pain "Pain Management Kit," which contains

 several screening tools and catalogues of Purdue materials.

        307.    Janssen, on its website www.PrescribeResponsibly.com, states that the risk of

 opioid addiction "can usually be managed" through tools such as opioid agreements between

 patients and doctors.14 The website, which directly provides screening tools to prescribers for risk

 assessments,'15 includes a "[flour question screener" to purportedly help physicians identify and

 address possible opioid misuse.16

        308.    Purdue and Cephalon sponsored the APF's Treatment Options: A Guidefor People

Living with Pain (2007), which also falsely reassured patients that opioid agreements between

doctors and patients can "ensure that you take the opioid as prescribed" and counseled patients

that opioids "give [pain patients] a quality of life we deserve."

        309.   Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, entitled Managing

Patient's Opioid Use: Balancing the Need and Risk. This publication misleadingly taught

prescribers that screening tools, urine tests, and patient agreements have the effect of preventing

"overuse of prescriptions" and "overdose deaths."




1 14Howard A. Heit, MD,FACP, FASAM & Douglas L. Gourlay, MD, MSc, FRCPC, FASAM,
What a Prescriber Should Know Before Writing the Firs! Prescription, PRESCRIBE RESPONSIBLY.
As of the date of this filing, the "Prescribe Responsibly" website is unavailable, but an archived
version         of         this         article      may         be         accessed         here:
https://web.archive.ora/web/20171003105720/http://www.nrescriberesnonsiblv.com/articles/befo
re-prescribine-opioids (hereinafter "What a Prescriber Should Know Before Writing the First
Prescription Prescribing Opioids.").

1 15 As of the date of this filing, the website is no longer available, but an archived version is
available                                                                                       at
https://web.arch ve ort.Vvve b/20190129201 700/http://www.prescri beresponsi bl v.com/risk-
assessment-resources.

"6 Id
                                                87
 identified through such screening can take opioids long-term without significant danger of

 addiction.

                3.     Falsehood #3:Signs of Addictive Behavior are"Pseudoaddiction"
                       Requiring More Onioids

        314.    The Marketing Defendants instructed patients and prescribers that signs of

 addiction are actually indications of untreated pain, such that the appropriate response is to

 prescribe even more opioids. Dr. David Haddox, who later became a Senior Medical Director for

 Purdue, published a study in 1989 coining the term "pseudoaddiction," which he characterized as

"the iatrogenic syndrome of abnormal behavior developing as a direct consequence of inadequate

 pain management."1 17 In other words, people on prescription opioids who exhibited classic signs

 of addiction— for example, asking for more and higher doses of opioids, self-escalating their

 doses, or claiming to have lost prescriptions in order to get more opioids—were not addicted, but

 rather simply suffering from under-treatment of their pain.

        315.   In the materials and outreach they produced, sponsored, or controlled, the

 Marketing Defendants made each of these misrepresentations and omissions, and have never

 acknowledged, retracted, or corrected them.

        316.   Cephalon, Endo, and Purdue sponsored the Federation of State Medical Boards'

("FSMB")Responsible Opioid Prescribing(2007) written by Dr. Scott Fishman and discussed in

 more detail below, which taught that behaviors such as "requesting drugs by name,""demanding

or manipulative behavior," seeing more than one doctor to obtain opioids, and hoarding, which are

signs of genuine addiction, are all really signs of"pseudoaddiction."




1 17 David E. Weissman & J. David Haddox, Opioid pseudoaddiciion—an iatrogenic syndrome,
36(3) Pain 363-66 (Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565. ("latrogenic"
describes a condition induced by medical treatment.)
                                                89
instead suffer from "pseudoaddiction" because "opioids are frequently prescribed in doses that are

inadequate." Doctors on Purdue's payroll admitted in writing that pseudoaddiction was used to

describe "behaviors that are clearly characterized as drug abuse" and put Purdue at risk of

"ignoring" addiction and "sanctioning abuse." Purdue, nevertheless, urged doctors to respond to

signs of addiction by prescribing higher doses of Purdue's drugs.

        321.   Purdue publications touting the concept of "pseudoaddiction" were regularly

provided to the Purdue Individual Defendants by Purdue staff. Staff also regularly reported on the

distribution of such materials to the Purdue Individual Defendants.

        322.   Endo also sponsored a NIPC CME program in 2009 titled Chronic Opioid Therapy:

Understanding Risk While Maximizing Analgesia, which promoted pseudoaddiction and listed

"[d]ifferentiation among states of physical dependence,tolerance, pseudoaddiction,and addiction"

as an element to be considered in awarding grants to CME providers.

        323.   Endo itself has repudiated the concept of pseudoaddiction. In finding that "[t]he

pseudoaddiction concept has never been empirically validated and in fact has been abandoned by

some ofits proponents," the New York Attorney General,in a 2016 settlement with Endo,reported

that "Endo's Vice President for Pharmacovigilance and Risk Management testified to [the NY

AG] that he was not aware of any research validating the pseudoaddiction' concept" and

acknowledged the difficulty in distinguishing "between addiction and pseudoaddiction.'"1 18 Endo

thereafter agreed not to "use the term `pseudoaddiction' in any training or marketing" in New

York.




1 18 Attorney General of the State of New York, In the Matter ofEndo Health Solutions Inc. &
Endo Pharmaceuticals Inc., Assurance No.:15-228, Assurance of Discontinuance Under
Executive      Law      Section     63,    Subdivision     15    at   7,     available     at
https://www.ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.
                                               91
                4.     Falsehood #4: Blaming Addicted Patients as"Untrustworthy"
                       "Abusers"

       327.     A recurring strategy employed by the Purdue Defendants, over a period ofdecades,

was to blame any negative consequences from opioid use on moral failings ofa minority of users,

who would be labeled as "abusers" or "untrustworthy" people.

       328.     In 2001, Defendant Richard Sackler wrote down his solution to the overwhelming

evidence of overdose and death: blame and stigmatize people who become addicted to opioids.

Sackler wrote in a confidential email:"we have to hammer on the abusers in every way possible.

They are the culprits and the problem. They are reckless criminals." The Sackler Defendants chose

to stigmatize people who were hurt by opioids, calling them "junkies" and "criminals."

       329.     In December 2011, Defendant John Stewart gave a speech titled Providing Relief,

Preventing Abuse in Connecticut, which deceptively blamed the addiction, overdose,and death on

"abuse." A Purdue pamphlet entitled Responsible Opioid Prescribing told doctors that only "a

small minority of people seeking treatment may not be reliable or trustworthy" and not suitable

for addictive opioid drugs.

      • 330.    Purdue managers praised sales representatives for pitching doctors on the idea that

prescribing to "trustworthy" patients was safe. A sales rep reported that one doctor: "let me know

that she will Rx OxyContin when the pts [patients] has chronic pain and are trustworthy." The rep

added that he would "Follow up with Dr and ask what pts does she consider 'trust worthy?' A

Purdue district manager responded: "Great follow up question on what patients does he consider

trustworthy."

       331.     Defendant Richard Sackler, in a 2007 patent application he filed for a purported

treatment for opioid addiction, referred to addicts as "junkies." In the application, he asks for a

monopoly on the treatment of addicts. He received the patent in January 2018.


                                                93
               6.     Falsehood #6:Opioid Doses Can Be Increased Without Limit or
                      Greater Risk

       337.    In materials they produced, sponsored, or controlled, Marketing Defendants

instructed prescribers that they could safely increase a patient's dose to achieve pain relief. Each

of the Marketing Defendants' claims was deceptive in that they omitted warnings of increased

adverse effects that occur at higher doses that were confirmed by scientific evidence.

       338.    These misrepresentations were integral to the Marketing Defendants' promotion of

prescription opioids. As discussed above, patients develop a tolerance to opioids' analgesic effects,

so that achieving long-term pain relief requires constantly increasing the dose. Patients who take

larger doses, and who escalate to larger doses faster, are much more likely to remain on opioids

for a longer period of time, resulting in increased revenue.

       339.    In addition, sales representatives aggressively pushed doctors to prescribe stronger

doses of opioids. For example, one Purdue sales representative wrote about how his regional

manager would drill the sales team on their upselling tactics:

      It went something like this. "Doctor, what is the highest dose of OxyContin you have ever
      prescribed?" "20mg Q 1 2h." "Doctor, if the patient tells you their pain score is still high
      you can increase the dose 100% to 40mg Ql2h, will you do that?""Okay." "Doctor, what
      if that patient then came back and said their pain score was still high, did you know that
      you could increase the OxyContin dose to 80mg Ql2h, would you do that?""I don't know,
      maybe." "Doctor, but you do agree that you would at least Rx the 40mg dose, right?"
      "Yes."

       340.    The next week the representative would see that same doctor and go through the

same discussion with the goal of selling higher and higher doses of OxyContin. Stronger doses

were more expensive and increased the likelihood of addiction.

       341.   These misrepresentations were particularly dangerous. Opioid doses at or above 50

MME (morphine milligram equivalents)/day double the risk of overdose compared to 20




                                                95
suggest a positive association between high-dose opioid use and the risk of overdose and/or

overdose mortality." A study of the Veterans Health Administration from 2004 to 2008 found the

rate of overdose deaths is directly related to maximum daily dose.

                  7.      Falsehood #7: Long-term Opioid Use Improves Functioning

           347.   Despite the lack of evidence of improved function and the existence ofevidence to

the contrary, the Marketing Defendants consistently promoted opioids for patients' function and

quality of life because they viewed these claims as a critical part of their marketing strategies. In

recalibrating the risk-benefit analysis for opioids, increasing the perceived benefits of treatment

was necessary to overcome its risks.

          348.    Janssen, for example, promoted Duragesic as improving patients' functioning and

work productivity through an ad campaign that included the following statements: "[w]ork,

uninterrupted,""Mite, uninterrupted,""[Warne, uninterrupted,""[c]hronic pain reliefthat supports

functionality," and "[i]mprove[s]... physical and social functioning."

          349.    Purdue noted the need to compete with this messaging, despite the lack of data

supporting improvement in quality of life with OxyContin treatment:

          Janssen has been stressing decreased side effects, especially constipation, as well
          as patient quality of life, as supported by patient rating compared to sustained
          release morphine ... We do not have such data to support OxyContin promotion..
          .. In addition,Janssen has been using the "life uninterrupted" message in promotion
          of Duragesic for non-cancer pain,stressing that Duragesic "helps patients think less
          about their pain." This is a competitive advantage based on our inability to make
          any quality of life claims.I21

          350.    Despite its acknowledgment that "[w]e do not have such data to support OxyContin

promotion," Purdue ran a full-page ad for OxyContin in the Journal of the American Medical

Association, proclaiming, "There Can Be Life With Relief," and showing a man happily fly-



121
      Pain Killer, supra n. 98, at 281.
                                                  97
cover and lists examples of expected functional improvement from opioids, like sleeping through

the night, returning to work, recreation, sex, walking, and climbing stairs. It assures patients that,

"[ujsed properly, opioid medications can make it possible for people with chronic pain to 'return

to normal.'" Similarly,Responsible Opioid Prescribing(2007),sponsored and distributed by Teva,

Endo, and Purdue, taught that relief of pain by opioids, by itself, improved patients' function. The

book remains for sale online.

       355.    In addition, Janssen's Let's Talk Pain website featured a video interview, which

was edited by Janssen personnel, claiming that opioids were what allowed a patient to "continue

to function," falsely implying that her experience would be representative.

       356.    Endo's NIPC website, www.Painknowledge.com, claimed that with opioids,"your

level of function should improve; you may find you are now able to participate in activities of

daily living,such as work and hobbies, that you were not able to enjoy when your pain was worse."

In addition to "improved function," the website touted improved quality of life as a benefit of

opioid therapy. The grant request that Endo approved for this project specifically indicated NIPC's

intent to make claims of functional improvement.

       357.    Endo was the sole sponsor, through NIPC, of a series of CMEs titled Persistent

Pain in the Older Patient, which claimed that chronic opioid therapy has been "shown to reduce

pain and improve depressive symptoms and cognitive functioning." The CME was disseminated

via webcast.




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example, a 2006 study-of-studies found that opioids as a class did not demonstrate improvement

in functional outcomes over other non-addicting treatments. The few longer-term studies of opioid

use had "consistently poor results," and "several studies have showed that Opioids for chronic pain

may actually worsen pain and functioning .. ."126 along with general health, mental health, and

social function. Over time,even high doses of potent opioids often fail to control pain, and patients

exposed to such doses are unable to function normally.

        361.   On the contrary, the available evidence indicates opioids may worsen patients'

health and pain. Increased duration of opioid use is strongly associated with increased prevalence

of mental health disorders (depression, anxiety, post-traumatic stress disorder, and substance

abuse), increased psychological distress, and greater health care utilization. The CDC Guideline

concluded that "[w]hile benefits for pain relief, function and quality of life with long-term opioid

use for chronic pain are uncertain, risks associated with long-term opioid use are clearer and

significant."' According to the CDC,"for the vast majority of patients, the known, serious, and

too-often-fatal risks far outweigh the unproven and transient benefits [of opioids for chronic

pain].:1128

        362.   As one pain specialist observed, "opioids may work acceptably well for a while,

but over the long term, function generally declines, as does general health, mental health, and




126 Thomas Frieden & Debra  Houry, Reducing the Risks ofRelief— The CDC Opioid-Prescribing
Guideline, 374 New Eng. J. Med., at 1503 (Apr. 21, 2016), DOI: 10.1056/NEJMp151591 7,
available at https://www.neim.org/doi/ful1/10.1056/NEJMD 151 5917 (hereinafter "Reducing the
Risks ofRelief').

127 Dowell, CDC    Guideline,supra n. 26, at 2, 18.

128 Reducing the   Risks ofRelief, supra n. 127.



                                                   101
        364.    For example, in addition to failing to disclose the risks of addiction, overdose, and

 death in promotional materials, the Marketing Defendants routinely ignored the risks of

 hyperalgesia, a "known serious risk associated with chronic opioid analgesic therapy in which the

 patient becomes more sensitive to certain painful stimuli over time,"132 hormonal dysfunction,133

 decline in immune function; mental clouding, confusion, and dizziness, increased falls and

 fractures in the elderly,134 NAS(when an infant exposed to opioids prenatally suffers withdrawal

 after birth), and potentially fatal interactions with alcohol or with benzodiazepines, which are used

 to treat anxiety and may be co-prescribed with opioids, particularly to veterans suffering from

 pain.'35

        365.    The APF's Treatment Options: A Guidefor People Living with Pain, sponsored by

 Purdue and Cephalon, warned that risks of NSAIDs increase if "taken for more than a period of




 132 Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny,
 M.D., Pres. Physiciansfor Responsible Opioid Prescribing, Re: Docket No. FDA-2012-P-0818
(Sept.            10,        2013),        available         at             ://pa nd r.com/wp-
 content/uploads/201 3/09/FDA CDER Response to Physicians for_Responsible Opioid Presc
 ribing, Partial Petition Approval and Denial.pdf.

 133 H.W. Daniell, Hypogonadism in men consuming sustained-action oral opioids, 3(5) J. Pain
 377-84(2001), https://www.ipain.ore/artic le/S I 526-5900(02)
                                                             00032-9/ful I text.

 134 See Bernhard M. Kuschel et al., The risk offall injury in relation to commonly prescribed
 medications among older people — a Swedish case-control study, 25 Eur. J. Pub. H. 527-32 (July
                                       ings://www.ncbi.n1M.Ilih.eov/pubmed/25085470.
 31, 2014), doi: 10.1093/eurpub/cku120,f

 135 Karen H. Seal et al., Association of Mental Health Disorders With Prescription Opioids and
High- Risk Opioids in US Veterans ofIraq and Afghanistan, 307(9) J. Am. Med. Ass'n 940-47,
(Mar.                     7,                  2012)                 doi:10.1001/jama.2012.234,
 https://jamanetwork.com/journals/jama/fullartic le/1 105046.



                                                 103
        Opioids represent a highly effective but controversial and often misunderstood
        class of analgesic medications for controlling both chronic and acute pain. The
        phenomenon of tolerance to opioids — the gradual waning of relief at a given dose
        — and fears of abuse, diversion, and misuse of these medications by patients have
        led many clinicians to be wary of prescribing these drugs, and/or to restrict dosages
        to levels that may be insufficient to provide meaningful relief.138

        369.      To help allay these concerns, Endo emphasized the risks of NSAIDs as an

alternative to opioids. The article included a case study that focused on the danger ofextended use

ofNSAIDs,including that the subject was hospitalized with a massive upper gastrointestinal bleed

believed to have resulted from his protracted NSAID use. In contrast, the article did not provide

the same detail concerning the serious side effects associated with opioids.

        370.      Additionally, Purdue, acting with Endo, sponsored Overview of Management

Options, a CME issued by the AMA in 2003, 2007, 2010, and 2013. The 2013 version remains

available for CME credit. The CME taught that NSAIDs and other drugs, but not opioids, are

unsafe at high doses.

        371.      As a result ofthe Marketing Defendants' deceptive promotion of opioids over safer

and more effective drugs,opioid prescriptions increased even as the percentage of patients visiting

a doctor for pain remained constant. A study of 7.8 million doctor visits between 2000 and 2010

found that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and

acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID

prescribing.I39



"
i Id.

139 M. Daubresse, et al., Ambulatory Diagnosis and Treatment ofNonmalignantPain in the United.
States,     2000-2010,       51(10)    Med.     Care,   870-878    (2013),   available     at
https:Ilinsi2hts.ovid.cornipubmed?omid=24025657 ("For back pain alone, the percentage of
patients prescribed opioids increased from 19% to 29% between 1999 and 2010, even as the use



                                                105
            OxyContin PI Figure, Linear y-axis
           140


           120 -


         i
         c f 100


            80 -




                                   4     5    6     7         10   11   12
                                       Hours From Dosing

            ~10 mg       --20 mg       01.-40 mg   •0-80 mg   160 mg    -04-10 mg q 12h Stoodratate

                                                   Figure




        374.       The reduced release of the drug over time means that the OxyContin no longer

provides the same level of pain relief; as a result, in many patients, OxyContin does not last for

the twelve hours for which Purdue promotes it—a fact that Purdue has known at all times relevant

to this action.

       375.        OxyContin tablets provide an initial absorption ofapproximately 40% ofthe active

medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful opioid

triggers a powerful psychological response. OxyContin thus behaves more like an immediate

release opioid, which Purdue itself once claimed was more addicting in its original 1995 FDA-

approved drug label. Second, the initial burst of oxycodone means that there is less of the drug at

the end of the dosing period, which results in the drug not lasting for a full twelve hours and

precipitates withdrawal symptoms in patients, a phenomenon known as"end ofdose"failure.(The

FDA found in 2008 that a "substantial number" of chronic pain patients will experience end-of-

dose failure with OxyContin.)



                                                       107
              For moderate to severe pain when o continuous,wound-the-dock
              analgesic is needed for an extended period of time

              Consistent         Plasma Levels Over 12-Hours
              Memo concentrations(ao/nst.)over  thee of various dosage strengths
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       379.     Purdue's 12-hour messaging was key to its competitive advantage over short-

acting opioids that required patients to wake in the middle of the night to take their pills. Purdue

advertisements also emphasized "Q12h" dosing. These include an advertisement in the February

2005 Journal ofPain and 2006 Clinical Journal ofPain featuring an OxyContin logo with two

pill cups, reinforcing the twice-a-day message. A Purdue memo to the OxyContin launch team

stated that "OxyContin's positioning statement is 'all of the analgesic efficacy of immediate-

release oxycodone, with convenient q 12h dosing,'" and further that "[t]he convenience of ql2h

dosing was emphasized as the most important benefit."14I

       380.     Purdue executives therefore maintained the messaging oftwelve-hour dosing even

when many reports surfaced that OxyContin did not last twelve hours. Instead of acknowledging

a need for more frequent dosing,Purdue instructed its representatives to push higher-strength pills,

even though higher dosing carries its own risks, as noted above. Higher dosing also means that



141 Purdue Meeting Memo, OxyContin launch, LOS ANGELES TIMES, May 5, 2016, available al
http://doctiments.latimes.com/oxycontin-launch-1995/.
                                                    109
        384.    Purdue's failure to disclose the prevalence of end-of-dose failure meant that

 prescribers were misinformed about the true effects of OxyContin in a manner that preserved

 Purdue's competitive advantage and profits, at the expense of patients, who were placed at greater

 risk of overdose, addiction, and other adverse effects.

                10.     Falsehood #10:New Formulations of Certain Opioids Successfully
                        Deter Abuse

        385.    Rather than take the widespread abuse ofand addiction to opioids as reason to cease

 their untruthful marketing efforts, Marketing Defendants Purdue and Endo seized them as an

 opportunity to compete. These companies developed and oversold "abuse-deterrent formulations"

("ADF")opioids as a solution to opioid abuse and as a reason that doctors could continue to safely

 prescribe their opioids, as well as an advantage of these expensive branded drugs over other

 opioids. These Defendants' false and misleading marketing of the benefits of their ADF opioids

 preserved and expanded their sales and falsely reassured prescribers thereby prolonging the opioid

 epidemic. Other Marketing Defendants, including Actavis and Mallinckrodt, also promoted their

 branded opioids as formulated to be less addictive or less subject to abuse than other opioids.

        386.    The CDC Guideline confirms that "[n]o studies" support the notion that "abuse-

 deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse," noting

 that the technologies "do not prevent opioid abuse through oral intake, the most common route of

 opioid abuse, and can still be abused by non-oral routes." Tom Frieden, the former Director of the

 CDC, reported that his staff could not find "any evidence showing the updated opioids [ADF

opioids] actually reduce rates of addiction, overdoses, or death."

                       a.      Purdue's Deceptive Marketing of Reformulated OxyContin
                               and Hysingla ER

        387.    Reformulated ADF OxyContin was approved by the FDA in April 2010. It was not

 until 2013 that the FDA, in response to a citizen petition filed by Purdue, permitted reference to

                                                1 11
            d. asserted or suggested that Purdue's ADF opioids are safer than other opioids, could

                not be abused or tampered with, and were not sought out for diversion; and

            e. failed to disclose that Purdue's ADF opioids do not impact oral abuse or misuse.

        391.    If pressed, Purdue acknowledged that perhaps some "extreme" patients might still

abuse the drug but claimed the ADF features protect the majority of patients. These

 misrepresentations and omissions are misleading and contrary to Purdue's ADF labels, Purdue's

own information, and publicly available data.

        392.   Purdue knew or should have known that reformulated OxyContin is not more

tamper-resistant than the original OxyContin and is still regularly tampered with.

        393.   In 2009, the FDA noted in permitting ADF labeling that "the tamper-resistant

properties will have no effect on abuse by the oral route (the most common mode of abuse)." In

the 2012 medical office review of Purdue's application to include an abuse-deterrence claim in its

label for OxyContin,the FDA noted that the overwhelming majority ofdeaths linked to OxyContin

were associated with oral consumption, and that only 2% of deaths were associated with recent

injection and only 0.2% with snorting the drug.

       394.    The FDA's Director ofthe Division of Epidemiology stated in September 2015 that

no data that she had seen suggested the reformulation of OxyContin "actually made a reduction in

abuse," between continued oral abuse, shifts to injection of other drugs (including heroin), and

defeat of the ADF mechanism. Even Purdue's own funded research shows that half of OxyContin

abusers continued to abuse the drug orally after the reformulation rather than shift to other drugs.

       395.    A 2013 article presented by Purdue employees, based on review ofdata from poison

control centers, concluded that ADF OxyContin can reduce abuse, but ignored important negative

findings. The article revealed that abuse merely shifted to other drugs and that, when the actual



                                                1 13
        399.    Despite its own evidence of abuse, and the lack of evidence regarding the benefit

of Purdue's ADF opioids in reducing abuse, Dr. J. David Haddox, the Vice President of Health

Policy for Purdue, falsely claimed in 2016 that the evidence does not show that Purdue's ADF

opioids are being abused in large numbers. Purdue's recent advertisements in national newspapers

also continues to claim its ADF opioids as evidence ofits efforts to reduce opioid abuse,continuing

to mislead prescribers, patients, payors, and the public about the efficacy of its actions.

                        b.     Endo's Deceptive Marketing of Reformulated Opana ER

        400.    Opana ER was particularly likely to be tampered with and abused. That is because

Opana ER has lower "bioavailability" than other opioids, meaning that the active pharmaceutical

ingredient (the "API" or opioid) does not absorb into the bloodstream as rapidly as other opioids

when taken orally. Additionally, when swallowed whole,the extended-release mechanism remains

intact, so that only 10% of Opana ER's API is released into the patient's bloodstream relative to

injection; when it is taken intranasally, that rate increases to 43%. The larger gap between

bioavailability when consumed orally versus snorting or injection, the greater the incentive for

users to manipulate the drug's means of administration.

       401.    In December 2011, Endo obtained approval for a new formulation of Opana ER

that added a hard coating that the company claimed made it crush-resistant.

       402.    Even prior to its approval, the FDA advised Endo that it could not market the new

Opana ER as abuse-deterrent.

       403.    Nonetheless, in August of 2012, Endo submitted a citizen petition asking the FDA

for permission to change its label to indicate that Opana ER was abuse-resistant, both in that it was

less able to be crushed and snorted and that it was resistant to injection by syringe. Borrowing a

page from Purdue's playbook, Endo announced it would withdraw original Opana ER from the



                                                1 15
 it developed Opana ER for patient safety reasons and that the new formulation would help, for

 example,"where children unintentionally chew the tablets prior to an accidental ingestion."1 49

        407.    However, in a 2013 decision rejecting the petition, the FDA found that "study data

 show that the reformulated version's extended-release features can be compromised when

 subjected to . . . cutting, grinding, or chewing." The FDA also determined that "reformulated

 Opana ER" could also be "readily prepared for injections and more easily injected[.]" In fact, the

 FDA warned that preliminary data—including in Endo's own studies—suggested that a higher

 percentage of reformulated Opana ER abuse is via injection than was the case with the original

 formulation.

        408.    In 2009, only 3% of Opana ER abuse was by intravenous means. Since the

 reformulation, injection of Opana ER has increased by more than 500%. Endo's own data,

 presented in 2014, found that between October 2012 and March 2014,64% of abusers of Opana

 ER did so by injection, compared with 36% for the old formulation.I5° The transition into injection

 of Opana ER made the drug even less safe than the original formulation. Injection carries risks of

 HIV, hepatitis C, and, in reformulated Opana ER's specific case, the blood-clotting disorder

 thrombotic thrombocytopenic purpura(TTP), which can cause kidney failure.

        409.    Publicly, Endo sought to minimize the problem. On a 2013 call with investors,

 when asked about an outbreak of TTP in Ohio from injecting Opana ER, Endo sought to limit its

 import by assigning it to "a very, very distinct area of the country."




 149 Citizens Petition, FDA   Docket 2012-8-0895, at 2.

 is° Theresa Cassidy et al., The Changing Abuse Ecology: Implicationsfor Evaluating the Abuse
Pattern ofExtended-Release Oxymorphone and Abuse-Deterrent Opioid Formulations,I nflexxion
(Sept. 7, 2014), https://www.inf        lexxion.comichangine-abuse-ecolo2y-extended-release-
 oxymorphone/.
                                                 117
an Endo press release, described Opana ER as "crush-resistant." This article was posted on the

Pain Medicine News website, which was accessible to patients and prescribers.

       414.    In 2015, the Indiana Department of Public Health determined that an HIV outbreak

in Southeastern Indiana was linked to injection of Opana,151 the first documented HIV outbreak in

the United States associated with injection ofa prescription painkiller. After the outbreak, the FDA

required "that Endo Pharmaceuticals remove [Opana ERJ from the market." The agency sought

removal "based on its concern that the benefits ofthe drug may no longer outweigh its risks."I52

       415.    In March 2017, because Opana ER could be "readily prepared for injection" and

was linked to outbreaks of HIV and TTP,an FDA advisory committee recommended that Opana

be withdrawn from the market. The FDA adopted this recommendation on June 8, 2017.153 Endo

announced on July 6, 2017 that it would agree to stop marketing and selling Opana ER.154

However, by this point, the damage had been done. Even then, Endo continued to insist, falsely,

that it "has taken significant steps over the years to combat misuse and abuse."




151 Press Release, State of Ind. Health Dep't, HIV Outbreak in Southeastern Indiana,(Feb. 25,
2015),
htto://www.in m.ov/acti vecalendar/EventList.aspx?fromdate=1/1/20158ctodate=12/31/201 5&disnl
av—Montheztvpe=public&eventidn=2102598      :vieN‘=EventDetails&information id=21 1489.

1 52 Jen Christensen, FDA wants Opioid Painkiller Pulled off Market, CNN (June 8, 2017),
https://www.cnn.com/201 7/06/08/health/fda-opioid-opana-er-bn/index.html; FDA Requests
Removal of Opana ER,supra n. 70.
1 53 Id.; FDA Requests Removal of Opana ER,supra n. 70.

154 Endo Provides   Update on Opana ER,supra n. 71.



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ingestion—and their statements regarding abuse-deterrent formulations give the misleading

impression that these reformulated opioids can be prescribed safely.

       419.    In sum,each ofthe nine categories of misrepresentations discussed above regarding

the use of opioids to treat chronic pain was either not supported by or was contrary to the scientific

evidence. In addition, the Defendants' misrepresentations and omissions as set in this Complaint

are misleading and contrary to the Marketing Defendants' products' labels.

       B.      The Marketing Defendants Directly Targeted Hospitals

       420.    From the beginning, hospitals were directly targeted by the Marketing Defendants.

Internal documents from the 1995 "OxyContin Launch" orchestrated by Defendants Purdue and

Abbott(1)identified "hospital pharmacists" as among their "audience,"(2)identified "hospitals"

among their "institutional targets,"(3)identified an objective of"fflormulary acceptance in 75%

of hospitals for first twelve months," and (4) identified an objective of developing a "successful

distribution program" to "hospitals."

       421.    In 1996, Purdue made a deal with Defendant Abbott under which Abbott's sales

force would promote Purdue's lead opioid, OxyContin, in hospitals. Abbott's co-promotion of

OxyContin was,in the words of Abbott's counsel, by terms of its contract, dedicated to "hospitals,

surgical centers and hospital-based surgeons." Promoting the use ofOxyContin for "postoperative

pain" and "support[ing] the Abbott agreement" were paramount objectives identified in Purdue's

internal documents. "Abbott and Purdue consciously targeted hospitals. [Purdue] representatives

will work with their Abbott counterparts to make calls on all Pharmacy and Therapeutic (P&T)




                                                121
"commissions." From 1996 through 2002, Abbott was paid $374 million in commissions,

according to those documents. Total sales ofthe drug during that time were nearly $5 billion. From

2003 to 2006, OxyContin sales were nearly $6 billion. From 1996 to 2005, inclusive, Abbott's

"commissions" exceeded $500 million.

        424.   The importance of targeting hospital emergency rooms was illustrated by a study

that demonstrated that patients who receive an opiate prescription within 7 days of surgery are

44% more likely to still be using the medication one year after surgery than patients who do not

receive an opioid prescription."I59

        C.     The Marketing Defendants Disseminated Their Misleading Messages About
               Opioids Through Multiple Direct and Indirect Channels

        425.   The Marketing Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients throughout the United States. The

Marketing Defendants also deployed seemingly unbiased and independent third parties that they

controlled to spread their false and deceptive statements about the risks and benefits ofopioids for

the treatment of chronic pain throughout the country, including those communities served by

Plaintiffs.

        426.   Across the pharmaceutical industry, "core message" development is funded and

overseen on a national basis by the drug manufacturers' corporate headquarters. This

comprehensive approach ensures that the Marketing Defendants' messages are accurately and

consistently delivered across marketing channels — including detailing visits, speaker events, and




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 59 CherylGenord et al., Opioid exit plan: A pharmacist's role in managing acute postoperative
pain, Journal of the American Pharmacists Association (Jan. 2017), at 593, available at
https://vvww.japha.org/article/S1544-3191(17)30016-X/fulltext (hereinafter "Opioid Exit Plan").
                                                123
important means of disseminating the false narrative and increasing opioid prescriptions, and,

accordingly, their sales.

       430.    Each Marketing Defendant promoted opioids through sales representatives (also

called "detailers") and, in consideration of a reasonable opportunity for further investigation and

discovery, Plaintiffs allege that small group speaker programs were designed to reach out to

individual prescribers. By establishing close relationships with doctors, the Marketing Defendants

were able to disseminate their misrepresentations in targeted, one-on-one settings that allowed

them to promote their opioids and to allay individual prescribers' concerns about prescribing

opioids for chronic pain.

       431.    In accordance with common industry practice, the Marketing Defendants purchased

and closely analyzed prescription sales data from IMS Health (now IQVIA), a healthcare data

collection, management, and analytics corporation. This data allowed them to precisely track the

rates of initial and renewal prescribing by individual doctors, which allowed them to target and

tailor their appeals. Sales representatives visited hundreds of thousands of doctors and

disseminated the misinformation and materials described above.

       432.    Marketing Defendants devoted and continue to devote massive resources to direct

sales contacts with doctors. In 2014 alone, Marketing Defendants spent $166 million on detailing

branded opioids to doctors. This amount is twice as much as Marketing Defendants spent on

detailing in 2000. The amount includes $108 million spent by Purdue,$34 million by Janssen,$13

million by Teva, and $10 million by Endo.

       433.    Cephalon's quarterly spending steadily climbed from below $1 million in 2000 to

more than $3 million in 2014 (and more than $13 million for the year), with a peak, coinciding

with the launch of Fentora, of more than $27 million in 2007, as shown below:



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                                       AP broonotionaf Spending on elon4rdectable Oplokls by Defendant Endo(Quarterly)
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           34.003.000




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                          7773 1   xas I was I met I tan I      xas I mos I ran I mos                I arm I ant I ma 1 nu I 701.i:17.4



       436.        Janssen's quarterly spending dramatically rose from less than $5 million in 2000 to

more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly spending

at $142 million for 2011), as shown below:




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       439.    Each of these in-person sales visits cost Purdue money — on average more than

$200 per visit. But Purdue made that money back many times over, because it convinced doctors

to prescribe its addictive drugs. When Purdue identified a doctor as a profitable target, including

several targets in Tennessee and southwest Virginia, Purdue visited the doctor frequently: often

weekly, sometimes almost every day. Purdue salespeople, including Defendant Stokes, asked

doctors to list specific patients they were scheduled to see and pressed the doctors to commit to

put the patients on Purdue opioids. By the time a patient walked into a clinic, the doctor, in

Purdue's words, had already "guaranteed" that he would prescribe Purdue's drugs.

       440.    Purdue judged its sales representatives by how many opioids they got doctors to

prescribe. Sales representatives who generated the most prescriptions won bonuses and prizes.

These incentives included a "Toppers Club sales contest" for sales representatives to win bonuses,

based on how much a representative increased OxyContin use in her territory and how much the

representative increased the broader prescribing of opioids — the same "availability of product"

and "prescribing practices" factors that worsen the risk of diversion and abuse. Purdue also

maintained a "President's Club Leaders Board" for Hysingla ER,indicating which territory brand

managers had been most successful in meeting marketing objectives. As of February 2016,

Defendant Stokes was ranked fifth nationally.

       441.    Purdue continued to incentivize its representatives to sell opioids even after some

competitors had ended that practice. Representatives who failed to get enough patients on opioids

were placed on probation, put on performance improvement plans, and they would be threatened

with loss of their jobs if they did not generate more opioid sales. Those unable to generate more

sales were fired. In 2015 alone, Purdue replaced 14% of its sales representatives and 20% of its

District Managers for failing to create enough opioid sales.



                                                129
 at higher doses, and for longer periods of time. Compared to Tennessee and southwest Virginia

 doctors and nurses who prescribed Purdue opioids without seeing reps, Purdue's top targets were

 at least ten times more likely to prescribe Purdue opioids to patients who overdosed and died.

        445.    As of the fourth quarter of 2013, Purdue employed 632 sales representatives

(including Defendant Stokes) and, during that quarter they visited prescribers 176,227 times — an

 annualized rate of over 700,000 visits. These statistics, including statistics specific to Tennessee

 and southwest Virginia, were regularly reported to the Sackler Defendants and Purdue Officer

 Defendants. In 2013, Purdue spent over $9 million on meals alone for its prescribers.

        446.    The sales visits of its staff were so important to the Sackler Defendants that

Defendant Richard Sackler himself went into the field in 2013 to promote opioids to doctors

alongside a sales representative. Defendant Gasdia and Purdue's Chief Compliance Officer were

 well aware that this was "a potential compliance risk." To make sure the Sackler Defendants'

 involvement in marketing stayed secret, staff instructed: "Richard needs to be mum and be

anonymous." When he returned, Richard Sackler argued to the Vice President of Sales that a

legally required warning about Purdue's opioids wasn't needed. He asserted that the warning

"implies a danger of untoward reactions and hazards that simply aren't there." Richard Sackler

insisted there should be "less threatening" ways to describe Purdue opioids.

        447.    Purdue intensified its marketing efforts in subsequent years, in an effort to

counteract decreasing sales (sales of OxyContin peaked in 2010, and decreased somewhat in

subsequent years). For 2018, the Sacklers approved a target for sales representatives to visit

prescribers 1,050,000 times which would include thousands ofvisits to Tennessee and southwest

Virginia prescribers — almost double the number of sales visits they had ordered during the peak

of OxyContin sales in 2010.



                                                131
 Opioid Manufacturers and Third Party Advocacy Groups,I63 which arose out of a 2017 Senate

 investigation and, drawing on disclosures from Purdue, Janssen, Insys, and other opioid

 manufacturers, "provides the first comprehensive snapshot of the financial connections between

 opioid manufacturers and advocacy groups and professional societies operating in the area of

 Office opioids policy,"164 found that the Marketing Defendants made millions of dollars' worth of

 contributions to various Front Groups.'65

            450.    The Marketing Defendants also "made substantial payments to individual group

 executives, staff members, board members, and advisory board members" affiliated with the Front

 Groups subject to the Senate Committee's study.i66

            451.    As the Senate's Fueling an Epidemic Report found, the Front Groups "amplified or

 issued messages that reinforce industry efforts to promote opioid prescription and use, including

guidelines and policies minimizing the risk of addiction and promoting opioids for chronic

 pain."' They also "lobbied to change laws directed at curbing opioid use, strongly criticized

 landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold physicians

and industry executives responsible for over prescription and misbranding."I68

            452.    The Marketing Defendants took an active role in guiding,reviewing, and approving

many of the false and misleading statements issued by the Front Groups, ensuring that Defendants




 163 Id.   at 1.

'6i Id.

165 Id.    at 3.

166 Id.    at 10.

'67 id at 12-15.

168 Id. at   12.
                                                  133
Endo's control of N1PC was such that Endo listed it as one of its "professional education

 initiative[s]" in a plan Endo submitted to the FDA. Yet,Endo's involvement in NIPC was nowhere

disclosed on the website pages describing NIPC or on www.painknowledge.org. Endo estimated it

would reach 60,000 prescribers through NIPC.

        456.   APF was often called upon to provide "patient representatives" for the Marketing

Defendants' promotional activities, including for Purdue's "Partners Against Pain" and Janssen's

"Let's Talk Pain." Although APF presented itself as a patient advocacy organization, it functioned

largely as an advocate for the interests of the Marketing Defendants, not patients. As Purdue told

APF in 2001, the basis of a grant to the organization was Purdue's desire to strategically align its

investments in nonprofit organizations that shared its business interests.

       457.    In practice, APF operated in close collaboration with Defendants, submitting grant

proposals seeking to fund activities and publications suggested by Defendants and assisting in

marketing projects for Defendants.

       458.    This alignment of interests was expressed most forcefully in the fact that Purdue

hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered into

a "Master Consulting Services" Agreement on September 14, 2011. That agreement gave Purdue

substantial rights to control APF's work related to a specific promotional project. Moreover, based

on the assignment of particular Purdue "contacts" for each project and APF's periodic reporting

on their progress, the agreement enabled Purdue to be regularly aware of the misrepresentations

APF was disseminating regarding the use of opioids to treat chronic pain in connection with that

project. The agreement gave Purdue--but not APF—the right to end the project(and, thus, APF's

funding)for any reason.




                                               135
 Portenoy, who was also a spokesperson for Purdue. The consensus statement, which also formed

 the foundation of the 1998 Guidelines, was published on the AAPM's website.

          462.   AAPM's corporate council includes Purdue, Assertio, Teva and other

 pharmaceutical companies. AAPM's past presidents include Haddox (1998), Dr. Scott Fishman

("Fishman")(2005), Dr. Perry G. Fine ("Fine")(2011) and Dr. Lynn R. Webster ("Webster")

(2013), all of whose connections to the opioid manufacturers are well-documented as set forth

 below.

          463.   Fishman, who also served as a KOL for Marketing Defendants,stated that he would

 place the organization "at the forefront" of teaching that "the risks of addiction are ... small and

can be managed."'70

          464.   AAPM has received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per

year (on top of other funding) to participate. The benefits included allowing members to present

educational programs at off-site dinner symposia in connection with AAPM's marquee event — its

annual meeting held in Palm Springs, California, or other resort locations.




170 Interview by Paula Moyer with Scott M.Fishman, M.D., Professor of Anesthesiology and Pain
Medicine, Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available al
hat) ://www.medscape.org/v ewarticle/500829.



                                                137
the risk of a patients' addiction to opioids was low. Dr. David Haddox, who co-authored the

AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole

consultant. The consensus statement remained on AAPM's website until 2011.

       470.    AAPM and APS issued their own guidelines in 2009("2009 Guidelines"). AAPM,

with the assistance, prompting, involvement, and funding of Defendants, issued the treatment

guidelines discussed herein, and continued to recommend the use of opioids to treat chronic pain.

Fourteen of the 21 panel members who drafted the 2009 Guidelines, including KOL Dr. Fine,

received support from Defendants Janssen, Cephalon, Endo,and Purdue. Ofthese individuals, six

received support from Purdue, eight from Teva, nine from Janssen, and nine from Endo.

       471.    Dr. Gilbert Fanciullo, now retired as a professor at Dartmouth College's Geisel

School of Medicine, who served on the AAPM/APS Guidelines panel, has since described them

as "skewed" by drug companies and "biased in many important respects," including the high

presumptive maximum dose, lack of suggested mandatory urine toxicology testing, and claims of

a low risk of addiction.

       472.    The 2009 Guidelines have been a particularly effective channel of deception. They

have influenced not only treating physicians, but also the scientific literature on opioids; they were

reprinted in the Journal of Pain, have been cited hundreds of times in academic literature, were

disseminated during the relevant time period, and were and are available online. Treatment

guidelines are especially influential with primary care physicians and family doctors to whom

Marketing Defendants promoted opioids and whose lack of specialized training in pain

management and opioids makes them more reliant on, and less able to evaluate, these guidelines.




                                                 139
author—taught not that opioids could be appropriate in only limited cases after other treatments

had failed, but that opioids were "essential" for treatment of chronic pain, including as a first

prescription option.

       479.    A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible Opioid

Prescribing, also made the same claims as the 1998 Guidelines. These guidelines were posted

online and were available to and intended to reach physicians nationwide, including in Perry

County.

       480.    FSMB's 2007 publication Responsible Opioid Prescribing was backed largely by

drug manufacturers, including Purdue, Endo and Cephalon. Purdue paid $100,000 for the printing

and distribution of FSMB'S

       481.    The publication also received supportfrom the American Pain Foundation (APF)

and the American Academy of Pain Medicine (AAPM). The publication was written by Dr.

Fishman, and Dr. Fine served on the Board of Advisors. In all, 163,131 copies of Responsible

Opioid Prescribing were distributed by state medical boards.'"The FSMB website describes the

book as "the leading continuing medical education (CME) activity for prescribers of opioid

medications." This publication asserted that opioid therapy to relieve pain and improve function

is a legitimate medical practice for acute and chronic pain of both cancer and non-cancer origins;




1 78John Fauber, Follow the Money: Pain, Policy, and Profit, MILWAUKEE JOURNAL
SENTIN EL/MEDPAGE              TODAY              (Feb.        19,       2012),
hops://wvav.medpagetoda y.com/neuroloav/pa inmanagement/31256.

1 79 Email from Dr. Scott Fishman to Charles Ornstein, ProPublica (Dec. 15, 2011), available at
h ttos://assets.documentc loud.orOdoc uments/279033/fishman-responses-to-prop ubl ickpdf.



                                               141
 Cephalon paid FSMB $180,000 over a 3-year period, 2007-2008 and 2011.183 Endo paid FSMB

$371,620 over a 5-year period)" Mallinckrodt paid FSMB $100,000 in 2011)85

                       d.     The Alliance for Patient Access

          485.   Founded in 2006, the Alliance for Patient Access ("APA") is a self-described

 patient advocacy and health professional organization that styles itself as "a national network of

 physicians dedicated to ensuring patient access to approved therapies and appropriate clinical

care."186 It is run by Woodberry Associates LLC, a lobbying firm that was also established in

2006)87 As of June 2017,the APA listed 30"Associate Members and Financial Supporters." The

 list includes J&J, Endo, Mallinckrodt, Purdue, and Cephalon.

          486.   APA's board members have also directly received substantial funding from

 pharmaceutical companies)88 For instance, board vice president Dr. Srinivas Nalamachu

("Nalamachu"), who practices in Kansas, received more than $800,000 from 2013 through 2015




"3 Id.

    1d.
 185 ms


 186 The Alliance for Patient Access, About AfPA, http://alliancefornatientaccess.ordabout-
     lImembershiP(last accessed August 1,2018). References herein to APA include two affiliated
 afpaf
 groups: the Global Alliance for Patient Access and the Institute for Patient Access.

187 Mary Chris Jaklevic, Non-profit Alliancefor Patient Access usesjournalists and politicians to
push      Big Pharma's agenda, HEALTH                NEWS REVIEW (Oct. 2, 2017),
https://www.healthnewsreview.ore./201 7/10/non-orof it-alliance-Dati ent-access-uses-journal ists-
poli ticians-push-bia-pharmas-aRenda/ (hereinafter "Jaklevic, Non-profit Alliance for Patient
Access").

188 All information concerning pharmaceutical company payments to doctors in this paragraph is
from        ProPublica's       Dollars       for  Docs      database,       available      at
https://projects.propublica.org/docdoltars/.



                                                143
                    In some states, physicians who fail to consult prescription
                    monitoring databases before prescribing pain medications for their
                    patients are subject to fines; those who repeatedly fail to consult the
                    databases face loss of their professional licensure. Such penalties
                    seem excessive and may inadvertently target older physicians in
                    rural areas who may not be facile with computers and may not have
                    the requisite office staff. Moreover, threatening and fining
                    physicians in an attempt to induce compliance with prescription
                    monitoring programs represents a system based on punishment as
                    opposed to incentives.. .

                    We cannot merely assume that these programs will reduce
                    prescription pain medication use and abuse.I91

          488.      The white paper also purports to express concern about policies that have been

enacted in response to the prevalence of pill mills:

                    Although well intentioned, many ofthe policies designed to address
                    this problem have made it difficult for legitimate pain management
                    centers to operate. For instance, in some states, [pain management
                    centers] must be owned by physicians or professional corporations,
                    must have a Board certified medical director, may need to pay for
                    annual inspections, and are subject to increased record keeping and
                    reporting requirements.... [I]t is not even certain that the regulations
                    are helping prevent abuses.I92

          489.      In addition, in an echo of earlier industry efforts to push back against what they

termed "opiophobia," the white paper laments the stigma associated with prescribing and taking

pain medication:

                    Both pain patients and physicians can face negative perceptions and
                    outright stigma. When patients with chronic pain can't get their
                    prescriptions for pain medication filled at a pharmacy,they may feel
                    like they are doing something wrong — or even criminal. . . .


191   Id. at 4-5 (footnote omitted).

192 Id.   at 5-6.



                                                      145
abuse, and public health and safety consequences'"197and, according to DEA chief administrative

law judge John J. Mulrooney, the law would make it "all but logically impossible" to prosecute

manufacturers and distributors, like Defendants here,in the courts.198 The law passed both Houses

of Congress and was signed into law in 2016.

                      e.      The U.S. Pain Foundation

       493.    The U.S. Pain Foundation ("USPF") was another Front Group with systematic

connections and interpersonal relationships with the Marketing Defendants. The USPF was one of

the largest recipients ofcontributions from the Marketing Defendants, collecting nearly $3 million

in payments between 2012 and 2015 alone.'" The USPF was also a critical component of the

Marketing Defendants' lobbying efforts to reduce the limits on over-prescription. The U.S. Pain

Foundation advertised its ties to the Marketing Defendants, listing opioid manufacturers like

Pfizer, Teva, Assertio, Endo, Purdue, McNeil (i.e., Janssen), and Mallinckrodt as "Platinum,"

                                      "Industry Front Groups like the American Academy of
"Gold," and "Basic" corporate members.2

Pain Management, the American Academy of Pain Medicine, the American Pain Society, and

PhRMA are also members of varying levels in the USPF.




197Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS
NEWS (last updated Oct. 17, 2017) htins://www.cbsnews.cominews/ex-dea-aeent-ooioid-crisis-
fueled-by-drug.-i ndustrv-and-conaress/.

198 John J. Mulrooney, 11 & Katherine E. Legel, Current Navigation Points in Drug Diversion Law:
Hidden Rocks in Shallow, Murky, Drug-Infested Waters, 101 Marquette L. Rev.(forthcoming Feb.
2018),            hays://www.documentcloud.org/documents/4108121-Marquette-Law-Revie w-
Mulroonev-Leeel.html.

1 Fueling an Epidemic,supra n. 161, at 4.
"

200 Id. at 12; U.S. Pain Foundation, Transparency, https://uspainfoundation.oru/transparency/.(last
accessed on August 1, 2018).



                                               147
       496.                                                      '
               More specifically, Purdue paid $11,785 from 2012-20172 and provided $40,000

in "corporate roundtable dues" to AGS's Health in Aging Foundation, a 501(c)(3) organization

affiliated with the group between 2012 and 2015.207

       497.    The 2009 AGS Guidelines recommended that "[a]ll patients with moderate to

severe pain . . . should be considered for opioid therapy." The panel made "strong

recommendations" in this regard despite "low quality ofevidence" and concluded that the risk of

addiction is manageable for patients, even with a prior history of drug abuse.208 These Guidelines

further recommended that "the risks [of addiction] are exceedingly low in older patients with no

current or past history ofsubstance abuse." These recommendations are not supported by any study

or other reliable scientific evidence. Nevertheless, they have been cited over 500 times in Google

Scholar(which allows users to search scholarly publications that would be have been relied on by

researchers and prescribers) since their 2009 publication and as recently as this year.

       498.    One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan

State University and founder of the Michigan Headache & Neurological Institute, resigned from

the panel because of his concerns that the Guidelines were influenced by contributions that drug

companies, including Purdue, Endo,Janssen, and Teva, made to the sponsoring organizations and

committee members.




206 Fueling an Epidemic,supra n. 161.

207 Letter from Nancy E. Lundebjerg, Chief Executive Office, American Geriatrics Society, to Sen.
Claire McCaskill (Oct. 11, 2017).

208 2009 AGS Guidelines,supra n. 205, at 1342.



                                                149
               3.     The Marketing Defendants Deceptively Paid KOLs to Promote Opioid
                      Use

       504.    To falsely promote their opioids, the Marketing Defendants paid and cultivated a

select circle of doctors who were chosen and sponsored by the Marketing Defendants for their

supportive messages. As set forth below, pro-opioid doctors have been at the hub of the Marketing

Defendants' well-funded, pervasive marketing scheme since its inception and were used to create

the grave misperception that science and legitimate medical professionals favored the wider and

broader use of opioids. These doctors include Dr. Russell Portenoy, Dr. Lynn Webster, Dr. Perry

Fine, and Dr. Scott Fishman.

       505.    Although these KOLs were funded by the Marketing Defendants, the KOLs were

used extensively to present the appearance that unbiased and reliable medical research supporting

the broad use of opioid therapy for chronic pain had been conducted and was being reported on by

independent medical professionals.

       506.    As the Marketing Defendants' false marketing scheme picked up steam, these pro-

opioid KOLs wrote, consulted on, edited, and lent their names to books and articles, and gave

speeches and CMEs supportive ofopioid therapy for chronic pain. They served on committees that

developed treatment guidelines that strongly encouraged the use of opioids to treat chronic pain

and they were placed on boards of pro-opioid advocacy groups and professional societies that

developed, selected, and presented CMEs.

       507.    Through use of their KOLs and strategic placement of these KOLs throughout

every critical distribution channel of information within the medical community, the Marketing

Defendants were able to exert control of each of these modalities through which doctors receive

their information.




                                              151
                         a.      Dr. Russell Portenoy

          512.    In 1986, Dr. Russell Portenoy, who later became Chairman of the Department of

 Pain Medicine and Palliative Care at Beth Israel Medical Center in New York while at the same

 time serving as a top spokesperson for drug companies, published an article reporting that "[flew

 substantial gains in employment or social function could be attributed to the institution of opioid

 therapy.1121 1

          513.    Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

 dangers of long-term use of opioids:

           The traditional approach to chronic non-malignant pain does not accept the long-
          term administration of opioid drugs. This perspective has been justified by the
           perceived likelihood oftolerance, which would attenuate any beneficial effects over
          time, and the potential for side effects, worsening disability, and addiction.
          According to conventional thinking, the initial response to an opioid drug may
          appear favorable, with partial analgesia and salutary mood changes, but adverse
          effects inevitably occur thereafter. It is assumed that the motivation to improve
          function will cease as mental clouding occurs and the belieftakes hold that the drug
          can, by itself, return the patient to a normal life. Serious management problems are
          anticipated, including difficulty in discontinuing a problematic therapy and the
          development ofdrug seeking behavior induced by the desire to maintain analgesic
          effects, avoid withdrawal, and perpetuate reinforcing psychic effects. There is an
          implicit assumption that little separates these outcomesfrom the highly aberrant
          behaviors associated with addiction.212

(emphasis added). According to Dr. Portenoy, the foregoing problems could constitute

"compelling reasons to reject long-term opioid administration as a therapeutic strategy in all but

the most desperate cases of chronic nonmalignant pain."213




21 1Russell Portenoy & Kathy Foley, Chronic Use ofOpioid Analgesics in Non-Malignant Pain:
Report       of    38     cases,     25(2)    Pain     171     (1986),     available    at
httns://www.ncbi.nlm.nih.eov/pubmed/2873550.

212 Russell Portenoy, Opioid
                           Therapyfor Chronic Nonmalignant Pain: Current Status, 1 Progress
in Pain Res. & Mgmt., 247-287(H.L. Fields and J.C. Liebeskind eds., 1994)(emphasis added).

213 Id.
                                                 153
Dr. Portenoy has now admitted that he minimized the risks of opioids,21 2 and that he "gave

innumerable lectures in the late 1980s and '90s about addiction that weren't true."218 He mused,

"Did I teach about pain management, specifically about opioid therapy, in a way that reflects

misinformation? Well, against the standards of 2012, I guess I did .. ."219

             518.   In a 2011 interview released by Physicians for Responsible Opioid Prescribing,

Portenoy stated that his earlier work purposefully relied on evidence that was not "real" and left

real evidence behind:

             I gave so many lectures to primary care audiences in which the Porter and Jick
             article wasjust one piece ofdata that I would then cite, and I would cite six, seven,
             maybe ten different avenues of thought or avenues of evidence, none of which
             represented real evidence, and yet what 1 was trying to do was to create a narrative
             so that the primary care audience would look at this information in [total] and feel
             more comfortable about opioids in a way they hadn't before. In essence this was
             education to destigmatize (opioids], and because the primary goal was to
             destigmatize, we often left evidence behind.22°

             519.   Several years earlier, when interviewed by journalist Barry Meier for his 2003

book,Pain Killer, Dr. Portenoy was more direct:"It was pseudoscience. I guess I'm going to have

always to live with that one$'221



   Celine Gounder, Who Is Responsiblefor the Pain-Pill Epidemic?, THE NEW YORKER, Nov. 8,
21 7
2013,       https://www.newvorker.com/business/currencv/who-is-responsible-for-the-pain-pill-
epidemic (hereinafter "Gounder, Who Is Responsible").

218 Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, THE WALL
STREET                JOURNAL,                Dec.              17,          2012,
htips://www.wsi.com/articles/SB100014241 278873244783045781 73342657044604.
219
       1d.


220 HarrisonJacobs, This one-paragraph letter may have launched the opioid epidemic, BUSINESS
INSIDER (May 26, 2016), htto://www.businessinsider.com/oorter-and-iick-letter-launched-the-
opioid-epidemic-2016-5; Andrew Kolodny, Opioidsfor Chronic Pain: Addiction is NOT Rare,
YouTube                         (Oct.                       30,                         2011),
https://www.voutube.com/watch?v=DgyuB WN9D4w&feature=youtu.be.

221    Pain Killer, supra n. 98, at 277.
                                                     155
        523.    At an AAPM annual meeting held February 22 through 25, 2006, Cephalon

sponsored a presentation by Webster and others titled,"Open-label study offentanyl effervescent

 buccal tablets in patients with chronic pain and breakthrough pain: Interim safety results." The

 presentation's agenda description states:"Most patients with chronic pain experience episodes of

breakthrough pain, yet no currently available pharmacologic agent is ideal for its treatment." The

presentation purports to cover a study analyzing the safety ofa new form offentanyl buccal tablets

in the chronic pain setting and promises to show the "[i]nterim results of this study suggest that

[fentanyl buccal] is safe and well-tolerated in patients with chronic pain and [breakthrough pain]."

This CME effectively amounted to off-label promotion of Cephalon's opioids, even though they

were approved only for cancer pain.

        524.   Cephalon sponsored a CME written by Dr. Webster, Optimizing Opioid Treatment

for Breakthrough Pain, offered by Medscape, LLC from September 28, 2007, through December

1 5, 2008. The CME taught that non-opioid analgesics and combination opioids containing non-

opioids such as aspirin and acetaminophen are less effective at treating breakthrough pain because

of dose limitations on the non-opioid component.

                       c.      Dr. Perry Fine

       525.    Dr. Perry Fine's ties to the Marketing Defendants have been well documented. He

has authored articles and testified in court cases and before state and federal committees, and he,

too,has argued against legislation restricting high-dose opioid prescription for non-cancer patients.

He has served on Purdue's advisory board, provided medical legal consulting for Janssen, and

participated in CME activities for Endo, along with serving in these capacities for several other

drug companies. He co-chaired the APS-AAPM Opioid Guideline Panel,served as treasurer ofthe




                                                157
           Overall, the literature provides evidence that the outcomes of drug abuse and addiction are
           rare among patients who receive opioids for a short period (i.e., for acute pain)and among
           those with no history of abuse who receive long-term therapy for medical indications.224

           529.   In November 2010, Dr. Fine and others published an article presenting the results

of another Cephalon-sponsored study titled "Long-Term Safety and Tolerability of Fentanyl

Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic

Pain: An 18-Month Study."225 In that article, Dr. Fine explained that the 18-month "open-label"

study "assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP

in a large cohort . . . of opioid-tolerant patients receiving around-the-clock .. . opioids for non-

cancer pain."226 The article acknowledged that:(a)"[t]here has been a steady increase in the use

of opioids for the management of chronic non-cancer pain over the past two decades";(b) the

"widespread acceptance" had led to the publishing of practice guidelines "to provide evidence-

and consensus-based recommendations for the optimal use of opioids in the management of

chronic pain"; and (c)those guidelines lacked "data assessing the long-term benefits and harms of

opioid therapy for chronic pain."227




224
    Perry G. Fine, MD & Russell K. Portenoy, MD,A Clinical Guide to Opioid Analgesia, at 20,
34,          (McGraw-Hill           Companies         2004),           available          at
http://www thblack.com/1 nks/RSD/OpioidHand book.pdf.

225 Perry G. Fine et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the
Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month
Study, 40(5) J. Pain                 &    Symptom       Management 747-60 (Nov. 201 0),
DOI: httos://doi.org/1 O. 1 016/i.ipainsvm man.201 0.02.009,         available             at
httos://www.ipsnijoumal.com/article/S0885-3924(1 0}00390-8/ful!text.
226
      14
227 m




                                                  159
 participated yearly in numerous CME activities for which he received "market rate honoraria." As

discussed below, he has authored publications, including the seminal guides on opioid prescribing,

 which were funded by the Marketing Defendants. He has also worked to oppose legislation

 requiring doctors and others to consult pain specialists before prescribing high doses of opioids to

 non-cancer patients. He has himself acknowledged his failure to disclose all potential conflicts of

 interest in a letter in the Journal ofthe American Medical Association titled "Incomplete Financial

Disclosures in a Letter on Reducing Opioid Abuse and Diversion."232

          533.   Dr. Fishman authored a physician's guide on the use of opioids to treat chronic pain

titled "Responsible Opioid Prescribing" in 2007, which promoted the notion that long-term opioid

treatment was a viable and safe option for treating chronic pain.

          534.   In 2012, Dr. Fishman updated the guide and continued emphasizing the

"catastrophic" "under-treatment" of pain and the "crisis" such under-treatment created:

          Given the magnitude ofthe problems related to opioid analgesics,it can be tempting
          to resort to draconian solutions: clinicians may simply stop prescribing opioids, or
          legislation intended to improve pharmacovigilance may inadvertently curtail
          patient access to care. As we work to reduce diversion and misuse of prescription
          opioids, it's critical to remember that the problem of unrelieved pain remains as
          urgent as ever.233

The updated guide still assures that "[o]pioid therapy to relieve pain and improve function is

 legitimate medical practice for acute and chronic pain of both cancer and non-cancer origins."234




232 Incomplete Financial Disclosures in a Letter on     Reducing Opioid Abuse and Diversion, supra
 n. 223

233 Scott M. Fishman, Responsible Opioid Prescribing: A Guidefor Michigan Clinicians, 10-11
(Waterford Life Sciences 2012).
234   m



                                                  161
individual authors and organizations that developed educational materials for pain management

that propagated this erroneous information."239

          538.   In 2001, due to the influence of the Marketing Defendants, the Joint Commission,

along with the National Pharmaceutical Council (founded in 1953 and supported by the nation's

major research-based biopharmaceutical companies240)"introduced standards for [hospitals] to

improve their care for patients with pain." The new standards for hospitals put patient pain front

and center as the "fifth vital sign." This monograph, entitled Pain: Current Understanding of

Assessment, Management and Treatments required assessment of pain in all patients.

          539.   The Joint Commission's first pain management standards placed responsibility for

pain control on health care organizations (hospitals), and emphasized the need for hospitals to do

systematic assessments and use quantitative measures of pain which was consistent with the

position of the Front Group APS.

          540.   As a result ofthe Marketing Defendants' efforts to manipulate the standard ofcare,

many hospitals, including Plaintiffs, risked loss of their Joint Commission accreditation ifthey did

not incorporate the "fifth vital sign" standard and put pain at the forefront of their treatment. For

example, the emergency department at Oconomowoc Memorial Hospital in Wisconsin achieved

10 consecutive years of patient satisfaction in the 99th percentile, a feat no other emergency

hospital in the United States has been able to accomplish.24I However, during its routine Joint



239 Id.


240 Currently funded   by Johnson & Johnson, Purdue and Teva, among others.

241 Testimony of Tim Westlake, MD,FFSMB, FACEP, U.S. Senate Comm. on Homeland Sec.
and        Gov't        Affairs       (Apr.        15,       2016),       available       at
httns://www.hsaac.senate Alov/i mo/media/doc/Testimonv- Westlake-2016-04-15-REV ISED.nd f.



                                                  163
           544.   Doctors are required to attend a certain number and, often, type of CME programs

each year as a condition of their licensure. These programs are generally delivered in person,often

in connection with professional organizations' conferences, online, or through written

publications. Doctors rely on CMEs not only to satisfy licensing requirements, but also to get

information on new developments in medicine or to deepen their knowledge in specific areas of

practice. Because CMEs typically are taught by KOLs who are highly respected in their fields, and

are thought to reflect these physicians' medical expertise, they can be especially influential with

doctors.

           545.   The countless doctors and other health care professionals who participate in

accredited CMEs constitute an enormously important audience for opioid reeducation. As one

target, Defendants aimed to reach general practitioners, whose broad area of practice and lack of

expertise and specialized training in pain management made them particularly dependent upon

CMEs and, as a result, especially susceptible to the Marketing Defendants' deceptions.

       546.       The Marketing Defendants sponsored CMEs that were delivered thousands of

times, promoting chronic opioid therapy and supporting and disseminating the deceptive and

biased messages described in this Complaint. These CMEs, while often generically titled to relate

to the treatment of chronic pain, focused on opioids to the exclusion of alternative treatments,

inflated the benefits of opioids, and frequently omitted or downplayed their risks and adverse

effects.

       547.       Cephalon sponsored numerous CME programs, which were made widely available

through organizations like Medscape, LLC ("Medscape") and which disseminated false and

misleading information to physicians across the country.




                                                165
          551.   In all, more than 163,000 copies of Responsible Opioid Prescribing were

distributed nationally.

          552.   The American Medical Association ("AMA") recognized the impropriety that

pharmaceutical company-funded CMEs create, stating that support from drug companies with a

financial interest in the content being promoted "creates conditions in which external interests

could influence the availability and/or content" of the programs and urged that "[w]hen possible,

CME[s] should be provided without such support or the participation of individuals who have

financial interests in the education subject matter."248

          553.   Physicians attended or reviewed CMEs sponsored by the Marketing Defendants

during the relevant time period and were misled by them.

          554.   By sponsoring CME programs put on by Front Groups like APF, AAPM, and

others, the Marketing Defendants expected and understood that instructors would deliver messages

favorable to them, as these organizations were dependent on the Marketing Defendants for other

projects. The sponsoring organizations honored this principle by hiring pro-opioid KOLs to give

talks that supported chronic opioid therapy. Marketing Defendant-driven content in these CMEs

had a direct and immediate effect on prescribers' views on opioids. Producers of CMEs and the

Marketing Defendants both measure the effects of CMEs on prescribers' views on opioids and

their absorption of specific messages, confirming the strategic marketing purpose in supporting

them.




248
      Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass'n(Nov. 2011).


                                                 167
               7.     The Marketing Defendants Used"Unbranded"Advertising to
                      Promote Opioid Use for Chronic Pain Without FDA Review

       557.    The Marketing Defendants also aggressively promoted opioids through "unbranded

advertising" to generally tout the benefits of opioids without specifically naming a particular

brand-name opioid drug. Instead, unbranded advertising is usually framed as "disease

awareness"—encouraging consumers to "talk to your doctor" about a certain health condition

without promoting a specific product and, therefore, without providing balanced disclosures about

the product's limits and risks. In contrast, a pharmaceutical company's "branded" advertisement

that identifies a specific medication and its indication (i.e., the condition which the drug is

approved to treat) must also include possible side effects and contraindications—what the FDA

Guidance on pharmaceutical advertising refers to as "fair balance." Branded advertising is also

subject to FDA review for consistency with the drug's FDA-approved label. Through unbranded

materials, the Marketing Defendants expanded the overall acceptance of and demand for chronic

opioid therapy without the restrictions imposed by regulations on branded advertising.

       558.    Many of the Marketing Defendants utilized unbranded websites to promote opioid

use without promoting a specific branded drug, such as Purdue's pain-management website,

wwwinthefaceoffiain.com. The website contained testimonials from several dozen "advocates,"

including health care providers, urging more pain treatment. The website presented the advocates

as neutral and unbiased, but an investigation by the New York Attorney General later revealed that

Purdue paid the advocates hundreds of thousands of dollars.

              8.      The Marketing Defendants Funded,Edited and Distributed
                      Publications That Supported Their Misrepresentations

       559.    The Marketing Defendants created a body of false, misleading, and unsupported

medical and popular literature about opioids that (a) understated the risks and overstated the

benefits of long-term use;(b)appeared to be the result of independent, objective research; and (c)

                                               169
Patient Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl Citrate,"25'

published in the nationally circulated Journal of Pain Medicine, to support its effort to expand the

use of its branded fentanyl products. The article's authors (including Dr. Webster, discussed

above)stated that the "OTFC [fentanyl] has been shown to relieve BTP [breakthrough pain] more

rapidly than conventional oral, normal-release, or 'short acting' opioids" and that "[t]he purpose

of[the] study was to provide a qualitative evaluation of the effect of BTP on the [quality of life]

of non-cancer pain patients." The number-one-diagnosed cause of chronic pain in the patients

studied was back pain (44%), followed by musculoskeletal pain (12%)and head pain (7%). The

article cites Portenoy and recommends fentanyl for non-cancer BTP patients:

         565.   In summary, BTP appears to be a clinically important condition in patients with

chronic non-cancer pain and is associated with an adverse impact on QoL. This qualitative study

on the negative impact of BTP and the potential benefits of BTP-specific therapy suggests several

domains that may be helpful in developing BTP-specific, QoL assessment tools.252

                9.                                          'Bureaus and Programs to
                       The Marketing Defendants Used Speakers
                       Spread Their Deceptive Messages

         566.   In addition to making sales calls, the Marketing Defendants' detailers also

identified doctors to serve, for payment, on their speakers' bureaus and to attend programs with

speakers with meals paid for by the Marketing Defendants. These speaker programs and associated

speaker trainings served three purposes: they provided 1) an incentive to doctors to prescribe, or




251 Donald R. Taylor et al., Impact of Breakthrough Pain on Quality of Life in Patients With
Chronic, Non-cancer Pain: Patient Perceptions and Effect ofTreatment With Oral Transmucosal
Fentanyl Citrate (OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007),
https://doi.ores/10.1 1 1 1/j.1 526-4637.2007.00298.x,           available                at
https://academic.oup.com/painmedicine/article/8/3/281/1829094.
252 Id


                                               171
Purdue's failed trial. Purdue even measured how often it targeted osteoarthritis patients. A Purdue

marketing presentation concluded that its sales reps were "identifying appropriate patients"

because osteoarthritis was specifically mentioned during 35% of sales visits. Purdue also directed

sales reps to use marketing materials that highlight patients with osteoarthritis, even though Purdue

drugs were never indicated for that disease and Purdue's Butrans trial had failed. At one point, the

Purdue Individual Defendants wanted to know if sales reps could sell more by remaining silent

about the failed trial:"What can be said in response to a prescriber who asks directly or indirectly,

`can this product be prescribed for my patient with OA?' In responding are we required to

specifically mention the failed trials in OA?"

        570.     The Marketing Defendants targeted these vulnerable patients even though the risks

of long-term opioid use were significantly greater for them. For example, a 2016 CDC Guideline

observes that existing evidence confirms that elderly patients taking opioids suffer from elevated

fall and fracture risks, reduced renal function and medication clearance, and a smaller window

between safe and unsafe dosages.253 Elderly patients taking opioids have also been found to have

a greater risk for hospitalizations and increased vulnerability to adverse drug effects and

interactions, such as respiratory depression. The 2016 CDC Guideline concludes that there must

be "additional caution and increased monitoring" to minimize the risks of opioid use in elderly

patients.'"




253 Dowell, CDC    Guideline, supra n. 26.

254 Id. at 27.

                                                 173
                ofopioid naïve patients ..."

        574.    Purdue also promoted its drugs for "opioid-naive" patients using the deceptive term

"first line opioid." "First line" is a medical term for the preferred first step in treating a patient.

Opioids are not an appropriate first line therapy. Nevertheless, Purdue's internal documents and

testimony from sales representatives shows that Purdue repeatedly promoted OxyContin as "first

line" — "the first thing they would take to treat pain."

        575.    A particularly insidious aspect of Purdue's focus on "naive" patients, and on

keeping patients on opioids longer, was its savings card program. The cards provided a discount

on a patient's first five prescriptions. In 2012, Purdue's internal 10-year plan highlighted its

discovery that opioid savings cards kept patients on opioids longer: "more patients remain on

OxyContin after 90 days." The savings card program was incredibly lucrative -- the return on

investment for Purdue was 4.28, so that every $1,000,000 Purdue gave away in savings came back

to Purdue as $4,280,000 in revenue because patients stayed on dangerous opioids longer.

Discounts could have cut Purdue's revenue //patients took opioids for a short time. But Purdue's

internal 10-year plan highlighted its discovery that opioid savings cards kept patients on opioids

longer:"more patients remain on OxyContin after 90 days."

        576.    Purdue sales representatives did not disclose to doctors that "opioid naive" patients

faced greater risks of overdose and death. Purdue focused on less sophisticated prescribers, such

as its "core" prolific prescribers, and certain nurses and PAs who might be more vulnerable to

persuasion by its sales representatives.

                2.     Increasing Dosages and Increasing Them Quickly to Keep Patients on
                       Longer

        577.    In order to promote long-term sales, the Marketing Defendants promoted the

prescription of higher dosages of opioids. There were several dimensions to this. First, the


                                                 175
               1.      The Marketing Defendants Dramatically Expanded Opioid
                       Prescribing and Use

        581    The Marketing Defendants necessarily expected a return on the enormous

investment they made in their deceptive marketing scheme, and they worked to measure and

expand their success. Their own documents show that they knew they were influencing prescribers

and increasing prescriptions. Studies also show that in doing so, they fueled an epidemic of

addiction and abuse.

        582.   Cephalon also recognized the return of its efforts to market Actiq and Fentora off-

label for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq sales had

increased by 92%,which Cephalon attributed to "a dedicated sales force for ACTIQ"and "ongoing

changes to [its] marketing approach including hiring additional sales representatives and targeting

our marketing efforts to pain specialists."255 Actiq became Cephalon's second best-selling drug.

By the end of 2006, Actiq's sales had exceeded $500 million.256 Only 1% of the 187,076

prescriptions for Actiq filled at retail pharmacies during the first six months of 2006 were

prescribed by oncologists. One measure suggested that "more than 80 percent of patients who

use[d] the drug don't have cancer."257

        583.   Each of the Marketing Defendants tracked the impact of their marketing efforts to

measure their impact in changing doctors' perceptions and prescribing of their drugs. They

purchased prescribing and survey data that allowed them to closely monitor these trends, and they




255     Cephalon, Inc. Annual Report (Form 10-K) at 28 (Mar. 31, 2003),
littps://www.sec.gov/Arch ives/edgar/data/873364/00010474690301 1 1 371a2105971 zl 0-k.htm.

256John Carreyrou, Narcotic 'Lollipop' Becomes Big Seller Despite FDA Curbs, THE WALL
STREET JOURNAL,Nov. 3, 2006, https://www.wsj.com/articles/SB 1 162524638101 12292.
257 m


                                               177
       585.      Marketing Defendants spent millions of dollars to market their drugs to prescribers

and patients and meticulously tracked their return on that investment. In one recent survey

published by the AMA,even though nine in ten general practitioners reported prescription drug

abuse to be a moderate to large problem in their communities, 88% of the respondents said they

were confident in their prescribing skills, and nearly half were comfortable using opioids for

chronic non-cancer pain.259 These results are directly due to the Marketing Defendants' fraudulent

marketing campaign focused on several misrepresentations.

       586.      Thus, both independent studies and Defendants' own tracking confirm that

Defendants' marketing scheme dramatically increased their sales.

                 2.     The Marketing Defendants'Deception in Expanding Their Market
                        Created and Fueled the Opioid Epidemic.

       587.      Independent research demonstrates a close link between opioid prescriptions and

opioid abuse. For example, a 2007 study found "a very strong correlation between therapeutic

exposure to opioid analgesics, as measured by prescriptions filled, and their abuse."26° It has been

estimated that 60% of the opioids that are abused come, directly or indirectly, through physicians'

prescriptions.




259 CS Hwang et al., Prescription Drug Abuse: A National Survey ofPrimary Care Physicians,
1 75 JAMA Intern. Med. 302 (2014), doi: 10.1001/jamainternmed.2014.6520,
https://www.ncbi.nlm.ni h.gov/pubmed/25485657.

260 Theodore J. Cicero et al., Relationship Between Therapeutic Use and Abuse of Opioid
Analgesics in Rural, Suburban, and Urban Locations in the United Stales, 16
Pharmacoepidemiology and Drug Safety, 827-40 (2007), doi: 10.1002/pds.1452,
hups://www.cdhs.udel.edu/content-sub-
site/Documents/Publications/Relationship%20Between%20Therapeutic%20Use%20and%20Abu
se%20oP/0200pioid%20Analaesics.pdf.



                                                179
               1.     Purdue

       592.    Defendant Purdue made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

               a.     Creating, sponsoring, and assisting in the distribution of patient
                      education materials distributed to consumers that contained
                      deceptive statements;

               b.     Creating and disseminating advertisements that contained deceptive
                      statements concerning the ability of opioids to improve function
                      long-term and concerning the evidence supporting the efficacy of
                      opioids long-term for the treatment ofchronic non-cancer pain;

              c.      Disseminating misleading statements concealing the true risk of
                      addiction and promoting the deceptive concept of pseudoaddiction
                      through Purdue's own unbranded publications and on internet sites
                      Purdue operated that were marketed to and accessible by consumers;

              d.      Distributing brochures to doctors, patients, and law enforcement
                      officials that included deceptive statements concerning the
                      indicators of possible opioid abuse;

              e.      Sponsoring, directly distributing, and assisting in the distribution of
                      publications that promoted the deceptive concept of
                      pseudoaddiction, even for high-risk patients;

              f.      Endorsing, directly distributing, and assisting in the distribution of
                      publications that presented an unbalanced treatment ofthe long-term
                      and dose-dependent risks of opioids versus NSA1Ds;

              g.      Providing significant financial support to pro-opioid KOL doctors
                      who made deceptive statements concerning the use of opioids to
                      treat chronic non-cancer pain;

              h.      Providing needed financial support to pro-opioid pain organizations
                      that made deceptive statements, including in patient education
                      materials, concerning the use of opioids to treat chronic non-cancer
                      pain;

              i.      Assisting in the distribution of guidelines that contained deceptive
                      statements concerning the use ofopioids to treat chronic non-cancer
                      pain and misrepresented the risks of opioid addiction;


                                               181    •
          593.   More specifically, Purdue made and/or disseminated deceptive statements, and

promoted a culture that mislead doctors and patients into believing opioids were safe for chronic

care, including, but not limited to, the following:

                 a.    In 1998,Purdue distributed 15,000 copies of an OxyContin video to
                       physicians without submitting it to the FDA for review,an oversight
                       later acknowledged by Purdue. In 2001, Purdue submitted to the
                       FDA a second version of the video, which the FDA did not review
                       until October 2002—after the General Accounting Office inquired
                       about its content. After its review, the FDA concluded that the video
                       minimized the risks from OxyContin and made unsubstantiated
                       claims regarding its benefits to patients.262

                 b.    According to training materials, Purdue instructed sales
                       representatives to assure doctors—repeatedly and without
                       evidence—that "fewer than one per cent" of patients who took
                       OxyContin became addicted. (In 1999, a Purdue-funded study of
                       patients who used OxyContin for headaches found that the addiction
                       rate was thirteen per cent.)263

                 c.    Andrew Kolodny, the co-director of the Opioid Policy Research
                       Collaborative, at Brandeis University, has worked with hundreds of
                       patients addicted to opioids. He has stated that, though many fatal
                       overdoses have resulted from opioids other than OxyContin, the
                       crisis was initially precipitated by a shift in the culture of
                       prescribing—a shift carefully engineered by Purdue."If you look at
                       the prescribing trends for all the different opioids, it's in 1996 that
                       prescribing really takes off," Kolodny said. "It's not a coincidence.
                       That was the year Purdue launched a multifaceted campaign that
                       misinformed the medical community about the risks."264

                 d.    "Purdue had a speakers' bureau, and it paid several thousand
                       clinicians to attend medical conferences and deliver presentations
                       about the merits ofthe drug. Doctors were offered all-expenses-paid
                       trips to pain-management seminars in places like Boca Raton. Such
                       spending was worth the investment: doctors who attended these
                       seminars in 1996 wrote OxyContin prescriptions more than twice as
                       often as those who didn't. The company advertised in medical


262 Empire ofPain,supra n. 1 01.
263 Id.

264 id

                                                183
physicians who attend such symposia believe that such enticements do not alter their prescribing

patterns."268

       595.     As noted above, Purdue utilized Front Groups to help disseminate and defend its

false messages. Between January 2012 and March 2017,Purdue made the following contributions:

 Academy of Integrative Pain Management          $1,091,024.86

 American Academy of Pain Management             $725,584.95

 ACS Cancer Action Network                       $168,500.00269

 American Chronic Pain Association               $312,470.00

 American Geriatrics Society                     $11,785.00229

 American Pain Foundation                        $25,000

 American Pain Society                           $542,259.52

 American Society of Pain Educators              $30,000

 American Society of Pain Management             $242,535.00
 Nursing

 The Center for Practical Bioethics              $145,095.00

 U.S. Pain Foundation                            $359,300.00

 Washington Legal Foundation                     $500,000.00




268 Commercial Triumph,supra    n. 259.

269Payments from Purdue to the American Cancer Society Cancer Action Network include
payments to the American Cancer Society that could potentially have applied to the Cancer Action
Network. Production from Purdue Pharma to the Senate Homeland Security and Governmental
Affairs Committee(Nov. 13, 2017).
270
   The AGS reported that Purdue also provided $40,000 in "corporate roundtable dues" to its AGS
Health in Aging Foundation, a 501(c)(3)organization affiliated with the group, between 2012 and
2015. Letter from Nancy E. Lundebjerg, Chief Executive Office, Am. Geriatrics Soc'y, to Sen.
Claire McCaskill,supra n. 208.
                                              185
f.   Endorsing, directly distributing, and assisting in the distribution of
     publications that presented an unbalanced treatment ofthe long-term
     and dose-dependent risks of opioids versus NSAIDs;

g.   Providing significant financial support to pro-opioid KOLs, who
     made deceptive statements concerning the use of opioids to treat
     chronic non-cancer pain;

h.   Providing needed financial support to pro-opioid pain organizations
     — including over $5 million to the organization responsible for many
     of the most egregious misrepresentations — that made deceptive
     statements, including in patient education materials, concerning the
     use of opioids to treat chronic non-cancer pain;

i.   Targeting the elderly by assisting in the distribution of guidelines
     that contained deceptive statements concerning the use ofopioids to
     treat chronic non-cancer pain and misrepresented the risks of opioid
     addiction in this population;

J.   Endorsing and assisting in the distribution of CMEs containing
     deceptive statements concerning the use of opioids to treat chronic
     non-cancer pain;

k.   Developing and disseminating scientific studies that deceptively
     concluded opioids are safe and effective for the long-term treatment
     of chronic non-cancer pain and that opioids improve quality of life,
     while concealing contrary data;

I.   Directly distributing and assisting in the dissemination of literature
     written by pro- opioid KOLs that contained deceptive statements
     concerning the use of opioids to treat chronic non-cancer pain,
     including the concept of pseudoaddiction;

m.   Creating, endorsing, and supporting the distribution of patient and
     prescriber education materials that misrepresented the data
     regarding the safety and efficacy of opioids for the long-term
     treatment of chronic non-cancer pain, including known rates of
     abuse and addiction and the lack of validation for long-term
     efficacy; and

n.   Making deceptive statements concerning the use of opioids to treat
     chronic non-cancer pain to prescribers through in-person detailing.


                         •



                              187
              i.     Targeting the elderly by sponsoring, directly distributing, and
                     assisting in the dissemination of patient education publications
                     targeting this population that contained deceptive statements about
                     the risks of addiction and the adverse effects of opioids, and made'
                     false statements that opioids are safe and effective for the long-term
                     treatment of chronic non-cancer pain and improve quality of life,
                     while concealing contrary data;

              J.      Endorsing and assisting in the distribution of CMEs containing
                      deceptive statements concerning the use of opioids to treat chronic
                      non-cancer pain;

              k.     Directly distributing and assisting in the dissemination of literature
                     written by pro-opioid KOLs that contained deceptive statements
                     concerning the use of opioids to treat chronic non-cancer pain,
                     including the concept of pseudoaddiction;

              1.     Creating, endorsing, and supporting the distribution of patient and
                     prescriber education materials that misrepresented the data
                     regarding the safety and efficacy of opioids for the long-term
                     treatment of chronic non-cancer pain, including known rates of
                     abuse and addiction and the lack of validation for long-term
                     efficacy;

              m.     Targeting veterans by sponsoring and disseminating patient
                     education marketing materials that contained deceptive statements
                     concerning the use of opioids to treat chronic non-cancer pain; and

              n.      Making deceptive statements concerning the use of opioids to treat
                      chronic non-cancer pain to prescribers through in-person detailing.

              4.      Assertio

       600.   Defendant Assertio has, since at least October 2011, made and/or disseminated

untrue, false and deceptive statements, and concealed material facts in such a way to make their

statements deceptive with respect to Lazanda and (with the acquisition from Janssen in January

2015) of Nucynta and Nucynta ER,including, but not limited to:

              a.      Promoting the usage of Lazanda with patients not suffering from
                      cancer;

              b.      Endorsing, supporting, and pressuring its sales representative to
                      target pain management physicians, particularly those who
                      historically wrote large numbers of Lazanda-like drugs;
                                              189
               e.     Providing needed financial support to pro-opioid pain organizations
                      that made deceptive statements, including in patient education
                      materials, concerning the use of opioids to treat chronic non-cancer
                      pain;

              f.      Endorsing and assisting in the distribution of CMEs containing
                      deceptive statements concerning the use of opioids to treat chronic
                      non-cancer pain;

               g.     Endorsing and assisting in the distribution of CMEs containing
                      deceptive statements concerning the use of Cephalon's rapid-onset
                      opioids;

               h.     Directing its marketing of Cephalon's rapid-onset opioids to a wide
                      range of doctors, including general practitioners, neurologists,
                      sports medicine specialists, and workers' compensation programs,
                      serving chronic pain patients;

               i.     Making deceptive statements concerning the use of Cephalon's
                      opioids to treat chronic non-cancer pain to prescribers through in-
                      person detailing and speakers' bureau events, when such uses are
                      unapproved and unsafe; and

                      Making deceptive statements concerning the use of opioids to treat
                      chronic non-cancer pain to prescribers through in-person detailing
                      and speakers' bureau events.

              6.      Actavis

       602.    Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

               a.     Making deceptive statements concerning the use of opioids to treat
                      chronic non-cancer pain to prescribers through in-person detailing;

               b.     Creating and disseminating advertisements that contained deceptive
                      statements that opioids are safe and effective for the long-term
                      treatment of chronic non-cancer pain and that opioids improve
                      quality of life;

               c.     Creating and disseminating advertisements that concealed the risk
                      ofaddiction in the long-term treatment ofchronic, non-cancer pain;
                      and



                                               191
          605.   The Marketing Defendants created a vastly and dangerously larger market for

opioids. All ofthe Defendants compounded this harm by facilitating the supply offar more opioids

 that could have been justified to serve that market. The failure of the Defendants to maintain

effective controls, and to investigate, report, and take steps to halt orders that they knew or should

 have known were suspicious breached both their statutory and common law duties.

          606.   Marketing Defendants' scheme was resoundingly successful. Chronic opioid

 therapy—the prescribing ofopioids long-term to treat chronic pain—has become a commonplace,

and often first-line, treatment. Marketing Defendants' deceptive marketing caused prescribing not

only of their opioids, but also of opioids as a class, to skyrocket. According to the CDC opioid

 prescriptions, as measured by number of prescriptions and morphine milligram equivalent

("MME")per person, tripled from 1999 to 2015. In 2015, on an average day, more than 650,000

opioid prescriptions were dispensed in the U.S. While previously a small minority of opioid sales,

today between 80% and 90% of opioids (measured by weight) used are for chronic pain.

 Approximately 20% of the population between the ages of 30 and 44, and nearly 30% of the

 population over 45, have used opioids.

          607.   In a 2016 report, the CDC explained that "[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid) overdoses."27'Patients receiving

opioid prescriptions for chronic pain account for the majority ofoverdoses. For these reasons, the

CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical "to

reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity."272




271   2000-2014 Increases in Drug and Opioid Overdose Deaths,supra n. 47.
272   m

                                                 193
        611.    State law further requires that a manufacturer, distributor, or wholesaler of

prescription drugs must comply "with requirements to maintain and/or make available to the board

or to federal, state, or local law enforcement officials those records required [under] federal, state

or local laws," among other requirements by the Board. Tenn. Comp. R. & Regs. 1140-09-

.03(1)(g). This includes the common law of fraud, statutes designed to generally prohibit unfair

and deceptive acts in commerce, as well as statutes specifically prohibiting deceptive practice

relating to drugs.

        612.   Chapter 11 of the Tennessee Food, Drug and Cosmetic Act ("TDCA"), forbids

distribution ofcontrolled substances in an unauthorized manner,T.C.A.§ 53-11-401,and prohibits

fraudulent narcotic drug and drug control violations. T.C.A. § 53-1 l -402.274




274 Chapter 34 of The Drug Control Act(the "VDCA")of Virginia. Va. Code Ann. §§ 54.1-3400
et seq. The DCA makes it unlawful for a "permitted manufacturer or wholesaler" of schedule II
drugs, which includes "opium and opiate, and any salt, compound, derivative, or preparation of
opium or opiate," to sell the drugs without "official written orders or pursuant to an electronic
order in compliance with federal laws and regulations governing the electronic ordering of
Schedule II drugs." Va. Code Ann. §§ 54.1-3415 and 3448. The DCA also requires Defendants to
keep accurate sales records including "the date of selling, administering, or dispensing, the name
and address ofthe person to whom or for whose use, or the owner and species ofanimal for which
the drugs were sold, administered or dispensed, and the kind and quantity of drugs." Va. Code
Ann. § 54.1-3404(D). In addition, Defendants shall maintain "effective controls against diversion
of controlled substances into other than legitimate medical, scientific, or industrial channels" and
comply with "applicable state and local law" in order to "obtain annually a controlled substances
registration certificate issued by the Board." Va. Code Ann. §§ 54.1-3422(A) and 3423(A). The
registration certificates are subject to revocation when Defendants have "furnished false or
fraudulent material information in an application filed under this chapter;" or "been convicted of
a felony under any state or federal law relating to any controlled substance;" or "had [its] federal
registration to manufacture, distribute or dispense controlled substances suspended or revoked" or
"violated or cooperated with others in violating any provision of this chapter or regulations of the
Board relating to the manufacture, distribution or dispensing of controlled substances." Va. Code
Ann. § 54.1-3424(A).



                                                 195
       616.    The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction, with

costs and damages necessarily inflicted on and incurred by Plaintiffs and others.

       617.    The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality, along with the costs imposed

upon Plaintiffs and others associated with the treatment of these conditions and related health

consequences caused by opioid abuse.

       618.    Finding it impossible to legally achieve their ever-increasing sales ambitions,

Defendants engaged in the common purpose of increasing the supply of opioids and fraudulently

increasing the quotas that governed the manufacture and distribution of their prescription opioids.

       619.    Wholesale distributors such as the Distributor Defendants had close financial

relationships with both Marketing Defendants and customers,for whom they provide a broad range

of value-added services that render them uniquely positioned to obtain information and control

against diversion. These services often otherwise would not be provided by manufacturers to their

dispensing customers and would be difficult and costly for the dispenser to reproduce. For

example, "[w]holesalers have sophisticated ordering systems that allow customers to

electronically order and confirm their purchases, as well as to confirm the availability and prices

of wholesalers' stock." Fed. Trade Comm'n v. Cardinal Health, Inc., 12 Supp. 2d 34,41 (D.D.C.

1998). Through their generic source programs, wholesalers are also able "to combine the purchase

volumes of customers and negotiate the cost of goods with manufacturers." Wholesalers typically

also offer marketing programs, patient services, and other software to assist their dispensing

customers.




                                               197
            Mr. Friedman: Well, we use that information to understand what is happening in
            terms ofthe development of use of our product in any area.

            Mr. Greenwood. And so the use of it--and I assume that part of it--a large part
            of it you want is to see how successful your marketing techniques are so that you
            can expend money in a particular region or among a particular group of
            physicians-- you look to see if your marketing practices are increased in sales.
            And, if not, you go back to the drawing board with your marketers and say, how
            come we spent"X" number of dollars, according to these physicians, and sales
            haven't responded. You do that kind of thing. Right?

            Mr. Friedman: Sure.277

         623.    The contractual relationships among the Defendants also include vault security

programs. Defendants are required to maintain certain security protocols and storage facilities for

the manufacture and distribution of their opiates. The Defendants negotiated agreements whereby

the Marketing Defendants installed security vaults for the Distributor Defendants in exchange for

agreements to maintain minimum sales performance thresholds. These agreements were used by

the Defendants as a tool to violate their reporting and diversion duties in order to reach the required

sales requirements.

                 1.              'Use of Trade and Other Organizations
                        Defendants

         624.    In addition, Defendants worked together to achieve their common purpose through

trade or other organizations, such as the Pain Care Forum("PCF")and the HDA.

                        a.     Pain Care Forum

         625.    PCF has been described as a coalition of drug makers, trade groups, and dozens of

non-profit organizations supported by industry funding, including the Front Groups described in

this Complaint. The PCF recently became a national news story when it was discovered that




277   Oxycontin: Its Use and Abuse,supra n. 105.
                                                 199
                       b.     Healthcare Distribution Alliance

         628.   Additionally, the HDA led to the formation of interpersonal relationships and an

organization among the Defendants. Although the entire HDA membership directory is private,

the HDA website confirms that each of the Distributor Defendants and the Marketing Defendants,

including Actavis, Endo, Purdue, Mallinckrodt and Cephalon, were members of the HDA.282

Additionally, the HDA and each of the Distributor Defendants, eagerly sought the active

membership and participation of the Marketing Defendants by advocating for the many benefits

of members, including "strengthening ... alliances."283

         629.   Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, "network one on one with manufacturer executives at HDA's

members-only Business and Leadership Conference," "networking with HDA wholesale

distributor members," "opportunities to host and sponsor HDA Board of Directors events,"

"participate on HDA committees,task forces and working groups with peers and trading partners,"

and "make connections."284 The HDA and the Supply Chain Defendants used membership in the

HDA as an opportunity to create interpersonal and ongoing organizational relationships and

"alliances" between the Marketing and Supply Chain Defendants.

         630.   The application for manufacturer membership in the HDA further indicates the

level of connection among the Defendants and the level of insight that they had into each other's



282     Manufacturer          Membership,       Healthcare       Distribution      Alliance,
httm://www.healthcaredistri bution.org/aboutimembership/manufacturer (last accessed Aug. 1,
2018).

283

284 Id




                                              201
for the Marketing and Distributor Defendants to interact at a high-level of leadership. The

Marketing Defendants embraced this opportunity by attending and sponsoring these events.288

       634.   After becoming members of the HDA, Defendants were eligible to participate on

councils, committees, task forces and working groups, including:

              a.      Industry Relations Council: "This council, composed of distributor
                      and manufacturer members, provides leadership on pharmaceutical
                      distribution and supply chain issues."

              b.     Business Technology Committee: "This committee provides
                     guidance to HDA and its members through the development of
                     collaborative e-commerce business solutions. The committee's
                     major areas of focus within pharmaceutical distribution include
                     information systems, operational integration and the impact of e-
                     commerce." Participation in this committee includes distributor and
                     manufacturer members.

              c.     Logistics Operation Committee: "This committee initiates projects
                     designed to help members enhance the productivity, efficiency and
                     customer satisfaction within the healthcare supply chain. Its major
                     areas of focus include process automation, information systems,
                     operational integration, resource management and quality
                     improvement." Participation in this committee includes distributor
                     and manufacturer members.

              d.     Manufacturer Government Affairs Advisory Committee: "This
                     committee provides a forum for briefing HDA's manufacturer
                     members on federal and state legislative and regulatory activity
                     affecting the pharmaceutical distribution channel. Topics discussed
                     include such issues as prescription drug traceability, distributor
                     licensing, FDA and DEA regulation of distribution, importation and
                     Medicaid/Medicare reimbursement." Participation in this
                     committee includes manufacturer members.

              e.     Contracts and Chargebacks Working Group: "This working group
                     explores how the contract administration process can be streamlined
                     through process improvements or technical efficiencies. It also
                     creates and exchanges industry knowledge ofinterest to contract and


288 2015 Distribution Managemen► Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference. (last
accessed Aug. 1, 2018).
                                             203
As the HDA explained in an amicus brief, the Industry Compliance Guidelines were the result of

"[a] committee of HDMA members contribut[ing] to the development of this publication"

beginning in late 2007.

       639.    This statement by the HDA and the Industry Compliance Guidelines support the

allegation that Defendants utilized the HDA to form agreements about their approach to their

duties under the law. As John M. Gray, President/CEO of the HDA stated to the Energy and

Commerce Subcommittee on Health in April 2014, it is "difficult to find the right balance between

proactive anti-diversion efforts while not inadvertently limiting access to appropriately prescribed

and dispensed medications." Here, it is apparent that all of the Defendants found the same balance

— an overwhelming pattern and practice offailing to identify, report or halt suspicious orders, and

failure to prevent diversion.

       640.    The Defendants' scheme had a decision-making structure driven by the Marketing

Defendants and corroborated by the Distributor Defendants. The Marketing Defendants worked

together to control the government's responses to the manufacture and distribution of prescription

opioids by increasing production quotas through a systematic refusal to maintain effective controls

against diversion and identify suspicious orders and report them to the DEA.

       641.    The Defendants worked together to control the flow of information and to influence

governments to pass legislation that supported the use of opioids and limited the authority of law

enforcement to rein in illicit or inappropriate prescribing and distribution. The Marketing and

Distributor Defendants did this through their participation in the PCF and HDA.

       642.    The Defendants also worked together to ensure that the Aggregate Production

Quotas, Individual Quotas, and Procurement Quotas allowed by the DEA remained artificially

high. In so doing, they ensured that suspicious orders were not reported to the DEA,and, further,



                                               205
deviate from these checks and balances, the closed system of distribution, designed to prevent

diversion, collapses.29°

       647.    Defendants were well aware they had an important role to play in this system, and

also knew or should have known that their failure to comply with their obligations would have

serious consequences.

               3.      Defendants Kept Careful Track ofPrescribing Data and Knew About
                       Suspicious Orders and Prescribers

       648.    The data that reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA's Confidential Automation of Reports and

Consolidated Orders System (ARCOS)database. The data necessary to identify with specificity

the transactions that were suspicious is in possession of the Supply Chain Defendants and

Marketing Defendants but has not been disclosed to the public.

       649.    Publicly available information confirms that the Supply Chain Defendants and

Marketing Defendants funneled far more opioids into Tennessee, southwest Virginia and

communities across the United States than could have been expected to serve legitimate medical

use and ignored other red flags of suspicious orders. This information, along with the information

known only to Distributor and Marketing Defendants, would have alerted them to potentially

suspicious orders of opioids.

       650.    This information includes the following facts:

               a.     distributors and manufacturers have access to detailed transaction-
                      level data on the sale and distribution of opioids, which can be
                      broken down by zip code, prescriber, and pharmacy and includes the
                      volume of opioids, dose, and the distribution of other controlled and
                      non-controlled substances;



2 See Rannazzisi Decl. 110, Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW, Doc.
"
No. 14-2(D.D.C. Feb. 10, 2012).
                                              207
prescription opioids.29I The"know your customer" questionnaires informed the Defendants ofthe

number ofpills that the pharmacies sold, how many non-controlled substances were sold compared

to controlled substances, whether the pharmacy purchased opioids from other distributors, and the

types of medical providers in the area, including pain clinics, general practitioners, hospice

facilities, cancer treatment facilities, and others. These questionnaires put the recipients on notice

ofsuspicious orders.

       654.    Defendants purchased nationwide, regional, state, and local prescriber- and patient-

level data from the Data Vendors that allowed them to track prescribing trends, identify suspicious

orders, identify patients who were doctor shopping, identify pill mills, etc. The Data Vendors'

information purchased by the Defendants allowed them to view, analyze, compute,and track their

competitors' sales, and to compare and analyze market share information.292

       655.    IMS Health, for example, provided Defendants with reports detailing prescriber

behavior and the number of prescriptions written between competing products.293




291 U.S. Dep't of Justice Drug Enforcement Administration, Suggested Ques►ions a Distributor
should         ask         prior        to        shipping        controlled      substances,
httos://vAvw.deadiyersion.usdoi.goy/mtgs/pharin industry/14th oharm/levinl ques.pdf; Richard
Widup, Jr. & Kathleen H. Dooley, Esq. Pharmaceutical Product Diversion: Beyond the PDMA,
Purdue Pharma and McGuire Woods LLC, ht                    tps://www.mcauirewoods.corn/news-
resources/publications/lifesciences/oroduct diversion beyond odma.odf.

292 A Verispan representative testified that the Supply Chain Defendants use the prescribing
information to "drive market share." Sorrell v. IMS Health Inc., No. 10-779, 2011 WL 661712,
*9-10 (Feb. 22, 2011).

293 Paul Kallukaran &    Jerry Kagan, Data Mining at 1MS HEALTH.• How we Turned a Mountain of
Data              into            a          Few           Information-rich         Molehills,
httn://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1. 1.198.3498:_rep=repl&type=pdf, Figure
2 at p. 3 (last accessed Aug. 1, 2018).



                                                209
of Administrative Law Judges. These numbers include 76 actions involving orders to show cause

and 41 actions involving immediate suspension orders, all for failure to report suspicious orders.297

          659.   Sales representatives were also aware that the prescription opioids they were

promoting were being diverted, often with lethal consequences. As a sales representative wrote on

a public forum:

          Actions have consequences - so some patient gets Rx'd the 80mg OxyContin when
          they probably could have done okay on the 20mg (but their doctor got "sold" on
          the 80mg) and their teen son/daughter/child's teen friend finds the pill bottle and
          takes out a few 80's... next they're at a pill party with other teens and some kid
          picks out a green pill from the bowl... they go to sleep and don't wake up (because
          they don't understand respiratory depression). Stupid decision for a teen to
          make...yes... but do they really deserve to die?

          660.   Moreover, Defendants' sales incentives rewarded sales representatives who

happened to have pill mills within their territories, enticing those representatives to look the other

way even when their in-person visits to such clinics should have raised numerous red flags. In one

example, a pain clinic in South Carolina was diverting massive quantities of OxyContin. People

traveled to the clinic from towns as far as 100 miles away to get prescriptions, the DEA's diversion

unit raided the clinic, and prosecutors eventually filed criminal charges against the doctors. But

Purdue's sales representative for that territory, Eric Wilson,continued to promote OxyContin sales

at the clinic. He reportedly told another local physician that this clinic accounted for 40% of the

OxyContin sales in his territory. At that time, Wilson was Purdue's top-ranked sales

representative.298 In response to news stories about this clinic, Purdue issued a statement, declaring




297 Id.


298 Pain   Killer, supra n. 98, at 298-300.



                                                 211
sales strategy to pay particular attention to actual and potential prolific prescribers, which the

Board and senior officers understood to account for approximately 10% of overall revenues.

       663.       Purdue also tracked prescribers from whom there was a substantial possibility of

opioids having been diverted, or, at a minimum, grossly over-prescribed. It described these

prescribers as, collectively, "Region Zero," and even generated a map, given to members of the

Board, correlating these prescribers with poison control calls and pharmacy thefts.


           We are examining the spatial relationship between different aspects of the
                                                                              II.L RATIVE
                                     abuse environment
          Poison Control oxycodone exposure call density, Region Zero prescribers, and pharmacy theft




                                                                                                        13
         SOURCE: AAPCC. PALS? RxPatrol


                                         Map presented to the Purdue Board in 2011

       664.       Once prescribers were categorized as part of "Region Zero," Purdue would

eventually stop promoting to them, but it would not stop selling to them, and it would not report

them to authorities. This would have been costly. Indeed, an internal Purdue study showed that

the financial penalties imposed on drug companies for illegal marketing were "relatively small"

                                                        213
in the newspaper [of Dr. Paolino] is of a horrible, bad actor, someone who preyed upon this

community, who caused untold suffering. And he fooled us all. He fooled law enforcement. He

fooled the DEA. He fooled local law enforcement. He fooled us."302

       669.    But given the closeness with which they monitored prescribing patterns through

IMS Health data, the Defendants either knew or chose not to know ofthe obvious drug diversions.

In fact, a local pharmacist had noticed the volume of prescriptions coming from Paolino's clinic

and alerted authorities. Purdue had the prescribing data from the clinic and alerted no one. Indeed,

a Purdue executive referred to Purdue's tracking system and database as a "gold mine" and

acknowledged that Purdue could identify highly suspicious volumes of prescriptions.

       670.    As discussed below, Endo knew that Opana ER was being widely abused. Yet, the

New York Attorney General revealed, based on information obtained in an investigation into Endo,

that Endo sales representatives were not aware that they had a duty to report suspicious activity

and were not trained on the company's policies or duties to report suspicious activity, and Endo

paid bonuses to sales representatives for detailing prescribers who were subsequently arrested for

illegal prescribing.

       671.    Sales representatives making in-person visits to such clinics were likewise not

fooled. But as pill mills were lucrative for the manufacturers and individual sales representatives

alike, Marketing Defendants and their employees turned a collective blind eye, allowing certain

clinics to dispense staggering quantities of potent opioids and feigning surprise when the most

egregious examples eventually made the nightly news.




302Pain Killer,supra n. 98, at 179.
                                               215
                a.     "timely identify suspicious orders of controlled substances and
                       inform the DEA of those orders, as required by 21 C.F.R.
                       §1301.74(b)";

                b.     "maintain effective controls against diversion of particular
                       controlled substances into other than legitimate medical, scientific,
                       and industrial channels, as required by 21 C.F.R. §1301.74,
                       including the failure to make records and reports required by the
                       CSA or DEA's regulations for which a penalty may be imposed
                       under 21 U.S.C. §842(a)(5)"; and

                c.     "execute, fill, cancel, correct, file with the DEA, and otherwise
                       handle DEA 'Form 222' order forms and their electronic equivalent
                       for Schedule II controlled substances,as required by 21 U.S.C. §828
                       and 21 C.F.R. Part 1305."

         676.   In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal, as well

as several smaller wholesalers, for numerous causes of action, including violations of the CSA,

consumer credit and protection and antitrust laws, and the creation of a public nuisance. Unsealed

court records from that case demonstrate that AmerisourceBergen, along with Cardinal, shipped

423 million pain pills to West Virginia between 2007 and 2012. AmerisourceBergen itselfshipped

80.3 million hydrocodone pills and 38.4 million oxycodone pills during that time period. These

quantities demonstrate that the Defendants failed to control the supply chain or to report and take

steps to halt suspicious orders. In 2016, AmerisourceBergen agreed to settle the West Virginia

lawsuit for $16 million to the state; Cardinal settled for $20 million.

         677.   Henry Schein, too, is a repeat offender. Since the company's inception, it has been

subjected to repeated disciplinary actions across the United States for its sale and/or distribution

of dangerous drugs to persons or facilities not licensed or otherwise authorized to possess such

drugs.

         678.   In 2014, Henry Schein Animal Health was investigated by the State of Ohio Board

of Pharmacy due to its sale/distribution of wholesale dangerous drugs to an entity not holding a



                                                217
our world more sustainable, while governing our activities as a good corporate citizen in

compliance with all regulatory requirements and with a belief that doing 'the right thing' serves

everyone." Defendant Cardinal likewise claims to "lead [its] industry in anti-diversion strategies

to help prevent opioids from being diverted for misuse or abuse." Along the same lines, it claims

to "maintain a sophisticated, state-of-the-art program to identify, block and report to regulators

those orders of prescription-controlled medications that do not meet[its] strict criteria." Defendant

Cardinal also promotes funding it provides for "Generation Rx," which funds grants related to

prescription drug misuse. A Cardinal executive recently claimed that Cardinal uses "advanced

analytics" to monitor its supply chain; Cardinal assured the public it was being "as effective and

efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

activity."

       684.    Along the same lines, Defendant AmerisourceBergen has taken the public position

that it is "work[ing] diligently to combat diversion and [is] working closely with regulatory

agencies and other partners in pharmaceutical and healthcare delivery to help find solutions that

will support appropriate access while limiting misuse of controlled substances." A company

spokeswoman also provided assurance that:"At AmerisourceBergen, we are committed to the safe

and efficient delivery of controlled substances to meet the medical needs of patients."

       685.    Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Supply Chain Defendants, through their trade associations, HDMA and

NACDS, filed an amicus brief in Masters Pharmaceuticals, which made the following

statements:3
           "

               a.     "HDMA and NACDS members not only have statutory and
                      regulatory responsibilities to guard against diversion of controlled


303 Brieffor HDMA and NACDS,supra n. 284, at *3-4, *25.

                                                219
          689.   At the heart of Purdue's public outreach is the claim that it works hand-in-glove

with law enforcement and government agencies to combat opioid abuse and diversion. Purdue has

consistently trumpeted this partnership since at least 2008, and the message of close cooperation

is in virtually all ofPurdue's recent pronouncements in response to the opioid epidemic.

          690.   Touting the benefits of ADF opioids, Purdue's website asserts: "[W]e are acutely

aware of the public health risks these powerful medications create . . .. That's why we work with

health experts, law enforcement, and government agencies on efforts to reduce the risks of opioid

abuse and misuse . . . ."305 Purdue's statement on "Opioids Corporate Responsibility" likewise

states that "[for many years, Purdue has committed substantial resources to combat opioid abuse

by partnering with . . . communities, law enforcement, and govertunent."306 And, responding to

criticism of Purdue's failure to report suspicious prescribing to government regulatory and

enforcement authorities, the website similarly proclaims that Purdue "ha[s] a long record of close

coordination with the DEA and other law enforcement stakeholders to detect and reduce drug

diversion."307

          691.   These public pronouncements create the false impression that Purdue is proactively

working with law enforcement and government authorities nationwide to root out drug diversion,

including the illicit prescribing that can lead to diversion. It aims to distance Purdue from its past




3o5 Purdue, Opioids With Abuse-Deterrent Properties, hnv://www.purduepharina.coni  lhealthcare-
professionalskesponsible-use-of-ooioids/onioids-with-abuse-deterrent-nronerties/ (last accessed
Aug. 1, 2018).

3°6 Id.
307
   Setting The Record Straight On Our Anti-Diversion Programs, supra n. 312. Contrary to its
public statements, Purdue seems to have worked behind the scenes to push back against law
enforcement.
                                                221
chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer's product at a price below a specified rate. After a distributor sells a manufacturer's

product to a pharmacy, for example, the distributor requests a chargeback from the manufacturer

and,in exchange for the payment,the distributor identifies to the manufacturer the product, volume

and the pharmacy to which it sold the product. Thus, the Marketing Defendants knew — just as the

Distributor Defendants knew — the volume, frequency, and pattern of opioid orders being placed

and filled. The Marketing Defendants built receipt of this information into the payment structure

for the opioids provided to the opioid distributors.

       696.    The Department of Justice has recently confirmed the suspicious order obligations

clearly imposed by law upon opioid manufacturers, fining Mallinckrodt $35 million for failure to

report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements 308

       697.    In the press release accompanying the settlement, the Department of Justice stated:

"[Mallinckrodt] did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone,the abuse of which is part ofthe current opioid epidemic.

These suspicious order monitoring requirements exist to prevent excessive sales of controlled

substances, like oxycodone."..."Mallinckrodt's actions and omissions formed a link in the chain

of supply that resulted in millions of oxycodone pills being sold on the street. . . . Manufacturers




308 See Press Release, U.S. Dep't of Justice, Mallinckrodt Agrees to Pay Record $35 Million
Settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs and for
Recordkeeping Violations (July 11, 2017), https:/Amw.itistice.2ov/opa/primallinckrodt-agrees-
pay-record-35-m i I ion-settlement-fai lure-report-suspicious-orders.



                                                223
        700.      The 2017 Mallinckrodt MOA further details the DEA's allegations regarding

Mallinckrodt's failures to fulfill its legal duties as an opioid manufacturer:

                  a.    With respect to its distribution of oxycodone and hydrocodone
                        products, Mallinckrodt's alleged failure to distribute these
                        controlled substances in a manner authorized by its registration and
                        Mallinckrodt's alleged failure to operate an effective suspicious
                        order monitoring system and to report suspicious orders to the DEA
                        when discovered as required by and in violation of 21 C.F.R. §
                        1301.74(b). The above includes, but is not limited to Mallinckrodt's
                        alleged failure to: conduct adequate due diligence of its customers;

                  b.    Detect and report to the DEA orders of unusual size and frequency;

                  c.    Detect and report to the DEA orders deviating substantially from
                        normal patterns including, but not limited to, those identified in
                        letters from the DEA Deputy Assistant Administrator, Office of
                        Diversion Control, to registrants dated September 27, 2006 and
                        December 27, 2007:

                        i.     orders that resulted in a disproportionate amount of a
                               substance which is most often abused going to a
                               particular geographic region where there was known
                               diversion,

                        ii.    orders that purchased a disproportionate amount of
                               substance which is most often abused compared to
                               other products, and

                        iii.   orders from downstream customers to distributors
                               who were purchasing from multiple different
                               distributors, of which Mallinckrodt was aware;

                  d.    Use "chargeback" information from its distributors to
                        evaluate suspicious orders. Chargebacks include
                        downstream purchasing information tied to certain
                        discounts, providing Mallinckrodt with data on buying
                        patterns for Mallinckrodt products; and

                  e.    Take sufficient action to prevent recurrence of diversion by
                        downstream customers after receiving concrete information
                        of diversion of Mallinckrodt product by those downstream
                        customers.312


312 Id. at 2-3.
                                                225
industry-wide among opioid manufacturers and distributors, including the other Marketing and

Distributor Defendants.

         705.   Through, inter alia, the charge back data, the Marketing Defendants could monitor

suspicious orders ofopioids.

         706.   The Marketing Defendants failed to monitor, report, and halt suspicious orders of

opioids as required by law.

         707.   The Marketing Defendants' failures to monitor, report, and halt suspicious orders

of opioids were intentional and unlawful.

         708.   The Marketing Defendants have misrepresented their compliance with the laws

regulating controlled substances.

         709.   The wrongful actions and omissions of the Marketing Defendants that caused the

diversion ofopioids and which were a substantial contributing factor to and/or proximate cause of

the opioid crisis are alleged in greater detail in Plaintiffs' allegations of Defendants' unlawful acts

below.

         710.   The Marketing Defendants' actions and omissions in failing to effectively prevent

diversion and failing to monitor, report, and prevent suspicious orders have enabled the unlawful

diversion of opioids throughout the United States.

         C.     The Distributor Defendants
                                         'Unlawful Distribution of Opioids

         711.   The Distributor Defendants owe a duty under, inter alia,common law and statutory

law, to monitor, detect, investigate, refuse to fill, and report suspicious orders of prescription

opioids as well as those orders which the Distributor Defendants knew or should have known were

likely to be diverted.




                                                 227
order does not matter and the order should be reported as suspicious. Likewise, a wholesale

distributor need not wait for a normal pattern to develop over time before determining whether a

particular order is suspicious. The size of an order alone, regardless of whether it deviates from a

normal pattern, is enough to trigger the wholesale distributor's responsibility to report the order as

suspicious. The determination of whether an order is suspicious depends not only on the ordering

patterns of the particular customer but also on the patterns of the entirety of the wholesale

distributor's customer base and the patterns throughout the relevant segment of the wholesale

distributor industry.

       718.     In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as potentially

suspicious if, after conducting due diligence, the distributor can determine that the order is not

likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

36,501 (Drug Enct Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enforcement

Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged orders must be

reported. Id.

       719.     These prescription drugs are regulated for the purpose of providing a "closed"

system intended to reduce the widespread diversion ofthese drugs out of legitimate channels into

the illicit market, while at the same time providing the legitimate drug industry with a unified

approach to narcotic and dangerous drug control.

       720.     Because distributors are the first major line of defense in the movement of legal

pharmaceutical controlled substances from legitimate channels into the illicit market, it is

i ncumbent on them to maintain effective controls to prevent diversion of controlled substances.




                                                229
deliver controlled substances only for lawful purposes."' The DEA warns that "even just one

distributor that uses its DEA registration to facilitate diversion can cause enormous harm."

          724.    The DEA sent a second letter to each of the Distributor Defendants on December

27, 2007.319 This letter reminds the Distributor Defendants of their statutory and regulatory duties

to "maintain effective controls against diversion" and "design and operate a system to disclose to

the registrant suspicious orders ofcontrolled substances."320 The letter further explains:

          The regulation also requires that the registrant inform the local DEA Division
          Office of suspicious orders when discovered by the registrant. Filing a monthly
          report of completed transactions (e.g., "excessive purchase report" or "high unity
          purchases") does not meet the regulatory requirement to report suspicious orders.

          The regulation specifically states that suspicious orders include orders of unusual
          size, orders deviating substantially from a normal pattern, and orders of an unusual
          frequency. These criteria are disjunctive and are not all inclusive.

          Lastly, registrants that routinely report suspicious orders, yet fill these orders
          without first determining that order is not being diverted into other than legitimate
          medical, scientific, and industrial channels, may be failing to maintain effective
          controls against diversion. Failure to maintain effective controls against diversion
          is inconsistent with the public interest as that term is used in 21 USC 823 and 824,
          and may result in the revocation of the registrant's DEA Certificate of
          Registration.321

          725.   Finally, the DEA letter references the Revocation of Registration issued in

Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the




318 Id   at 1.

319/d    at 2.
320 See Letter from Joseph T. Ranriazzisi to Cardinal Health, supra n. 323.

321 Id




                                                  231
       728.    The Federal Trade Commission ("FTC") has recognized the unique role of

distributors. Since their inception, Distributor Defendants have continued to integrate vertically by

acquiring businesses that are related to the distribution of pharmaceutical products and health care

supplies. In addition to the actual distribution of pharmaceuticals, as wholesalers, Distributor

Defendants also offer their pharmacy, or dispensing, customers a broad range of added services.

For example, Distributor Defendants offer their pharmacies sophisticated ordering systems and

access to an inventory management system and distribution facility that allows customers to reduce

inventory carrying costs. Distributor Defendants are also able to use the combined purchase

volume of their customers to negotiate the cost of goods with manufacturers and offer services that

include software assistance and other database management support. See Fed Trade Comm'n v.

Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998) (granting the FTC's motion for

preliminary injunction and holding that the potential benefits to customers did not outweigh the

potential anti-competitive effect of a proposed merger between Cardinal, Inc. and Bergen

Brunswig Corp.). As a result of their acquisition of a diverse assortment of related businesses

within the pharmaceutical industry, as well as the assortment of additional services they offer,

Distributor Defendants have a unique insight into the ordering patterns and activities of their

dispensing customers.

       729.    The DEA also repeatedly reminded the Defendants of their obligations to report

and decline to fill suspicious orders. Responding to the proliferation of pharmacies operating on

the internet that arranged illicit sales of enormous volumes of opioids to drug dealers and

customers, the DEA began a major push to remind distributors oftheir obligations to prevent these

kinds of abuses and educate them on how to meet these obligations. Since 2007, the DEA has

hosted at least five conferences that provided registrants with updated information about diversion



                                                233
threshold increases, detecting, blocking, and reporting suspicious orders, and terminating and/or

suspending customers, were often assigned to operations, sales and administrative employees who

had no experience with regulatory compliance of any kind.

               2.      Inadequate Scrutiny of Customers

       737.    None of the Distributor Defendants had a consistent practice of conducting

appropriate due diligence of either prospective new customers or their existing customers. New

customers were routinely on-boarded despite the acknowledged presence of unresolved red flags,

and none of the Distributor Defendants ensured that additional investigations were conducted

when existing customers made suspicious orders, even when compliance staffflagged those orders

as suspicious, blocked them, and reported them to the State.

       738.    Indeed, the Distributor Defendants routinely allowed their customers to make

multiple suspicious orders within the same month, week, or even year, without conducting any

additional due diligence of those customers. In fact, salespeople would warn customers when

they were approaching their monthly threshold limits for ordering certain categories of controlled

substances, putting them in a position to assist their customers in evading compliance reviews that

would have otherwise occurred by manipulating the timing and volume of their orders.

       739.    Even where customers had to be blocked from ordering opioids in excess of their

monthly threshold allowance multiple times within that month, the Distributor Defendants would

allow those customers to resume ordering opioids the next month, at the same volume levels as

before, without requiring any follow up investigation.

       740.    And none of the Distributor Defendants conducted periodic, unexpected due

diligence audits of their customers,even among the easily identifiable and relatively small groups

of pharmacies that consistently ordered the highest volumes of opioids. Instead, these pharmacies

could go for years without the Distributor Defendants updating their knowledge of those

                                               235
that exceeded a customer's monthly threshold limit for a particular category of controlled

substances would actually trigger a compliance review. As a result, untold numbers of opioid

orders that should have been reviewed due to their unusual size or frequency, or their departure

from the customers' normal ordering patterns, were never even checked to determine whether they

were suspicious. Because the Distributor Defendants routinely allowed their customers to obtain

information about the monthly threshold limits governing their orders of opioid products, orders

customers made within the limits after being enabled to "game" them were improperly excluded

from compliance review, when they all should have been checked to see whether the customers

were deliberately structuring their orders to evade scrutiny.

       747.    Even as to orders that exceeded customers' monthly thresholds, the Distributor

Defendants, over varying time periods, routinely failed to accurately identify those orders as

suspicious. Instead, they released those orders for delivery based on perfunctory and unverified

information provided by the customer, or for no documented reason at all. Moreover, even when

the Distributor Defendants did identify orders as suspicious and did block them from delivery to

customers, they routinely failed to report those suspicious orders to the State, sometimes going

months or years without reporting any at all. When they did make suspicious-order reports, the

reports were routinely incomplete,for example, by failing to identify all of the relevant suspicious

orders for a customer, even when they were made within the same month, week,or even day.

       748.    The sheer volume ofprescription opioids distributed to pharmacies in various areas,

and/or to pharmacies from which the Distributor Defendants knew the opioids were likely to be

diverted, was excessive for the medical need of the community and facially suspicious. Some red




                                               237
already been identified, unless they had personally handled the earlier investigation, and happened

to remember the prescriber's name. Similarly, they made no effort to collect and compare

information about pharmacies that made high-volume orders of opioids, had been flagged for

making suspicious orders, or had been suspended or terminated for suspicious or illegal practices.

As a result, compliance staff had no way of knowing that a pharmacy they were investigating

shared ordering patterns or top prescribers with another risky, suspicious, and/or previously

disciplined customer.

               6.       The Distributor Defendants Failed to Report Violations to
                        Government Authorities

       752.    The Distributor Defendants failed to promptly report compliance violations to the

State of Tennessee, and other governments. Indeed, even when they actually detected failures in

their compliance systems, they made no effort to report those known incidents. More broadly, due

to the combination of systematic failures riddling their compliance systems described above, none

ofthe Distributor Defendants had the competence to effectively detect their own violations.

       753.    For example, if any of the relevant Distributor Defendants had conducted periodic

audits of their own records of customers' orders, those customers' patterns of ordering in excess

of their monthly threshold allowance for opioid products, the number of times those orders were

released without justification, and the number of times those orders were blocked as suspicious

without being reported to government agencies and/or triggering additional investigations,

suspensions, or terminations, they would have each been obliged to report hundreds, if not

thousands, of violations at a time.

       754.    In short, the Distributor Defendants deliberately lied to Tennessee and other states,

both expressly and by omission, year in and year out, about the effectiveness of their compliance




                                               239
                b.      Allowed onboarding of new accounts even where customers failed to
                        provide requested information about other suppliers, dispensing data, and
                        top prescriber information; and

               c.       Allowed compliance staff to release a customer's first order in excess of its
                        monthly threshold, regardless of whether the customer made other orders in
                        excess of the same drug threshold at the same time.

                             ii.       Cardinal's Failure to Effectively Prevent Diversion in
                                       Practice

        759.    At all relevant times, Cardinal failed to employ qualified compliance staff to

implement these policies, failed to adequately train those compliance staff or its sales

representatives concerning Cardinal's anti-diversion duties,and failed to enforce even the defective

policies it had in place.

        760.    Cardinal failed to install qualified personnel in key compliance positions. For

example, Cardinal's front-line "New Account Specialists" and "Analysts," responsible for

onboarding new customers and monitoring existing customers, respectively, were routinely

recruited from the ranks of the company's existing pool of administrative assistants. These

employees, who had no experience in regulatory compliance, were generally supervised by

pharmacists or other professionals with no prior experience in supervising investigative functions.

       761.     Moreover, Cardinal failed to provide meaningful training to either these unqualified

compliance personnel or sales representatives. Instead, Cardinal expected the compliance staff to

"learn on the job" through informal in-person "team meetings." Due to the lack of proper training

and clear guidelines, compliance staff did not fully understand critical components of their jobs

and often developed their own procedures and benchmarks for reviewing customers.

       762.    Unsurprisingly,these unqualified and untrained staff routinely failed to follow even

the most basic procedures required under the company's various SOPs. In addition, Cardinal




                                                241
        766.   Even where Cardinal did block customers' orders and report them as, it routinely

took no steps to suspend or terminate those customers pending further investigation, and instead

allowed them to continue receiving their threshold amount ofopioids month after month thereafter,

regardless of whether the customer continued to make additional suspicious orders.

       767.    Between 2012 and 2017, for example, Cardinal reported twelve or more opioid

related suspicious orders for at least one year-the equivalent of one per month-for hundreds of

pharmacies nationwide. Those pharmacies had several known red flags m their shipment orders

and prescription data. More than half of these pharmacies:(a)exceeded the 90th percentile in the

State in terms of opioid volume shipped;(b)exceeded the 90th percentile in the State in terms of

oxycodone volume shipped; and (c)exceeded the 90th percentile in the State in terms of median

strength of opioids prescribed per day. Nonetheless, even after reporting twelve or more opioid-

related suspicious orders for one of these pharmacies, Cardinal continued to ship opioids, on

average, for more than three years. Within this group of suspect pharmacies that Cardinal did

nothing to control, these included particularly egregious cases in which Cardinal reported more

than 50 opioid-related suspicious orders per year-the equivalent ofone suspicious order per .week

to the authorities for three or more consecutive years.

       768.    In still other instances, neither Cardinal nor other distributors reported numerous

suspicious orders, but almost certainly should have, given that a handful of prescribers were

responsible for writing an.unusually high percentage of the pharmacy's opioid prescriptions. By

itself, having a high concentration of opioid prescriptions written by a small number of providers

is a known red flag for opioid diversion. Subsequently, these pharmacies had among the highest

percentage of prescriptions written by providers who were indicted or convicted on opioid-related

prescribing and distribution charges.



                                               243
            773.   To date, Cardinal has paid a total of $98 million in fines and other amounts

 involving multiple DEA and various state actions relating to its improper management and

distribution of opioids to pharmacies across the United States.

            774.   In 2008, Cardinal paid a $34 million penalty to settle allegations about opioid

diversion taking place at seven warehouses around the United States (the "2008 Cardinal

Settlement Agreement").327 These allegations included failing to report to the DEA thousands of

suspicious orders of hydrocodone that Cardinal then distributed to pharmacies that filled

illegitimate prescriptions originating from rogue Internet pharmacy websites.328

            775.   In connection with the 2008 Cardinal Settlement Agreement, the'DEA stated that

"[dJespite [its] repeated attempts to educate Cardinal on diversion awareness and prevention,

Cardinal engaged in a pattern of failing to report blatantly suspicious orders for controlled

substances filled by its distribution facilities located throughout the United States."329 The DEA

concluded that "Cardinal's conduct allowed the 'diversion' of millions of dosage units of

hydrocodone from legitimate to non-legitimate channels."33°




327 Settlement and Release Agreement and Administrative Memorandum of Agreement(Sept. 30,
2008),            a           cached           version           is         available            at
https://webcache.goouleusercontent.com/search?q=cache:07Te0HbVfp1.1:h ttps://www.dea.go yid
i visions/hq/2012/cardinal aereement.pdf-1-&cd=2&h1=en&ct=clnk&RI-us; Press Release, U.S.
Att'y Office, Dist. of Colo., Cardinal Health Inc., Agrees to Pay $34 Million to Settle Claims that
it Failed to Report Suspicious Sales of Widely-Abused Controlled Substances (Oct. 2, 2008),
https://www. ustice.12,ov/archive/usao/co/ne ws/2008/October08/1 0 2 08.html.
328
      1d.

329U.S. Att'y Office, Dist. of Colo., Cardinal Health Inc. Agrees to Pay $34 Million to Settle
Claims that It Failed to Report Suspicious Sales of Widely-Abused Controlled Substances(Oct. 2,
2008), ht
        tps://www.Iustice.eov/archi ve/usao/co/news/2008/October08/1 0 2 08.html.

33° Id.



                                                245
year license suspension for supplying more than 12 million dosage units to only four area

pharmacies, nearly fifty times as much oxycodone as it shipped to the rest of Florida and an

increase of 241% in only two years.335 The DEA found that Cardinal's own investigator warned

Cardinal against selling opioids to these pharmacies, but that Cardinal did nothing to notify the

DEA or cut off the supply of drugs to the suspect pharmacies.336 Instead, Cardinal's opioid

shipments to the pharmacies increased.337

         778.    In the 2012 Cardinal Settlement Agreement, Cardinal agreed that it had (i)failed to

maintain effective controls against the diversion of controlled substances, including failing to

conduct meaningful due diligence to ensure that controlled substances were not diverted;(ii)failed

to detect and report suspicious orders ofcontrolled substances as required by the CSA,on or before

May 14, 2012; and (iii) failed to adhere to the provisions of the 2008 Cardinal Settlement

Agreement.338

         779.    In December 2016, Cardinal again settled charges that it had violated the CSA by

failing to prevent diversion ofoxycodone for illegal purposes, this time for $44 million (the "2016

Cardinal Settlement Agreement").339 The settlement covered DEA allegations that Cardinal had



2012),  https://www.dea.gov/pubs/pressrel/pr051 512.html           (hereinafter    "Administrative
Memorandum of Agreement(May 14, 2012)").

335 Id


336 Id


337 Id


338   Administrative Memorandum of Agreement(May 14, 2012),supra n. 342.

339 U.S. Att'y Office, Dist. of Md., Cardinal Health Agrees to S44 Million Settlementfor Alleged
Violations of Controlled Substances Act (Dec. 23, 2016) https://www.justice.gov/usao-
md/pricard ina I-heal th-agrees-44-million-settlement-alleged-violat ions-control led-substances-act.



                                                247
        784.   Cardinal profited in two ways from its marketing activities:(1) it was paid by the

drug manufacturers to promote their prescription opioids, and/or(2) it was paid from increases in

pharmacy drug sales that resulted from these marketing efforts.

       785.    The targeting of pharmacists by Cardinal in its marketing activities was particularly

problematic because of Cardinal's existing and often long-term business relationships with

pharmacies—with whom Cardinal shared a legal responsibility to prevent diversion. Opioid

distributors, like Cardinal, were in a unique and trusted position in the controlled substances supply

chain from which they could have spoken truthfully to their pharmacy customers about the serious

risks posed by opioids(including the risk of diversion). They could have remained silent about the

benefits and risks ofopioids, and simply filled orders and shipped drugs. Instead, Cardinal abused

its unique position for profit, by contributing to the chorus of deception surrounding opioids.

       786.    To engage in the promotion ofcontrolled substances at all, under the circumstances

detailed in this Complaint, was a dereliction of Cardinal's duties to prevent opioid diversion.

Through these marketing activities, Cardinal contributed to and reinforced the deceptive and

misleading marketing messages that healthcare providers received about opioids through other

channels. Moreover, much of the Cardinal's marketing content was deceptive, because it either

affirmatively misrepresented the benefits and risks of prescription opioids, or it omitted important

information about the risks of prescription opioids. Cardinal knew or should have known that these

marketing messages—particularly those that misrepresented or omitted material information about

the potential for diversion or risks of addiction associated with prescription opioids—were

deceptive.

       787.    Through marketing activities, Cardinal built upon,reinforced, and profited from the

drug manufacturers' campaign to deceive healthcare providers about the risks and benefits of



                                                249
customer procedure, and controlled substances could account for up to-of prescriptions dispensed

before triggering additional investigation.

       791.    AmerisourceBergen does not require new customers to provide usage reports or

dispensing data as part of the on boarding process. By relying on these customers to self-report

without any documented verification, AmerisourceBergen does not fulfill its obligation of truly

knowing its customers' business practices.

       792.    Both prior to and after program revision, AmerisourceBergen's policies have

allowed for frequent threshold manipulation to avoid orders being held for review, rejected from

shipment, or reported as suspicious. Staff reviewing the form have high benchmarks for these

numbers before considering them red flags.

       793.    AmerisourceBergen's policies are not sufficient to comply with the requirements

of T.C.A. § 53-1-101 and similar requirements of other states. Under AmerisourceBergen's

deficient policies, it does not hold for review orders that only meet one ofthese qualifications. By

limiting the orders even held for review, AmerisourceBergen's policy does not fulfill its obligation

to identify even orders of interest, much less suspicious orders.

       794.    Examples of egregious cases identified recently in a complaint filed by a state

attorney general included:

               a.     A pharmacy at or above both the 991h percentile in terms of both number of
                      opioid orders and total opioid weight, at which, between 2014 and 2016,
                      more than 10% of its prescriptions were written by prescribers who were
                      later indicted or convicted of opioid-related prescribing and distribution
                      charges, concerning which AmerisourceBergen reported nearly 200 SORs
                      in 2013-14, and to which as of 2018, AmerisourceBergen was still serving
                      as this pharmacy's primary opioid distributor;

               b.     A pharmacy where, between 2013 and 2017, 77% of its prescriptions, on
                      average, were written by prescribers who were later indicted or convicted,
                      including 90% in 2014, and to which Amerisource appears to have only
                      stopped shipping in 2017; and


                                               251
to failing to perform even this baseline screening. Bellco Generics customers, for example,

regularly completed the 590 Form independently, submitted it to Bellco, and were on boarded

thereafter without receiving a site visit.

       799.     Disjunction between AmerisourceBergen and Bellco has led to many compliance

failures. Until system integration in or around November 2015, staff had no systematic way of

identifying dual customers. The lack of an integrated system also meant that thresholds were not

coordinated between AmerisourceBergen and Bellco at any point. As a result, a dual customer

could have high thresholds set with both, could be exceeding both thresholds, or even having its

threshold periodically increased with both, without detection.        In or around April 2013,

AmerisourceBergen implemented a policy for dual customers that prevented                      both

AmerisourceBergen and Bellco from supplying controlled substances to the same customer, but

implementation was spotty, and, in practice, only a small percentage of orders flagged for review

are cancelled, and even fewer are deemed suspicious.

       800.    AmerisourceBergen has a high tolerance for compliance issues before it will

terminate a customer. It still lacks an internal rule or policy that requires investigation of a

customer based on a specific number of suspicious order reports. Even when customers were

restricted, blocked, or terminated, AmerisourceBergen's system failed to ensure their accounts

were de-activated.

       801.    The one area in which AmerisourceBergen has consistently stood out as compared

to its major competitors is its unwillingness to identify suspicious orders, even among customers

that regularly exceeded their thresholds and presented multiple red flags of diversion. During this

time, numerous AmerisourceBergen opioid customers exhibited several common indicators of

suspicious activity for multiple years. These flags included:



                                               253
 Internet pharmacies.343 Over the course of one year, AmerisourceBergen had distributed 3.8

 million dosage units of hydrocodone to "rogue pharmacies."344 The DEA suspended

 AmerisourceBergen's registration after determining that "the continued registration of this

 company constitutes an imminent danger to public health and safety."345

          805.   Again in 2012, AmerisourceBergen was implicated for failing to protect against

 diversion of particular controlled substances into non-medically necessary channels.346

                 8.     The Distributor Defendants Sought to Avoid and Have
                        Misrepresented Their Compliance with Their Legal Duties

          806.   The Distributor Defendants have repeatedly misrepresented their compliance with

 their legal duties under Tennessee and Virginia law and have wrongfully and repeatedly disavowed

 those duties in an effort to mislead regulators and the public regarding the Distributor Defendants'

 compliance with their legal duties.

          807.   Distributor Defendants have refused to recognize any duty beyond reporting

 suspicious orders. In Masters Pharm., Inc. v. Drug Enft Admin., 861 F.3d 206(D.C. Cir. 2017),

 the Healthcare Distribution Management Association, n/k/a HDA,a trade association run by the

 Distributor Defendants, and the National Association of Chain Drug Stores ("NACDS"), an




 343 Press Release, Drug Enft Admin., DEA Suspends Orlando Branch ofDrug Companyfrom
 Distributing         Controlled        Substances       (Apr.       24,       2007),
 https://www.dea.govidivisions/mia/2007/mia042407n.html.
 344 Id


345 Id


 346Jeff Overley, AmerisourceBergen Subpoenaed by DEA Over Drug Diversion, Law360.com
(Aug. 9, 2012), available at https://www.law360.com/articles/368498/arnerisourcebemen-
 subpoenaed-bv-dea-over-drup..-diversion.



                                                255
                          orders, but left it to DEA and its agents to investigate and halt
                          suspicious orders."35'

                   f.     Also inaccurately, the Associations argued that,"Wmposing a duty
                          on distributors — which lack the patient information and the
                          necessary medical expertise — to investigate and halt orders may
                          force distributors to take a shot-in-the-dark approach to complying
                          with DEA's demands."352
           808.    The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs.353

           809.    The Court of Appeals for the District of Columbia Circuit recently issued its

opinion affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. In

Masters Pharmaceuticals, the Court upheld the revocation of Masters Pharmaceutical's license

and determined that DEA regulations require that in addition to reporting suspicious orders,

distributors must "decline to ship the order, or conduct some 'due diligence' and—if it is able to

determine that the order is not likely to be diverted into illegal channels—ship the order." Masters

Pharmaceutical was in violation of legal requirements because it failed to conduct necessary

investigations and filled suspicious orders. A distributor's investigation must dispel all the red

flags giving rise to suspicious circumstance prior to shipping a suspicious order. The Circuit Court

also rejected the argument made by the HDMA and NACDS (quoted above), that, allegedly, the

DEA had created or imposed new duties.



35 1   Id. at *24-25
3
 52 Id    at 26.

353See Brief of HDMA in Support of Cardinal, supra n. 331, at *3 (arguing the wholesale
distributor industry "does not know the rules of the road because" they claim (inaccurately) that
the"DEA has not adequately explained them").



                                                  257
                      Distribution Center ("Stafford Facility") for failure to maintain
                      effective controls against diversion of hydrocodone;

                f.    On September 30, 2008, Cardinal entered into a Settlement and
                      Release Agreement and Administrative Memorandum ofAgreement
                      with the DEA related to its Auburn Facility, Lakeland Facility,
                      Swedesboro Facility and Stafford Facility. The document also
                      referenced allegations by the DEA that Cardinal failed to maintain
                      effective controls against the diversion of controlled substances at
                      its distribution facilities located in McDonough, Georgia
                     ("McDonough Facility"), Valencia, California("Valencia Facility")
                      and Denver, Colorado ("Denver Facility");

                g.    On February 2, 2012, the DEA issued an Order to Show Cause and
                      Immediate Suspension Order against the Cardinal Lakeland, Florida
                      Distribution Center ("Lakeland Facility") for failure to maintain
                      effective controls against diversion of oxycodone; and

                h.    On December 23, 2016, Cardinal agreed to pay a $44 million fine to
                      the DEA to resolve the civil penalty portion of the administrative
                      action taken against its Lakeland, Florida Distribution Center.

       811      Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to "halt" prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a "sharp drop

in enforcement actions" and the passage of the "Ensuring Patient Access and Effective Drug

Enforcement Act" which,ironically, raised the burden for the DEA to revoke a distributor's license

from "imminent harm" to "immediate harm" and provided the industry the right to "cure" any

violations of law before a suspension order can be issued.356



356 See LennyBernstein & Scott Higham,Investigation: The DEA Slowed Enforcement While the
Opioid Epidemic Grew Out of Control, WASHINGTON POST, Oct. 22, 2016,
httos://www.washinatonpost.com/investigations/the-dea-slowed-enforcement-while-the-opioid-
epidemic-arew-out-of-contro1/2016/10/22/aea2bf8e-7f71 - 1 1e6-8d 1 3-
d7c704ef9fd9 storv.html?utm term=.2f757833e3c4; Lenny Bernstein & Scott Higham,



                                               259
       fines as a cost of doing business in an industry that generates billions of dollars in annual revenue.

       They hold multiple DEA registration numbers and when one facility is suspended, they simply

       ship from another facility.

              817.    The wrongful actions and omissions of the Distributor Defendants which have

       caused the diversion of opioids and which have been a substantial contributing factor to and/or

       proximate cause of the opioid crisis are alleged in greater detail in Plaintiffs' allegations of

       Defendants' unlawful acts below.

              818.    The Distributor Defendants have abandoned their duties imposed under state law,

       taken advantage of a lack of adequate law enforcement, and abused the privilege of distributing

       controlled substances.

              D.      The National Retail Pharmacies Were on Notice of and Contributed to Illegal
                      Diversion ofPrescription Opioids

              819.    National retail pharmacy chains earned enormous profits by flooding the country

       with prescription opioids.358 They were keenly aware of the oversupply of prescription opioids

       through the extensive data and information they developed and maintained as both distributors and

       dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

       communities, they continued to participate in the oversupply and profit from it.

              820.    Each of the National Retail Pharmacies does substantial business throughout the

       United States. This business includes the distribution and dispensing of prescription opioids.

              821.    Data shows that the National Retail Pharmacies distributed and dispensed

       substantial quantities of prescription opioids, including fentanyl, hydrocodone, and oxycodone in

       Tennessee and southwest Virginia. In addition, they distributed and dispensed substantial



'  Plaintiffs' allegations of wrongdoing are pointing to the National Retail Pharmacies not the
pharmacy industry who in general serve a vital healthcare function in the United States.
                                                       261
the United States Drug Enforcement Administration(DEA)and shall comply with applicable state,

local and DEA regulations." Tenn. Comp. R. & Regs. 1140-09-.05(9)(b). See also Va. Code Ann.

§ 54.1-3423. Under 21 C.F.R. § 1306.04(a),"[t]he responsibility for the proper prescribing and

dispensing of controlled substances is upon the prescribing practitioner, but a corresponding

responsibility rests with the pharmacist who fills the prescription." Because pharmacies

themselves are registrants under the CSA, the duty to prevent diversion lies with the pharmacy

entity, not the individual pharmacist alone.

          825.   The DEA, among others, has provided extensive guidance to pharmacies

concerning their duties to the public. The guidance advises pharmacies how to identify suspicious

orders and other evidence of diversion.

          826.   Suspicious pharmacy orders include orders unusually large size, orders that are

disproportionately large in comparison to the population of a community served by the pharmacy,

orders that deviate from a normal pattern and/or orders of unusual frequency and duration, among

others.

          827.   Additional types of suspicious orders include:(1) prescriptions written by a doctor

who writes significantly more prescriptions(or in larger quantities or higher doses)for controlled

substances compared to other practitioners in the area;(2) prescriptions which should last for a

month in legitimate use, but are being refilled on a shorter basis;(3) prescriptions for antagonistic

drugs, such as depressants and stimulants, at the same time;(4)prescriptions that look "too good"

or where the prescriber's handwriting is too legible;(5) prescriptions with quantities or doses that

differ from usual medical usage;(6) prescriptions that do not comply with standard abbreviations

and/or contain no abbreviations; (7) photocopied prescriptions; or (8) prescriptions containing




                                                263
        833.    In consideration ofa reasonable opportunity for further investigation and discovery,

Plaintiffs allege that this problem was compounded by the National Retail Pharmacies' failure to

adequately train their pharmacists and pharmacy technicians on how to properly and adequately

handle prescriptions for opioid painkillers, including what constitutes a proper inquiry into whether

a prescription is legitimate, whether a prescription is likely for a condition for which the FDA has

approved treatments with opioids, and what measures and/or actions to take when a prescription

is identified as phony, false, forged, or otherwise illegal, or when suspicious circumstances are

present, including when prescriptions are procured and pills supplied for the purpose of illegal

diversion and drug trafficking.

        834.    In consideration ofa reasonable opportunity for further investigation and discovery,

Plaintiffs allege that the National Retail Pharmacies also failed to adequately use data available to

them to identify doctors who were writing suspicious numbers ofprescriptions and/or prescriptions

of suspicious amounts of opioids, or to adequately use data available to them to do statistical

analysis to prevent the filling of prescriptions that were illegally diverted or otherwise contributed

to the opioid crisis.

       835.     In consideration ofa reasonable opportunity for further investigation and discovery,

Plaintiffs allege that the National Retail Pharmacies failed to analyze:(a) the number of opioid

prescriptions filled by individual pharmacies relative to the population of the pharmacy's

community; (b) the increase in opioid sales relative to past years; (c) the number of opioid

prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales relative to

the increase in annual sales of other drugs.

       836.    In consideration ofa reasonable opportunity for further investigation and discovery,

Plaintiffs allege that the National Retail Pharmacies also failed to conduct adequate internal or



                                                265
at 9,700 retail locations. CVS could be a force for good in connection with the opioid crisis, but

like other Defendants, CVS sought profits over people.

        841.    CVS is a repeat offender; the company has paid fines totaling over $40 million as

the result of a series of investigations by the DEA and the DOJ. It nonetheless treated these fines

as the cost of doing business and has allowed its pharmacies to continue dispensing opioids in

quantities significantly higher than any plausible medical need would require, and to continue

violating its recordkeeping and dispensing obligations under the law.

        842.    As recently as March 2019, CVS entered into a $535,000 settlement with the U.S.

Attorney's Office for the District of Rhode Island regarding allegations that its pharmacies in

Rhode Island violated federal law "including by... in 39 instances between September 9,2015 and

June 18, 2017, filling a prescription for a Schedule II drug under circumstances ... that the CVS

pharmacist filling the prescription knew or had reason to know that the prescription in question

was invalid or unauthorized..."

        843.   This fine was preceded by numerous others throughout the county.

        844.   In July 2017, CVS entered into a $5 million settlement with the U.S. Attorney's

Office for the Eastern District of California regarding allegations that its pharmacies failed to keep

and maintain accurate records of Schedule II, III, IV,and V controlled substances.359




359 PressRelease, U.S. Attorney's Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle
Alleged Violations of the Controlled Substance Act, U.S. Dep't of Just. (July 11, 2017),
https://www.i ustice.e.ov/usao-edca/pric vs-pharmacy-i nc-pays-5m-settle-al leged-
violationscontrol led-substance-act.



                                                267
       849.    In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney's

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island stores

violated the CSA by filling invalid prescriptions and maintaining deficient records. The United

States alleged that CVS retail pharmacies in Rhode Island filled a number of forged prescriptions

with invalid DEA numbers, and filled multiple prescriptions written by psychiatric nurse

practitioners for hydrocodone, despite the fact that these practitioners were not legally permitted

to prescribe that drug. Additionally, the government alleged that CVS had recordkeeping

deficiencies.364

       850.    In May 2015, CVS agreed to pay a $22 million penalty following a DEA

investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

prescription opioids, "based on prescriptions that had not been issued for legitimate medical

purposes by a health care provider acting in the usual course of professional practice. CVS also

acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical need."365




364 Press Release, U.S. Attorney's Office Dist. of R.I., Drug Diversion
                                                                    Claims Against CVS Health
Corp. Resolved With $450,000 Civil Settlement, U.S. Dep't of Just. (Aug. 10, 2015),
https://www.justice.gov/usao-ri/pr/drug-diversion-claims-against-cvs-health-corp-resolved-
450000-civil-settlement.

365 Press Release, U.S. Attorney's Office M. Dist. of Fla., United States Reaches $22 Million
Settlement Agreement with CVS For Unlawful Distribution of Controlled Substances, U.S. Dep't
of Just.(May 13, 2015), https://www.justice.gov/usao-mdfi/pr/united-states-reaches-22- million-
settlement-agreement-cvs-unlawful-distribution.



                                                269
allegations that it committed an unprecedented number of recordkeeping and dispensing violations

of the CSA, including negligently allowing controlled substances such as oxycodone and other

prescription painkillers to be diverted for abuse and illegal black-market sales.369

         856.   As part ofthe settlement, Walgreens admitted that it failed to uphold its obligations

as a DEA registrant regarding the above-described conduct.37°

         857.   The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.

         858.   Walgreens' Florida operations at issue in this settlement highlight its egregious

conduct regarding diversion ofprescription opioids. Walgreens' Florida pharmacies each allegedly

ordered more than one million dosage units of oxycodone in 2011—more than ten times the

average amount.371

         859.   They increased their orders over time, in some cases as much as 600% in the space

of just two years, including, for example, supplying a town of 3,000 with 285,800 orders of

oxycodone in a one-month period. Yet Walgreens' corporate officers not only turned a blind eye,

but provided pharmacists with incentives through a bonus program that compensated them based

on the number of prescriptions filled at the pharmacy. In fact, corporate attorneys at Walgreens



369 Press Release, U.S. Attorney's Office S. Dist. of Fla., Walgreens Agrees to Pay a Record
Settlement of$80 Million for Civil Penalties Under the Controlled Substances Act, U.S. Dep't of
Just.    (June     11,    2013),     https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-
recordsettlement-80-million-civil-penalties-under-controlled.

37° Id

371Order to Show Cause and Immediate Suspension of Registration, in the Mauer of Walgreens
Co.(Drug Enft Admin. Sept. 13,2012).



                                               271
          862.   Walgreens has also settled with a number ofstate attorneys general, including West

Virginia ($575,000)and Massachusetts ($200,000).375

          863.   The Massachusetts Attorney General's Medicaid Fraud Division found that, from

2010 through most of2015, multiple Walgreens stores across the state failed to monitor the opioid

use ofsome Medicaid patients who were considered high-risk.

          864.   In January 2017,an investigation by the Massachusetts Attorney General found that

some Walgreens pharmacies failed to monitor patients' drug use patterns and didn't use sound

professional judgment when dispensing opioids and other controlled substances—despite the

context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids.376

                        c.      Rite Aid

          865.   With approximately 4,600 stores in 31 states and the District ofColumbia, Rite Aid

is the largest drugstore chain on the East Coast and the third-largest in the United States, with

annual revenue of more than $21 billion.

          866.   In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid and

nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations of

the CSA.377




375 Felice J. Freyer, Walgreens to pay S200,000 settlementfor lapses with opioids, BOSTON
                                                                                      GLOBE,
Jan. 18, 2017, lutps://www.bostonglobe.com/metro/201 7/01/18/walgreens-aarees-better-monitor-
opioid-dispensi ng/oOB3FbM o2k3wPt4hvmTOrM/storv.htrn I.

376 Id.


                                       Aid Corporation and Subsidiaries Agree to Pay $5 Million
377 Press Release, Dep't of Justice, Rite
in Civil Penalties to Resolve Violations in Eight States of the Controlled Substances Act, U.S.



                                                 273
  diversion. Additional information was provided by news reports, and state and federal regulatory

  actions, including prosecutions of pill mills in the area.

         872.    On information and belief, the National Retail Pharmacies knew or reasonably

  should have known about the devastating consequences of the oversupply and diversion of

  prescription opioids, including spiking opioid overdose rates in the community.

         873.    On information and belief, because of (among others sources of information)

  regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

  against others pertaining to prescription opioids obtained from their retail stores, complaints and

  information from employees and other agents, and the massive volume ofopioid prescription drug

  sale data that they developed and monitored,the National Retail Pharmacies were well aware that

  their distribution and dispensing activities fell far short of legal requirements.

         874.    The National Retail Pharmacies' actions and omissions in failing to effectively

  prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

  significantly to the opioid crisis by enabling, and failing to prevent, the diversion of opioids.

VII.     DEFENDANTS'UNLAWFUL CONDUCT AND BREACHES OF LEGAL
         DUTIES CAUSED THE HARM AND SUBSTANTIAL DAMAGE ALLEGED
         HEREIN

         875.    As the Marketing Defendants' efforts to expand the market for opioids increased

  so have the rates of prescription and sale of their products — and the rates of opioid-related

  substance abuse, hospitalization, and death among the people of the United States, including

  Tennessee and southwest Virginia. The Distributor Defendants have continued to unlawfully ship

 these massive quantities of opioids.




                                                   275
 reached a consent judgment alleging that he was purchasing hydrocodone/APAP tablets

(hydrocodone and acetaminophen), from Henry Schein on as many as fourteen separate dates

 within a one-year period, and, subsequently dispensed 11,500 hydrocodone tablets without

 maintaining purchase and dispensing records as required by the CSA.

          881.    As shown above, the opioid epidemic has escalated with devastating effects:

substantial opiate-related substance abuse, hospitalization, and death that goes hand in hand with

Defendants' increased distribution ofopioids.

          882.    Because ofthe well-established relationship between the use of prescription opioids

and the use of non-prescription opioids, like heroin, the massive distribution of opioids by

Defendants has caused the opioid epidemic to include heroin addiction, abuse, and death.

          883.    Defendants repeatedly and purposefully breached their duties under federal and

Tennessee and Virginia law, and such breaches are direct and proximate causes of, and/or

substantial factors leading to, the widespread diversion of prescription opioids for nonmedical

purposes and the foreseeable, inevitable financial burdens imposed on and incurred by hospitals

and other health care providers.

          884.   Hospitals are integral to the solution to the opioid epidemic, because they can "aid

in the proper treatment of postoperative pain while also helping to combat a nationwide

epidemic."384 Indeed,"Nospital pharmacists...are in an ideal position to help address the opioid

epidemic and make sure these agents are used appropriately."385 But Defendants' wrongful

conduct has jeopardized the ability of Plaintiffs and other hospital purchasers to properly limit



384   Opioid Exit Plan, supra n. 160.

385Joey Sweeney, Hospital Pharmacists Can Help Reduce Opioid Prescriptions, PHARMACY
TODAY(July 2016)(emphasis added),available at hans://www.nharmacytoday.ora/article/S1042-
0991(16)30505-9/ful 1 tex t.
                                                 277
addicted baby. Defendants relied on Plaintiffs to provide a safety net to prevent overdose deaths

and treat health consequences arising from opioid addictions and depended on hospitals

themselves to mitigate the health consequences oftheir illegal activities.388 In 2011, it is "estimated

that [there were] greater than 420[,000 emergency room] visits related to the misuse of abuse of

narcotic pain relievers" in the United States.389 Hospitals bear an enormous burden in providing

care, as insurance covers only a portion ofthe cost.

           888.      The increased financial burdens on hospitals include, but are not limited to the

following:

                     a.     Unreimbursed costs for providing healthcare and medical care, additional
                            diagnostic, therapeutic and other treatments for patients suffering from
                            opioid-related addiction or disease, including physical and mental
                            disabilities, overdoses and deaths.;

                     b.     Costs associated with patient counseling with respect to pain management,
                            necessitated by overprescription to the general population and
                            dissemination of false and misleading information to prospective patients
                            and others; as hospitals and other providers question their patients' self-
                            reporting, it necessitates further steps to be taken in all phases of treatment
                            and counseling;

                     c.     Unreimbursed costs of opioids purchased by hospitals themselves, which
                            were direct targets of the Defendants' marketing campaigns;

                     d.     Unreimbursed costs of prescription drugs used to treat addiction;

                     e.    Costs of training additional personnel in the proper treatment of drug
                           overdoses;

                     f.     Costs associated with obtaining and training staff in the application of
                            naloxone—an opioid antagonist used to block the deadly effects of opioids
                            in the context of overdose;


388
      1d at 11 19.

389 Cindy Williams, Vice President and Chief Pharmacy Officer, Riverside Health System,
Es►ablishment      of     an      Opioid      Stewardship   Program,      available      at
hun://www.vshp.orduoloads/6/3/6/0/6360223/vvilliams-opioid 1 per nave.odf      (hereinafter
described as the "Va. Hospital Pharmacists Paper").
                                                     279
one another in furtherance of their common plan or design. In addition to the wrongful conduct

herein alleged as giving rise to primary liability, the Purdue Defendants further aided and abetted

and/or assisted each other in breaching their respective duties.

       894.    The Purdue Defendants entered into a conspiracy, common enterprise, and/or

common course of conduct. During all times relevant hereto, the Purdue Defendants, collectively

and individually, initiated a course of conduct that was designed to and did misrepresent the

properties of opioids, and facilitate the distribution of opioids. The Purdue Defendants did so in

order to maximize the profits Purdue would receive from opioid sales. In furtherance of this plan,

conspiracy, and course of conduct, the Purdue Defendants collectively and individually, took the

actions set forth herein.

       895.    Each of the Purdue Defendants aided and abetted and rendered substantial

assistance in the wrongs committed by their respective co-conspirators complained of herein. In

taking such actions to substantially assist the commission ofthe wrongdoing complained of herein,

each Purdue Defendant acted with knowledge of the primary wrongdoing, substantially assisted in

the accomplishment of that wrongdoing, and was aware of his or her overall contribution to and

furtherance of the wrongdoing.

       B.      Conspiracy Among the Marketing Defendants

       896.    The Marketing Defendants agreed among themselves to set up, develop, and fund

an unbranded promotion and marketing network to promote the use ofopioids for the management

of pain in order to mislead physicians, patients, health care providers such as hospitals, and health

care payors through misrepresentations and omissions regarding the appropriate uses, risks, and

safety of opioids in order to increase sales, revenue, and profit from their opioid products.

       897.    This interconnected and interrelated network relied on the Marketing Defendants'

collective use of unbranded marketing materials, such as KOLs,scientific literature, CMEs,patient

                                                281
       902.    The Marketing Defendants' unbranded promotion and marketing network was a

wildly successful marketing tool that achieved marketing goals that would have been impossible

to have been met by a single or even a handful of the network's distinct corporate members.

       903.    For example,the network members pooled their vast marketing funds and dedicated

them to expansive and normally cost-prohibitive marketing ventures, such as the creation of Front

Groups. These collaborative networking tactics allowed each Marketing Defendant to diversify its

marketing efforts, all the while sharing any risk and exposure, financial and/or legal, with other

Marketing Defendants

       904.    The most unnerving tactic utilized by the Marketing Defendants' network was their

unabashed mimicry of the scientific method of citing "references" in their materials. In the

scientific community, cited materials and references are rigorously vetted by objective unbiased

and disinterested experts in the field, and an unfounded theory or proposition would, or should,

never gain traction.

       905.    Marketing Defendants put their own twist on the scientific method: they worked

together to manufacture wide support for their unfounded theories and propositions involving

opioids. Due to their sheer numbers and resources, the Marketing Defendants were able to create

a false consensus through their materials and references.

       906.    An illustrative example ofthe Marketing Defendants' utilization ofthis tactic is the

wide promulgation of the Porter & Jick Letter, which declared the incidence of addiction "rare"

for patients treated with opioids. The authors had analyzed a database of hospitalized patients who

were given opioids in a controlled setting to ease suffering from acute pain. These patients were

not given long-term opioid prescriptions or provided opioids to administer to themselves at home,

nor was it known how frequently or infrequently and in what doses the patients were given their



                                               283
Defendants and Supply Chain Defendants did so to increase sales, revenue, and profit from their

opioid products.

       910.    The interaction and length of the relationships between and among the Marketing

Defendants and Supply Chain Defendants reflects a deep level of interaction and cooperation

between the Marketing Defendants and Supply Chain Defendants in a tightly knit industry. The

Marketing and Supply Chain Defendants were not two separate groups operating in isolation or

two groups forced to work together in a closed system. The Marketing Defendants and Supply

Chain Defendants operated together as a united entity, working together on multiple fronts, to

engage in the unlawful sale of prescription opioids.

       911.    The Marketing Defendants and Supply Chain Defendants collaborated to expand

the opioid market in an interconnected and interrelated network in the following ways,as set forth

more fully below including, for example, membership in the Healthcare Distribution Alliance.

       912.    The Marketing Defendants and Supply Chain Defendants utilized their membership

in the HDA and other forms of collaboration to form agreements about their approach to their

duties under the TDCA and other laws to report suspicious orders. The Marketing Defendants and

Supply Chain Defendants overwhelmingly agreed on the same approach — to fail to identify, report,

or halt suspicious opioid orders, and fail to prevent diversion. The Marketing Defendants and

Supply Chain Defendants' agreement to restrict reporting provided an added layer of insulation

from DEA scrutiny for the entire industry as the Marketing Defendants and Supply Chain

Defendants were thus collectively responsible for each other's compliance with their reporting

obligations. The Marketing Defendants and Supply Chain Defendants were aware, both

individually and collectively, of the suspicious orders that flowed directly from the Marketing

Defendants and Supply Chain Defendants' facilities.



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high levels of quotas for their products and to ensure that suspicious orders would not be reported

to regulators.

        918.     Defendants' conduct was so willful and deliberate that it continued in the face of

numerous enforcement actions, fines, and other warnings from state and local governments and

regulatory agencies. Defendants paid their fines, made promises to do better, and continued on

with their marketing and supply schemes. This ongoing course ofconduct knowingly,deliberately,

and repeatedly threatened and accomplished harm and risk of harm to public health and safety,

and large-scale economic loss to communities, governments, families, communities, hospitals and

health care providers across the country.

       919.      As all of the governmental actions against the Marketing Defendants and against

all the Defendants show, Defendants knew that their actions were unlawful, and yet deliberately

refused to change their practices because compliance with their legal obligations would have

decreased their sales and their profits.

       A.        The Marketing Defendants Persisted in Their Fraudulent Scheme Despite
                 Repeated Ad monitions,Warnings,and Even Prosecutions

       920.      So determined were the Marketing Defendants to sell more opioids that they simply

ignored multiple admonitions, warnings, and prosecutions, as described more fully below.

                 I.     FDA Warnings to Janssen Failed to Deter Janssen
                                                                      ' s Misleading
                        Promotion of Duragesic

       921.      On February 15, 2000, the FDA sent Janssen a letter concerning the dissemination

of"homemade" promotional pieces that promoted the Janssen drug Duragesic in violation of the

Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the"homemade" promotional pieces were "false or misleading because they contain

misrepresentations of safety information, broaden Duragesic's indication, contain unsubstantiated



                                               287
        925.   Notwithstanding letters, an FDA safety alert, DOJ and state investigations, and the

massive settlement, Cephalon has continued its deceptive marketing strategy.

               3.     FDA Warnings Did Not Prevent Cephalon from Continuing False and
                      Off-Label Marketing of Fentora

       926.    On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

"Fentora should not be used to treat any type of short-term pain." Indeed, the FDA specifically

denied Cephalon's application, in 2008, to broaden the indication of Fentora to include treatment

of non-cancer breakthrough pain and use in patients who were not already opioid-tolerant.

       927.    Flagrantly disregarding the FDA's refusal to broaden the indication for Fentora,

Cephalon nonetheless marketed Fentora beyond its approved indications. On March 26, 2009, the

FDA warned Cephalon against its misleading advertising of Fentora ("Warning Letter"). The

Warning Letter described a Fentora Internet advertisement as misleading because it purported to

broaden "the indication for Fentora by implying that any patient with cancer who requires

treatment for breakthrough pain is a candidate for Fentora   . when this is not the case." It further

criticized Cephalon's other direct Fentora advertisements because they did not disclose the risks

associated with the drug.

       928.    Despite this warning, Cephalon continued to use the same sales tactics to push

Fentora as it did with Actiq. For example, on January 13, 2012, Cephalon published an insert in

Pharmacy Times titled "An Integrated Risk Evaluation and Mitigation Strategy (REMS) for

FENTORA (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate)." Despite

the repeated warnings of the dangers associated with the use of the drugs beyond their limited




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 producers, along with their associated nonprofits, spent nearly $900 million dollars on lobbying

 and political contributions - eight times what the gun lobby spent during that period.

           931.   Since at least 2002, Purdue has maintained a database of health care providers

 suspected of inappropriately prescribing OxyContin or other opioids. Physicians could be added

 to this database based on observed indicators of illicit prescribing such as excessive numbers of

 patients, cash transactions, patient overdoses, and unusual prescribing of the highest-strength pills

(80 mg OxyContin pills or "80s," as they were known on the street, were a prime target for

diversion). Purdue claims that health care providers added to the database no longer were detailed,

and that sales representatives received no compensation tied to these providers' prescriptions.

           932.   Yet, Purdue failed to cut offthese providers' opioid supply at the pharmacy level—

 meaning Purdue continued to generate sales revenue from their prescriptions—and failed to report

these providers to state medical boards or law enforcement. Purdue's former senior compliance

officer acknowledged in an interview with the Los Angeles Times that in five years ofinvestigating

suspicious pharmacies, the company never stopped the supply of its opioids to a pharmacy, even

where Purdue employees personally witnessed the diversion of its drugs.

           933.   The same was true of prescribers. For example, as discussed above, despite

Purdue's knowledge of illicit prescribing from one Los Angeles clinic which its district manager

called an "organized drug ring" in 2009, Purdue did not report its suspicions until long after law

enforcement shut it down and not until the ring prescribed more than 1.1 million OxyContin

tablets.

           934.   Indeed, the New York Attorney General found that Purdue placed 103 New York

health care providers on its "No-Call" List between January 1, 2008 and March 7, 2015, and that

Purdue's sales representatives had detailed approximately two-thirds of these providers, some



                                                 291
            JOE RANNAZZISI: The three largest distributors are Cardinal Health, McKesson,
            and AmerisourceBergen. They control probably 85 or 90 percent ofthe drugs going
            downstream.

            [INTERVIEWER]: You know the implication of what you're saying,that these big
             companies knew that they were pumping drugs into American communities that
             were killing people.

            JOE RANNAZZISI: That's not an implication, that's a fact. That's exactly what
            they did.

            939.   Another DEA veteran similarly stated that these companies failed to make even a

"good faith effort" to "do the right thing." He explained that "I can tell you with 100 percent

accuracy that we were in there on multiple occasions trying to get them to change their behavior.

And they just flat out ignored us."391

            940.   Government actions against the Distributor Defendants with respect to their

obligations to control the supply chain and prevent diversion include:

                   a.    On April 24, 2007, the DEA issued an Order to Show Cause and
                         Immediate Suspension Order against the AmerisourceBergen
                         Orlando, Florida distribution center ("Orlando Facility") alleging
                         failure to maintain effective controls against diversion of controlled
                         substances. On June 22, 2007, AmerisourceBergen entered into a
                         settlement that resulted in the suspension of its DEA registration;

                   b.    On November 28, 2007, the DEA issued an Order to Show Cause
                         and Immediate Suspension Order against the Cardinal Auburn,
                         Washington Distribution Center ("Auburn Facility") for failure to
                         maintain effective controls against diversion of hydrocodone;

                   c.    On December 5,2007,the DEA issued an Order to Show Cause and
                         Immediate Suspension Order against the Cardinal Lakeland, Florida
                         Distribution Center ("Lakeland Facility") for failure to maintain
                         effective controls against diversion of hydrocodone;

                   d.    On December 7,2007, the DEA issued an Order to Show Cause and
                         Immediate Suspension Order against the Cardinal Swedesboro,
                         New Jersey Distribution Center ("Swedesboro Facility") for failure
                         to maintain effective controls against diversion of hydrocodone;


391   Id.
                                                 293
XI.     TOLLING AND FRAUDULENT CONCEALMENT

        945.    Defendants,individually and acting through their employees and agents, knowingly

 and intentionally concealed material facts and knowledge from Plaintiffs and others to induce them

 to purchase and administer opioids as set forth in detail above.

        946.    The Defendants invented the term "pseudoaddiction" and promoted it to the

 medical community,including Plaintiffs. Defendants provided the medical community, including

 Plaintiffs, with false and misleading information about ineffectual medical strategies to avoid or

 control opioid addiction. Manufacturer Defendants recommended to the medical community that

 dosages be increased, without disclosing the risks. Defendants spent millions of dollars over a

 period of years on a misinformation campaign aimed at highlighting opioids' alleged benefits,

 disguising the risks, and promoting sales.

        947.    In overstating the benefits of and evidence for the use of opioids for chronic pain

 and understating their very serious risks, including the risk of addition and death; in falsely

 promoting abuse-deterrent formulations as reducing abuse; in falsely claiming that OxyContin

 provides 12 hours of relief; in falsely portraying their efforts or commitment to rein in the supply

and diversion of opioids; and doing all of this while knowing full well that their statements were

 misrepresentations of facts material, Defendants have engaged in intentional, fraudulent

 misrepresentations and concealment of the material fact, as detailed herein.

        948.    Defendants intended that Plaintiffs would rely on their misrepresentations,

omissions, and concealment, knew that Plaintiffs would rely on their misrepresentations, and that

such reliance would cause harm to Plaintiffs. The medical community, including Plaintiffs, were

 duped by the Defendants' campaign to misrepresent and conceal the truth about the opioid drugs

that they were aggressively pushing in Tennessee and southwest Virginia.



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         954.    Plaintiffs suffered actual pecuniary damages proximately caused by Defendants

  concealment of material fact, which include but are not limited to, expending funds on emergency

  services, emergency response, additional training, additional security, and other services Plaintiffs

  would not have incurred.

         955.    Plaintiffs have incurred expenditures for special programs over and above their

  ordinary hospital services.

         956.     Defendants' misconduct alleged in this case does not concern a discrete event or

  discrete emergency of the sort a hospital would reasonably expect to occur and is not part of the

  normal and expected costs of a hospital's- existence. Plaintiffs allege wrongful acts which were

  neither discrete nor of the sort a hospital can reasonably expect.

XII.     WAIVER OF CERTAIN CLAIMS FOR RELIEF

         957.    Plaintiffs expressly disclaim and waive any and all right to recovery, whether

 financial, injunctive, or equitable, relating to or arising out of the distribution by any person ofany

  product, or the provision of any service, pursuant to McKesson Corporation's Pharmaceutical

 Prime Vendor Contract with the United States Department of Veteran Affairs("PVV Contract").

 Plaintiffs further commit that they will not, in any forum, rely on or raise the PPV Contract in

 connection with their allegations and/or prosecution in this matter.

         958.    Plaintiffs agree that should Defendants present evidence sufficient for the trier of

 fact to determine that Plaintiffs' injuries were caused, in whole or in part, by the distribution of

 products or provision of services through the PPV, Defendants are entitled to a reduction of their

 liability proportionately by the extent to which the trier of fact determines that any injury to

 Plaintiffs was caused by goods or products distributed and/or services provided through the PPV.




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       963.    As provided under T.C.A. § 47-18-109(3), "[i]f the court finds that the use or

employment of the unfair or deceptive act or practice was a willful or knowing violation of this

part, the court may award three(3)times the actual damages sustained and may provide such other

relief as it considers necessary and proper, except that the court may not award exemplary or

punitive damages for the same unfair or deceptive practice."

       964.    Each of the Plaintiffs is a "person" for purposes of this statute. T.C.A. § 47-18-

103(13).

       965.    As alleged herein, and upon information and belief, Defendants committed unfair,

false, misleading, and/or deceptive acts with regard to the sale and distribution of opioids within

Tennessee.

       966.    Defendants engaged in deception, deceptive or unfair acts or practices, fraud, false

pretense, false promise, misrepresentation, or concealment, suppression or omission of material

facts with the intent that others rely upon such concealment, suppression or omission, in

connection with the sale or advertisement of prescription drugs in violation ofthe TCPA.

       967.    During the relevant period and as detailed further herein,the Marketing Defendants

have each engaged in unfair and deceptive acts or practices in commerce in violation ofthe TCPA

statute by actively promoting and marketing the use of opioids for indications not federally

approved, circulating false and misleading information concerning opioids' safety and efficacy,

and downplaying or omitting the risk of addiction arising from their use.

       968.    Each ofthe Defendants have engaged in unfair and/or deceptive trade practices by

omitting the material fact of its failure to design and operate a system to disclose suspicious orders

of controlled substances, as well as by failing to actually disclose such suspicious orders, as

required of"registrants" by the federal CSA,21 C.F.R.§ 1301.74(b). The CSA defines "registrant"



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        977.   By reason of their reliance on Defendants' misrepresentations and omissions of

material fact, Plaintiffs, physicians, patients, and/or others suffered actual pecuniary damage.

       978.    Defendants' conduct was willful, wanton, and malicious and was directed at the

public generally.

       979.    Plaintiffs have suffered an ascertainable loss of money or property and/or other

things of value as a result ofthe use or employment by Defendants of an unfair or deceptiye act or

practice described in T.C.A. § 47-18-104(b).

       980.    Plaintiffs are entitled to recover its damages caused by Defendants' violation ofthe

TCPA in an amount to be determined at trial, including treble damages if the court finds that the

use or employment of the unfair or deceptive act or practice was a willful or knowing violation of

the TCPA,as well as attorneys' fees.

       981.    Plaintiffs also seek injunctive relief pursuant to T.C.A. §47-18-109.

                                 SECOND CLAIM FOR RELIEF

                                          Negligence
                                   (Against All Defendants)

       982.    Plaintiffs repeat, reallege, and incorporate by reference all other paragraphs of this

Complaint, as iffully set forth herein.

       983.    This claim is brought under the common law of negligence.

       A.      Defendants Owed a Duty of Care

       984.    Each Defendant had a duty to exercise reasonable care in the manufacturing,

marketing, selling, and distributing of highly dangerous opioid drugs. Defendants knew or should

have known that opioids were unreasonably dangerous and were likely to cause addiction. Each

Defendant owed its aforesaid duties to Plaintiffs because the injuries alleged herein were

foreseeable by the Defendants.


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        988.    Each Defendant's actions were in violation of Chapter 11 of TDCA, as set out

above, including but not limited to T.C.A. § 53-11-401, which forbids distribution of controlled

substances in an unauthorized manner; T.C.A. § 53-11-402, which forbids which prohibits

fraudulent narcotic drug and drug control violations.

       989.    Likewise, the Virginia Drug Control Act (the "VDCA")imposes certain specific

responsibilities on Defendants, who manufacture and sell pharmaceutical drugs in Virginia. Va.

Code Ann. § 54.1-3457. Among those responsibilities is the requirement that drug manufacturers

refrain from the "dissemination of any false advertisement" in the promotion of their drugs. Id.

"Advertisement" is defined as "all representations disseminated in any manner or by any means,

other than by labeling, for the purpose of inducing, or which are likely to induce, directly or

indirectly, the purchase of drugs or devices." Va. Code Ann.§ 54.1- 3401.

       990.    Defendants also failed to comply with the requirements of and Va. Code. Ann. §

54.1-3404(D), which requires Defendants to keep accurate sales records including "the date of

selling, administering, or dispensing, the name and address of the person to whom or for whose

use, or the owner and species of animal for which the drugs were sold, administered or dispensed,

and the kind and quantity of drugs." As described more fully above, Defendants continually

violated the requirements of the VDCA.

       991.    Defendants' failure to comply with Tennessee law, Virginia law, and the CSA

constitutes negligence per se.

       992.    The TDCA, the VDCA arid the CSA require that the Defendants know their

customers, which includes an awareness of the customer base, knowledge of the average

prescriptions filled each day, the percentage of controlled substances compared to overall

purchases, a description of how the dispenser fulfills its responsibility to ensure that prescriptions



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within the class of persons the TDCA,the VDCA and the CSA was intended to protect. The harm

that has occurred is the type of harm that the TDCA, the VDCA and the CSA was intended to

guard against.

       999.      Defendants' violations constitute negligence per se.

                 2.     Defendants Breached Their Duty of Reasonable Care

        1000. Alternatively, to the extent that Defendants' statutory violations do not obviate the

need to show breaches of the duty of care, each Defendant breached its aforesaid duties of care.

                        a.      Negligent Marketing

        1001. Defendants marketed opioids in a negligent and improper manner by:

                 a.     Overstating the benefits ofchronic opioid therapy, promising improvement
                        in patients' function and quality of life, and failing to disclose the lack of
                        evidence supporting long-term use;

                 b.     Trivializing or obscuring opioids' serious risks and adverse outcomes,
                        including the risk of addiction, overdose and death;

                 c.     Overstating opioids' superiority compared with other treatments, such as
                        other non-opioid analgesics, physical therapy, and other alternatives;

                 d.     Mischaracterizing the difficulty of withdrawal from opioids and the
                        prevalence of withdrawal symptoms;

                 e.     Marketing opioids for indications and benefits that were outside of the
                        opioids' labels and not supported by substantial evidence.

       1002. It was Defendants' marketing — and not any medical breakthrough — that

rationalized prescribing opioids for chronic pain and opened the floodgates of opioid use and

abuse. The result has been catastrophic.

       1003. Defendants disseminated many of their false, misleading, imbalanced, and

unsupported statements indirectly, through KOLs and Front Groups, and in unbranded marketing

materials. These KOLs and Front Groups were important elements of Defendants' marketing

plans, which specifically contemplated their use, because they seemed independent and therefore

                                                305
                       c.      The Marketing and Supply Chain Defendants' Breaches of
                               Care Were Intentional, Willful, Wanton and/or Reckless

        1006. Marketing and Supply Chain Defendants' breaches ofcare were intentional, willful,

wanton and/or reckless. Marketing and Supply Chain Defendants purposely overstated the benefits

of chronic opioid therapy and opioids' superiority compared with other treatments, such as other

non-opioid analgesics, physical therapy, and other alternatives; actively and continuously

promoted the use of opioids for improvement in patients' function and quality of life but failed to

disclose the lack of evidence supporting the long-term use, as well as mischaracterized the

difficulty of withdrawal from opioids and the prevalence of withdrawal symptoms; intentionally

trivialized or obscured opioids' serious risks and adverse outcomes,including the risk ofaddiction,

overdose, and death; continuously marketed opioids for indications and benefits that were outside

of the opioids' labels and not supported by substantial evidence.

        1007. Marketing and Supply Chain Defendants have willfully turned a blind eye towards

the actual facts by regularly distributing large quantities of controlled substances to retailers and

dispensers who are serving a customer base substantially comprised ofindividuals who are abusing

and/or diverting prescription medications, many of whom are addicted and all of whom can

reasonably be expected to become addicted. Marketing and Supply Chain Defendants conducted

themselves with reckless indifference to the consequences of their acts and omissions, in that they

were conscious of their conduct and were aware,from their knowledge of existing circumstances

and conditions, that their conduct would inevitably or probably result in injury to others,

specifically hospitals such as Plaintiffs, which would be subjected to providing unreimbursed

healthcare treatment to patients with opioid conditions, as well as other costs associated with

diagnosis, treatment of opioid-related conditions and operation of its business in the opioid

epidemic.


                                                307
as well as the adverse social, economic, and human health outcomes associated with widespread

illegal opioid use.

        1015. Defendants, individually and acting through their employees and agents, through

fraudulent and deceptive marketing and other fraudulent schemes as described herein, created and

maintained the opioid epidemic in Plaintiffs' communities, which is harmful and disruptive to and

substantially and unreasonable annoys, injuriously affects, endangers, and interferes with the

safety, health, morals, comfort, and general welfare of the public.

        1016. Defendants' nuisance-causing activities include selling or facilitating the sale of

prescription opioids to the patients of Plaintiffs, as well as to unintended users, including children,

people at risk of overdose or suicide, and criminals.

        1017. Defendants' nuisance-causing activities also include failing to implement effective

controls and procedures in their supply chains to guard against theft, diversion and misuse of

controlled substances, and their failure to adequately design and operate a system to detect, halt

and report suspicious orders of controlled substances.

        1018. Defendants' activities unreasonably interfere with Plaintiffs' economic rights and

the reasonable use of Plaintiffs' property. Plaintiffs' resources are being unreasonably consumed

in efforts to address the opioid epidemic, thereby eliminating available resources which could be

used to benefit the community within the geographic area served by Plaintiffs as well as other

health care areas.

       1019. The Defendants' interference with these rights ofPlaintiffs is unreasonable because

it:

               a.      Has harmed and will continue to harm the public health services of and
                       public peace of Plaintiffs;

               b.      Has harmed and will continue to harm the communities and neighborhoods


                                                309
Defendants' nuisance-causing activity, including, but not limited to, costs of hospital services and

healthcare. In short, the Defendants created a mess, leaving to the Plaintiffs and other hospitals

the costs of cleaning it up. This is a classic nuisance.

        1026. As a result ofDefendants' actions,Plaintiffs have suffered a special injury, different

from that suffered by the public at large by individual users and by governmental entities, namely

that Plaintiffs have provided uncompensated care for patients suffering from opioid-related

conditions and incurred elevated operational costs.

        1027. The public nuisance — i.e., the opioid epidemic — created, perpetuated, and

maintained by Defendants can be abated and further recurrence of such harm and inconvenience

can be abated.

        1028. Defendants should be required to pay the expenses Plaintiffs have incurred or will

incur in the future to fully abate the nuisance.

        1029. The Purdue Individual Defendants directed and participated in the tortious conduct

ofPurdue and are individually liable.

        1030. Therefore, Plaintiffs demand judgment in their favor against the Defendants for

injunctive relief, abatement of the public nuisance, and for damages in an amount to be determined

by a jury, together with .all cost of this action, including prejudgment interest, post-judgment

interest, costs and expenses, attorney fees, and such other relief as this Court deems just and

equitable.

                                FOURTH CLAIM_FOR RELIEF

                                       Unjust Enrichment
                                    (Against All Defendants)

        1031. Plaintiffs repeat, reallege, and incorporate by reference all other paragraphs of this

Complaint, as if fully set forth herein.


                                                   311
        1039. As described above, the benefit was received and retained under such

circumstances that it would be inequitable and unconscionable to permit Defendants to avoid

payment therefor.

        1040. Defendants have therefore been unjustly enriched at the expense of Plaintiffs.

        1041. By reason of the foregoing, Defendants must disgorge their unjustly acquired

profits and other monetary benefits resulting from its unlawful conduct and provide restitution to

the Plaintiffs.

                                  FIFTH CLAIM FOR RELIEF

                                        Fraud and Deceit
                                     (Against All Defendants)

        1042. Plaintiffs repeat, reallege, and incorporate by reference all other paragraphs of this

Complaint, as if fully set forth herein.

        1043. This claim is brought under the common law of fraud and deceit.

        1044. As alleged herein, Defendants violated their duty not to actively deceive by

intentionally and unlawfully making knowingly false statements, and by intentionally and

unlawfully omitting and/or concealing information.

        1045. Defendants made misrepresentations and failed to disclose material facts to

physicians and consumers throughout Tennessee and the United States, to induce the physicians

to prescribe and administer, and consumers to purchase and consume, opioids as set forth herein.

        1046. Specifically, the Marketing Defendants' knowing deceptions during the relevant

period, which were intended to induce reliance, include but are not limited to:

                  a.   Marketing Defendants' misrepresentations overstating the benefits of, and
                       evidence for, the use of opioids in chronic pain;

                  b.   Marketing Defendants' misrepresentations that the risks oflong-term opioid
                       use, especially the risk of addiction, were overblown;


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               q.     Cephalon's unsubstantiated claims that Actiq and Fentora were appropriate
                      for treatment of non-cancer pain;

               r.     Marketing Defendants' use of front groups to misrepresent that the
                      deceptive statements from the sources described in this Complaint came
                      from objective, independent sources;

               s.     Marketing Defendants' creation of a body of deceptive, misleading and
                      unsupported medical and popular literature, advertisements, training
                      materials, and speaker presentations about opioids that (1i) understated the
                      risks and overstated the benefits of long-term use; (ii) appeared to be the
                      result of independent, objective research; and (iii) was thus more likely to
                      be relied upon by physicians, patients, and payors; and,

               t.     Such other misrepresentations and deceptions outlined above.

       1047. By engaging in the acts and practices alleged herein, Marketing Defendants, in the

relevant time period and with the intent that others rely on their omissions or suppression of

information, omitted material facts that Marketing Defendants had a duty to disclose by virtue of

these Defendants' other representations, including but not limited to:

              a.      Opioids are highly addictive and may result in overdose or death;

               b.     No credible scientific evidence supports the use of screening tools as a
                      strategy for reducing abuse or diversion;

              c.      High dose opioids subject the user to greater risks ofaddiction, other injury,
                      and/or death;

              d.      Opioids present the risks of hyperalgesia, hormonal dysfunction, decline in
                      immune function, mental clouding,confusion, dizziness, increased falls and
                      fractures in the elderly, NAS,and potentially fatal interactions with alcohol
                      or benzodiazepines; these omissions were made while Defendants
                      exaggerated the risks ofcompeting products such as NSAIDs;

              e.      Claims regarding the benefits of chronic opioid therapy lacked scientific
                      support or were contrary to the scientific evidence;

              f.      Purdue's 12-hour OxyContin fails to,last a full twelve hours in many
                      patients;




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reliance would be induced by these Defendants' misrepresentations and omissions; and,

Defendants intended and knew that such reliance would cause Plaintiffs to suffer loss.

        1052. The Marketing Defendants were not alone in this, the Supply Chain Defendants

were also knowingly deceptive during the relevant period, and their deception was intended to

induce reliance. These deceptions include but are not limited to:

               a.      Acknowledgment of the Distributor Defendants by and through their front
                       group, the HDMA, that distributors are at the center of a sophisticated
                       supply chain and therefore, are uniquely situated to perform due diligence
                       in order to help support the security ofthe controlled substances they deliver
                       to their customers;

               b.     Acknowledgment ofthe Distributor Defendants that because oftheir unique
                      position within the "closed" system, they were to act as the first line of
                      defense in the movement of legal pharmaceutical controlled substances
                      from legitimate channels into the illicit market;

               c.      Cardinal Health claims to "lead [its) industry in anti-diversion strategies to
                       help prevent opioids from being diverted for misuse or abuse;"

               d.      AmerisourceBergen took a same position as its counterpart within the
                       industry and stated that it was"work[ing]diligently to combat diversion and
                      [is] working closely with regulatory agencies and other partners in
                       pharmaceutical and healthcare to help find solutions that will support
                      appropriate access while limiting misuse of controlled substances;"

               e.     More holistically, Distributor Defendants misrepresented that not only do
                      its members (Distributor Defendants) have statutory and regulatory
                      responsibilities to guard against diversion of controlled prescription drugs,
                      but undertake such efforts as responsible members of society; and

               f.     Such other omissions or concealments as described above in this Complaint.

       1053. By engaging in the acts and practices alleged herein, Supply Chain Defendants, in

the relevant time period and with the intent that others rely on their omissions or suppression of

information, omitted material facts that Supply Chain Defendants had a duty to disclose by virtue

of these Defendants' other representations, including but not limited to:

               a.     There being no legitimate medical purpose for the copious amounts of
                      opioids shipped into and around Plaintiffs' communities;
                                                317
        1057. As a result of these representations and/or omissions, Plaintiffs proceeded under

the misapprehension that the opioid crisis was simply a result of conduct by persons other than

Defendants. As a consequence, these Defendants Plaintiffs prevented from a timelier and effective

response to the opioid epidemic.

        1058. Defendants' false representations and omissions were material and were made and

omitted intentionally and recklessly.

        1059. Defendants' misconduct alleged in this case is ongoing and persistent.

        1060. Defendants' misconduct alleged in this case does not concern a discrete event or

discrete emergency of the sort Plaintiffs would reasonably expect to occur and is not part of the

normal and expected costs ofa hospital's healthcare services. Plaintiffs allege wrongful acts which

are neither discrete nor of the sort a hospital can reasonably expect.

        1061. Plaintiffs have incurred expenditures for special programs over and above ordinary

hospital healthcare services.

       1062. These Defendants' conduct was accompanied by wanton and willful disregard of

person who foreseeably might be harmed by their acts and omissions.

       1063. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions had a great probability of

causing substantial harm.

       1064. The Purdue Individual Defendants directed and participated in the tortious conduct

ofPurdue and are individually liable.

       1065. Plaintiffs have suffered monetary damages as aforesaid. As such Plaintiffs seek all

legal and equitable relief as allowed by law, including inter alia injunctive relief, restitution,




                                               319
deceptive practices to promote and distribute opioids for the treatment of chronic pain by making

and disseminating false, unsubstantiated, and misleading statements and misrepresentations to

prescribers and consumers. Defendants enlisted various KOLs and Front Groups to make and

disseminate these statements in furtherance of their common strategy to increase the sale and

distribution of opioids, and Defendants—along with the KOLs and Front Groups with whom each

of them conspired—knew that the statements they made and disseminated served this purpose.

       1072. By engaging in the conduct described in this Complaint, Defendant Cephalon

agreed with Front Groups FSMB and APF that they would deceptively promote the risks, benefits

and superiority of opioid therapy. As part of its agreements with FSMB and APF, Cephalon

provided support for FSMB's and APF's deceptive statements promoting opioids and FSMB and

APF used that support to more broadly disseminate deceptive messaging promoting opioids, which

would benefit Cephalon's drugs. Responsible Opioid Prescribing (Cephalon and FSMB) and

Treatment Options: A Guidefor People Living with Pain (Cephalon and APF) are publications

that contained a number ofdeceptive statements about opioids as outlined supra. They are products

ofthese conspiracies, and the collaboration between Cephalon and each ofthese entities in creating

and disseminating these publications is further evidence of each conspiracy's existence.

       1073. By engaging in the conduct described in this Complaint, Defendant Endo agreed

with Front Groups APF, NICP, AGS and FSMB that they would deceptively promote the risks,

benefits, and superiority of opioid therapy. As part of its agreements with APF, NIPC, AGS and

FSMB,Endo provided support for APF,NICP,AGS and FSMB's deceptive statements promoting

opioids and APF,NICP,AGS and FSMB used that support to more broadly disseminate deceptive

messaging promoting opioids, which would benefit Endo's drugs. Persistent Pain in the Older

Adult (Endo, APF, and NIPC), Persistent Pain in the Older Patient (Endo, APF, and NIPC),



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FSMB,and AGS used that support to more broadly disseminate deceptive messaging promoting

opioids, which would benefit Purdue's drugs. The Partners Against Pain website (Purdue and

 APF), A Policymaker's Guide to Understanding Pain & Its Management (Purdue and APF),

 Treatment Options: A Guidefor People Living with Pain(Purdue and APF), Exit Wounds(Purdue

and APF),392 Responsible Opioid Prescribing (Purdue and FSMB), and a CME promoting the

Pharmacological Management of Persistent Pain in Older Persons (Purdue and AGS) are

publications, CMEs,and websites that contained a number of deceptive statements about opioids

as outlined supra. They are products of these conspiracies, and the collaboration between Purdue

and each ofthese entities in creating and disseminating these publications, CME's and websites is

further evidence of each conspiracy's existence.

        1076. Each of the participants to the conspiracies outlined above was aware of the

misleading nature of the statements they planned to issue and of the role they played in each

scheme to deceptively promote opioids as appropriate for the treatment of chronic pain. These

Defendants and third parties nevertheless agreed to misrepresent the risks, benefits, and superiority

of using opioids to Plaintiffs in return for increased pharmaceutical sales, financial contributions,

reputational enhancements, and other benefits.

       1077. Each of the participants to the conspiracies outlined above was aware of the

nuisance resulting from their conduct, and agreed to continue the practices described above that

resulted in the maintenance of that nuisance.

       1078. Distributor Defendants utilized their membership in the HDA and other forms of

collaboration to form agreements about their approach to their duties under the CSA to report



392Purdue's collaboration with APF through APF's "Corporate Roundtable" and Purdue and
APF's active collaboration in running PCF constitute additional evidence of the conspiracy
between Purdue and APF to deceptively promote opioids.
                                                323
        1084. Defendants acted with a common understanding or design to commit unlawful acts,

as alleged herein, acted purposely, without a reasonable or lawful excuse, which directly caused

the injuries alleged herein.

        1085. Defendants acted with malice, purposely, intentionally, unlawfully, and without a

reasonable or lawful excuse.

        1086. Defendants acted with actual malice because Defendants acted with a conscious

disregard for the rights and safety of other persons, and said actions had a great probability of

causing substantial harm.

        1087. As outlined above, Defendants played an active role in determining the substance

of the misleading messages issued by KOLs and Front Groups, including by providing content

themselves, editing and approving content developed by their co-conspirators, and providing slide

decks for speaking engagements. Defendants further ensured that these misstatements were widely

disseminated, by both distributing the misstatements themselves and providing their co-

conspirators with funding and other assistance with distribution. The result was and unrelenting

stream of misleading information about compliance with state and federal legislation as related to

opioid distribution, and the risks, benefits, and superiority of using opioids to treat chronic pain

from sources Defendants knew were trusted by prescribers and consumers. Defendants exercised

direct editorial control over most ofthese statements. However,even if Defendants did not directly

disseminate or control the content of these misleading statements, they are liable for conspiring

with the third parties who did.

        1088. Defendants conduct in furtherance of the conspiracy described herein was not mere

parallel conduct because each Defendant acted directly against their commercial interests in not

reporting the unlawful distribution practices oftheir competitors to the authorities, which they had



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          1096. Plaintiffs therefore request this Court to enter an order awarding judgment in their

favor against Defendants, compelling Defendants to pay the direct and consequential damages,

and awarding Plaintiffs such other, further, and different relief as this Court may deem just and

proper.

                                      PRAYER FOR RELIEF

          WHEREFORE,Plaintiffs ask that the Court:

          A.     Enter judgment against Defendants,jointly and severely, and in favor of Plaintiffs;

       B.       Award compensatory damages in an amount sufficient to fairly and. completely
                compensate Plaintiffs for all damages; treble damages; punitive damages; pre-
                judgment and post-judgment interest as provided by law, and that such interest be
                awarded at the highest legal rate; and such equitable relief against Defendants as
                the Court should find appropriate, including disgorgement of illicit proceeds and
                other orders;

       C.        Award Plaintiffs their cost of suit, including reasonable attorneys' fees as provided
                 by law;

       D.        Enter judgment against Defendants,jointly and severely, and in favor of Plaintiffs;
                 and

       E.        Award such further and additional relief as the Court may deem just and proper
                 under the circumstances.

                                          JURY DEMAND

       Plaintiffs demand a trial by jury on all issues so triable.




                                                 327
                                                Evelyn Li
                                                CUNEO GILBERT & LADUCA,LLP
                                                4725 Wisconsin Avenue,NW,Suite 200
                                                Washington, DC 20016
                                                Tel:(202)789-3960

                                                Steve Martino
                                                TAYLOR MARTINO,P.C.
                                                51 St. Joseph St.
                                                Mobile, AL 36602
                                                Tel:(251)433-3131

                                                Gerald M. Abdalla, Jr.
                                                ABDALLA LAW,PLLC
                                                602 Steed Road, Suite 200
                                                Ridgeland, Mississippi 39157
                                                Tel:(601)487-4590

                                                Attorneysfor All Plaintiffs

                                      COST BOND

       I hereby acknowledge myself surety for all costs and taxes incurred in this case in

accordance with T.C.A. §20-12-120.
         I 0-
This the      ay of July, 2019.




                                         329
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 ffkia TAKOM A HOSPITAL, INC.,et al.

                    Plaintiffs,                                                  NO.          Lign/a2.236/5
                                                                                          Jury Demanded
  V.

 PURDUE PHARM A, L.P.,et al.

                    Defendants.

       TO THE ABOVE NAMED DEFENDANTS:

 TO:      Henry Schein, Inc.
          do Corporation Service Company
          2908 Poston Ave.
          Nashville, TN 37203-1312


         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     g            day of                                       • 2019. at Q
                                                                                                   ) -5.o'clock         .M.
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                                                                                         - 1-1
                                                                                             /412
                                                                                                4
                                                                  Clerk

                                                                  Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                , 2019.
                                                                      Deputy Sherriff

                                            RETURN ON SERVICE OF SUM MONS

I hereby certify and return that on the             day of                . 2019. 1 served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC
 f/k/a TAKOM A HOSPITAL INC., et al.

                    Plaintiffs.                                                NO.
                                                                                         Jury Demanded
                                                                                                                      m
 V.

 PURDUE PHARMA, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Purdue Pharma, L.P.                                       Method of Service:
          c/o The Prentice-Hall Corporation System, Inc.            TN Department of State
          251 Little Falls Drive                                    Division of Business Services
          Wilmington, DE 19808                                      Summons Section
                                                                    61h Floor, William It Snodgrass Tower
                                                                    Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer plaintiffs' attorney. whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown. TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you. within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     hi
                               ?           day of                                     , 2019, at   9../50.clock g .M.
                                                                                 riS L5/-zpa4ial
                                                                Clerk
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                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               .2019.
                                                                    Deputy Sherr ff

                                            RETURN ON SERVICE OF SUMMONS

1 hereby certify and return that on the             day of              . 2019. 1 served this summons together with
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   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                    State of Tennessee
                                              Circuit Court of Greene County
                                                       at Greeneville

TAKOMA REGIONAL HOSPITAL. INC
f/kla TAKOMA HOSPITAL, INC., et al.

                     Plaintiffs.                                                  NO.     CC I 9CV295BB
                                                                                          J ury Demanded
V.

PURDUE PHA RMA, L.P., et al.
                                                                                  ALIAS SUMMONS
                     Defendants.

     TO THE ABOVE NAMED DEFENDANTS:

TO:         Purdue Pharma, Inc.                                               Method of Service:
            c/o United Corporate Services, Inc.                      TN Department of State
            10 Bank Street, Suite 560                                Division of Business Services
            White Plains, N^-v York, 10606                           Summons Section
                                                                     6t
                                                                      h Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson H wy., Morristown,TN 37816-2046.a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so. judgment by default will be taken against you for the relief demanded in the
Complaint.

            Issued this the     2            day of                    9Diq             , 2019, at         o'clock        .M.



                                                                    put} CI   •

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

            Received this the       day of                , 2019.
                                                                     Deputy Sherrill

                                              RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the               dav of            . 2019, I served this summons together       N% ith
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                             NOTICE
     (I )      The original ansvver shall be tiled vvith the Clerk of the Court simultaneously s ith service on
               plaintiffs' attorney.
     (2).      All original exhibits tiled with the answer shall he tiled with the Clerk of the Court.
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL,INC.
 17k/a TAKOM A HOSPITAL, INC.,et al.

                    Plaintiffs,                                               NO.          eeig (  ii)g5 6,
                                                                                                          6
                                                                                       Jury Demanded
 V.

 PURDUE PHARM A. L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      The Purdue Frederick Company                              Method of Service:
          do Corporation Service Company                            TN Department of State
          80 State Street                                           Division of Business Services
          Albany, Nov York 12207-2543                               Summons Section
                                                                     h Floor, William R. Snodgrass Tower
                                                                    6t
                                                                    Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
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       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the lc               day of                                2019, at           a'clock
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                                                                Clerk

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               .2019.
                                                                    Deputy Sherriff

                                            RETURN ON SERVICE OF SU MMONS

I hereby certify and return that on the             day of              . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
   (I)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
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   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f`k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs.                                                 NO.             iqciaq5
                                                                                         J ury Demanded
 V.

 PURDUE PHARM A,L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Richard Sackler                                            Method of Set-vice:
          5310 North Ocean Drive, Apt. 801                           TN Department of State
          Riviera Beach, FL 33404                                    Division of Business Services
                                                                     Summons Section
                                                                       h Floor, William R. Snodgrass Tower
                                                                     fot
                                                                     Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy.. Morristown, TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the /,
                           ..„
                             -?            day of                                      , 2019, at   L5o'clock      .M.

                                                                 Clerk
                                                                                   0.5
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019,
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SU M MONS

I hereby certify and return that on the             day of               . 2019, I served this summons together mith
the Complaint as follows:


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   ( 1)      The original answer shall be filed with the Clerk of the Court simultaneously with service on
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   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                  NO.          ; 1/29-5 ico
                                                                                              (
                                                                                           0 /6
                                                                                         Jury Demanded
 V.

 PURDUE PHARMA, L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Beverly Sackler                                             Method of Service:
          60 Field Point Circle                                       TN Department of State
          Greenwich, CT 06830                                         Division of Business Services
                                                                      Summons Section
                                                                      6th Floor, William R. Snodgrass Tower
                                                                      Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so, judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     /
                              (-)          day of                                       2019, at   .13o'clock     4.M.

                                                                  Clerk

                                                                  Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                , 2019,
                                                                      Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

1 hereby certify and return that on the             day of                . 2019, 1 served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/L
   ' a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                   NO.    (1PiqCvag-5 616
                                                                                          Jury Demanded
 V.

 PURDUE PHARMA L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      David Sackler                                                Method of Service:
          250 East 53rd Street, Apt.3001                               TN Department of State
          New York, NY 10022                                           Division of Business Services
                                                                       Summons Section
                                                                       6th Floor, William R. Snodgrass Tower
                                                                       Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     a            day of            l
                                                              TT
                                                                   A
                                                                                /1.5
                                                                                             9, a   j-5 o'clock /9 .M.

                                                                   Clerk
                                                                               ,.ins
                                                                   Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                 2019.
                                                                       Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the             day of                 . 2019, I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
   (I)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC
 f7k/a TAKOM A HOSPITAL, INC.. et al.

                    Plaintiffs,                                                 NO.
                                                                                        Jury Demanded
 V.

 PURDUE PHARMA.L.P..et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Ilene Sackler Lercourt                                     Method of Service:
          146 Central Park West, Apt. 12D                            TN Department of State
          New York, NY 10023                                         Division of Business Services
                                                                     Summons Section
                                                                     6th Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so.judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the /
                          0                day of                                  , 2019, at          o'clock A-
                                                                                                                41
                                                                                  3
                                                                 Clerk

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the             day of               . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
   ( 1)      The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                  State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL,INC.
 f/k/a TAKOM A HOSPITAL, INC., et al.

                    Plaintiffs,                                           NO.       (le/Q6/09q 3/56
                                                                                   Jury Demanded
 V.

 PURDUE PHARM A, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Jonathan Sadder                                       Method of Service:
          75 Field Point Circle                                 TN Department of State
          Greenwich, CT 06830                                   Division of Business Services
                                                                Summons Section
                                                                6t
                                                                 h Floor, William R. Snodgrass Tower
                                                                Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brew er, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown. TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the     1
                              (? day of
                               7                                             2019, at 19:5o'clock
                                                                         IJ~ 1 11
                                                                                #   24_
                                                           Clerk

                                                           Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of         .2019.
                                                                Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the       day of               . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
   ()        The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOM A HOSPITAL. INC., et al.

                    Plaintiffs.                                              NO.          LIPC,V q.5 M
                                                                                       J ury Demanded
  V.

 PURDUE PHARMA, L.P.. et al.

                    Defendants.

       TO THE ABOVE NAMED DEFENDANTS:

 TO:      Mortimer D.A. Sackler                                   Method of Sen ice:
          15 East 62nd Street                                     TN Department of State
          New York, NY 10065                                      Division of Business Services
                                                                  Summons Section
                                                                  6th Floor, William R. Snodgrass Tower
                                                                  Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hw y.. Morristown, TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     /
                              ‘;           day of                                   , 2019, at   9   o'clock /9.M.
                                                                          )
                                                                          1 -3
                                                              Clerk
                                                                         ~dans
                                                              Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of            . 2019.
                                                                  Deputy Sherriff

                                            RETURN ON SERVICE OF SU M MONS

I hereby certify and return that on the         day of                . 2019, I served this summons together with
the Complaint as follows:


failed to sere this summons within 30 days after its issuance because


                                                          NOTICE
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             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall he filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 fik/a TAKOM A HOSPITAL, INC.,et al.

                    Plaintiffs.                                                 NO.       (Y'jqOaq 86
                                                                                         J ury Demanded
 V.

 PURDUE PHARMA, L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Kathe Sackler                                              Method of Service:
          76 Clapboard Hill Road                                     TN Department of State
          Westport, CT 06880                                         Division of Business Services
                                                                     Summons Section
                                                                     6th Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so, judgment by default will be taken against you for the relief demanded in the
Complaint.

         Issued this the                   day of                                      . 2019. at gino'clock

                                                                 Clerk 10
                                                                         4
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

         Received this the        day of                 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SUM MONS

I hereby certify and return that on the             day of             . 2019, I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
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             plaintiffs' attorney.
  (2).       All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOM A HOSPITAL,INC.,et al.

                    Plaintiffs,                                                 NO.        erf
                                                                                             icy(22q
                                                                                        J ury Demanded
 V.

 PURDUE PHARMA,L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      John Stewart                                               Method of Service:
          2847 Harbor Blvd                                           TN Department of State
          Ventura, CA 93001-4103                                     Division of Business Services
                                                                     Summons Section
                                                                     6
                                                                     'h Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney. whose
 address is 1702 W. Andrew Johnson Hwy.,Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     i
                              g?           day of                               , 2019, at        .7So'clock       .M.
                                                                         (c ry
                                                                             :.5       ,
                                                                                       5ivi3k.cd
                                                                 Clerk
                                                                              „,t(b
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

1 hereby certify and return that on the             day of               . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                NO.          LIQrfra qn
                                                                                       Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Theresa Sackler                                           Method of Service:
          980 5th Avenue                                            TN Department of State
          New York, NY 10075                                        Division of Business Services
                                                                    Summons Section
                                                                    6t
                                                                     h Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney. whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so.judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the                 day of                                      2019, at   Q2.5   clock

                                                                Clerk

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

         Received this the        dm of               . 2019,
                                                                    Deputy Sherriff

                                           RETURN ON SERVICE OF SU MMONS

1 hereby certify and return that on the            day of               . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
  (1)        The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
  (2).       All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
    TAKOM A HOSPITAL, INC.. et al.

                    Plaintiffs,                                                    NO.       nvv195
                                                                                           Jury Demanded
 V.

 PURDUE PHARM A,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Craig Landau                                                   Method of Service:
          1 Stamford Forum                                               TN Department of State
          Stamford,CT 06901-3516                                         Division of Business Services
                                                                         Summons Section
                                                                         6t
                                                                          h Floor, William R. Snodgrass Tower
                                                                         Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the     g            day of                                            9, at   -5 o'clock      .M.

                                                                  Cler

                                                                  Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                , 2019.
                                                                         Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the             day of                   2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
   (I)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall he filed with the Clerk of the Court.
                                            State of Tennessee
                                     Circuit Court of Greene County
                                              at Greeneville

 TAKOM A REGIONAL HOSPITA L, INC.

                              Plaintiff,
                                                                          No.C_C             -C11-2(5 be)
 V.                                                                            J ury Demanded

 PURDUE PHARMA, L.P., et al

                              Defendants.

 TO THE ABOVE NAMED DEFENDANT:



          TO:      Mark Timney                                           Method of Service:
                   195 Shore Road                                        TN Department of State
                   Old Greenwich, CT 06870                               Division of Business Services
                                                                         Summons Section
                                                                         312 Rosa L. Parks Avenue North
                                                                         6th Floor, William Snodgrass Tower
                                                                         Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney,
whose address is 1 702 W. Andrew Johnson Hwv., Morristown. TN 37816-2046 a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you, exclusive of
the day of service. You will file the original with the Court.
         If you fail to do so,judgment by default will be taken against you for the relief demanded in the Complaint.

          Issued this the   nth      day of   RI       cst                ,2019, at2;       o'clock'? .M.




                                                       De       Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Ci vil Procedures.)

          Received this the        day of                   , 2019.
                                                                                   Deputy Sheriff

                                       RETURN ON SERVICE OF SU M MONS

          I hereby certify and return that on the      day of                ,2019. I served this summons together
 with the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
(I)       The original answer shall be filed with the Clerk of the Court simultaneously with service on plaintiffs
          attorney.
(2).      All original exhibits filed with the anser shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                             Circuit Court of Greene County
                                                      at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 fik/a TAKOM A HOSPITAL, INC., et al.

                      Plaintiffs.                                            NO.               ice,
                                                                                     Jury Demanded
                                                                                                  i/ ?15 3i3
 V

 PURDUE PHARMA, L.P.,et al.

                      Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:        Amneal Pharmaceuticals, LLC                           Method of Service:
            do The Corporation Trust Company                      TN Department of State
            Corporation Trust Center                              Division of Business Services
            1209 Orange St                                        Summons Section
            Wilmington, DE 19801                                  6"' Floor, William R. Snodgrass Tower
                                                                  Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney. whose
 address is 1702 W. Andrew Johnson Hwy., Morristown. TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

       If you fail to do so.judgment by default will be taken against you for the relief demanded in the
Complaint.

            Issued this the         /c2 day of

                                                              Clerk   /)
                                                                                   2I9,   at         o'clock /9.M.


                                                                        Jakii
                                                              Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

            Received this the       day of          . 2019.
                                                                  Deputy Sherriff

                                             RETURN ON SERVICE OF SUMMONS

1 hereby certify and return that on the          day of               . 2019. 1 served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                            NOTICE
     (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
               plaintiffs' attorney.
     (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                  State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

  TAKOMA REGIONAL HOSPITAL. INC.
  fida TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                            NO.             C) 1i/i 2q ,64
                                                                                         (16(
                                                                                    J ury Demanded
  V.

 PURDUE PHARMA,L.P., et al.

                    Defendants.

       TO THE ABOVE NAMED DEFENDANTS:

 TO:      Amneal Pharmaceuticals, Inc.                          Method of Service:
          c/o Corporation Service Company                       TN Department of State
          251 Little Falls Drive                                Division of Business Services
          Wilmington, DE 19808                                  Summons Section
                                                                6t
                                                                 h Floor, William R. Snodgrass Tower
                                                                Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1 702 W. Andrew: Johnson Hwv.. Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the /c2
                            .             day of                                  2019, at 9.7 o'clock ,W .M.

                                                            Clerk         Jop)
                                                                             z
                                                                     )V
                                                            Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the    day of              .2019.
                                                                Deputy Sherriff

                                           RETURN ON SERVICE OF SUM MONS

1 hereby certify and return that on the        day of               . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
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             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall he filed with the Clerk of the Court.
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOM A HOSPITAL, INC.,et al.

                    Plaintiffs.                                                 NO.        OL/QC Va   *5               66
                                                                                        Jury Demanded
 V.

 PURDUE PHARM A, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Russell Gasdia                                             Method of Service:
          40 Five Gate Lane                                          TN Department of State
          North Falmouth, MA 02556-2319                              Division of Business Services
                                                                     Summons Section
                                                                     6th Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address 1702 W. Andrew Johnson Hwy., Morristown. TN 37816-2046, a true copy of the answer to the
         is
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

       If you fail to do so.judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the 42\              day of                                      2019, at Q/5 o'clock        .M.

                                                                 Clerk
                                                                                n5
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SU M MONS

I hereby certify and return that on the             day of               . 2019. 1 served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
   (1)       The original answer shall he filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits tiled with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene Count
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 fikia TAKOM A HOSPITAL, INC., et al.

                    Plaintiffs,                                                 NO.
                                                                                        Jun Demanded
 V.

 PURDUE PHARMA,L.P.. et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Andrew T. Stokes
          229 Shadowood Dr.
          Johnson City, TN 37604-1128

         You are hereby summoned and required to serve upon Gal)     . / E. Brewer. plaintiffs' attorney. whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown. TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you. within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so.judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the /9
                           1               day of                                      2019, at ' .5o'clock

                                                                 Clerk
                                                                                0
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SU M MONS

               . and return that on the
1 hereby certif)                                    day of               . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
   (I)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                 NO.         f    - CV ( An         66
                                                                                         J ury Demanded


 PURDUE PHARMA. L.P., et al.

                    Defendants.

    TO THE ABOVE NAMED DEFENDANTS:

 TO:      Teva Pharmaceutical Industries, LTD.                       Method of Service:
          5 Basel Street                                             TN Department of State
          P.O. Box 3190                                              Division of Business Services
          Petach Tikva 4951033 Israel                                Summons Section
                                                                     6th Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney. whose
 address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you. within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     /   A        day of                                      .2019. at   q:   )o'clock   4 .M.
                                                                                      ,51-7tRz7
                                                                                              t,0-
                                                                 Clerk
                                                                         PS)
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

1 hereby certify and return that on the             day of               . 2019. I served this summons together with
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failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
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             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC
 Vic/a TAKOMA HOSPITAL,INC.. et al.

                    Plaintiffs.                                                NO.
                                                                                       Jury Demanded


 PURDUE PHARMA, L.P.,et al.

                    Defendants.

    TO THE ABOVE NAMED DEFENDANTS:

 TO:      Teva Pharmaceuticals USA,Inc.                             Method of Service:
          do Corporate Creations Network, Inc.                      TN Department of State
          3411 Silverside Road                                      Division of Business Services
          Tatnall Building Ste. 104                                 Summons Section
          Wilmington, DE 19810                                         Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so. judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the                  day of                                      019, at        o'clock /1.M.

                                                                Clerk        A
                                                                           aetn5
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               .2019,
                                                                    Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the             day of              . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
             The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL,INC.
 f/k/a TAKOMA HOSPITAL, INC..et al.

                    Plaintiffs,                                               NO.          rc~aca9~8~
                                                                                         Jury Demanded
 V.

 PURDUE PHARM A. L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Johnson & Johnson                                         Method of Service:
          One Johnson & Johnson Plaza                               TN Department of State
          New Brunswick, New Jersey 08933                           Division of Business Services
                                                                    Summons Section
                                                                     h Floor, William R. Snodgrass Tower
                                                                    6t
                                                                    Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
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       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the /                day of                                      . 2019, at .45 o'clock / 1.M.

                                                                Clerk
                                                                         i9A,0
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               ,2019,
                                                                    Deputy. Sherriff

                                            RETURN ON SERVICE OF SU MMONS

1 hereby certify and return that on the             day of              . 2019, 1 served this summons together with
the Complaint as follows:


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                                                  State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                   Plaintiffs.                                               NO.          CC1M/A956&
                                                                                      J ury Demanded
 V.

 PURDUE PHARMA,L.P., et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:     Cephalon, Inc.                                             Method of Service:
         c/o Corporate Creations Network, Inc.                      TN Department of State
         3411 Silverside Road                                       Division of Business Services
         Tatnall Building Ste. 104                                  Summons Section
         Wilmington, DE 19810                                       6th Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy.,Morristown, TN 37816-2046, a true copy of the answer to the
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        If you fail to do so, judgment by default will be taken against you for the relief demanded in the
 Complaint.

         Issued this the                  day of                                      29
                                                                                       01
                                                                                       '  5 o'clock ig .M.
                                                                                          ,

                                                                Clerk c)
                                                                          ai j
                                                                             )
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

         Received this the       day of               . 2019,
                                                                    Deputy Sherriff

                                           RETURN ON SERVICE OF SUM MONS

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                                                          N OTICE
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                                                  State of Tennessee
                                           Circuit Court of Greene County'
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 '
 f k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs.                                            NO.          Cciano95 M
                                                                                    Jury Demanded
 V.

 PURDUE PHARM A, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Janssen Pharmaceuticals, Inc.
          do C T Corporation System
          300 Montvue Rd
          Knoxville, TN 37919-5546


         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046. a true copy of the answer to the
 Complaint which is herewith served upon you. within 30 days after service of this summons upon you,
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        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the         /2. day of

                                                            Clerk

                                                            Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of          . 2019,
                                                                 Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS

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   (2).      All original exhibits filed with the answer shall he filed with the Clerk of the Court.
                                                  State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 Vida TAKOMA HOSPITAL,INC.,et al.

                    Plaintiffs,                                           NO.
                                                                                    Jury Demanded
 V.

 PURDUE PHARMA. L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Abbott Laboratories                                   Method of Service:
             C T Corporation System                             TN Department of State
          208 So. LaSalle St., Suite 814                        Division of Business Services
          Chicago, IL 60604                                     Summons Section
                                                                6th Floor, William R. Snodgrass Tower
                                                                Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
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          Issued this the     /
                              ; ) day of                                          .2019,
                                                                     r:
                                                                      i 5
                                                           Clerk pivea

                                                           Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of          .2019.
                                                                Deputy Sherriff

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                                                  State ofTennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 fida TAKOM A HOSPITAL, INC..et al.

                    Plaintiffs,                                                 NO.            1,a93'663
                                                                                               (
                                                                                            _Ci6
                                                                                         Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Janssen Pharmaceutica, Inc.                                Method of Service:
          do Johnson & Johnson                                       TN Department of State
          One Johnson & Johnson Plaza                                Division of Business Services
          New Brunswick, New Jersey 08933                            Summons Section
                                                                     6th Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
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Complaint.

          Issued this the     /d           day of                                      , 2019, at Q
                                                                                                  :/_5o'clock,.M.
                                                                                      _i}  vp
                                                                 Clerk

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

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                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/kla TAKOM A HOSPITAL,INC.,et al.

                    Plaintiffs,                                               NO.            (
                                                                                             'tIQCVA956,
                                                                                                       3
                                                                                         J ur) Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Abbott Laboratories, Inc.
          c/o C T Corporation System
          300 Monivue Rd.
          Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
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 Complaint.

          Issued this the                  day of                                     , 2019. at      o'clock ).M.
                                                                                    -S
                                                                Clerk
                                                                       /k/  a)
                                                                             f
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                 2019
                                                                    Deputy Sherriff

                                            RETURN ON SERVICE OF SU MMONS

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                                                    State of Tennessee
                                             Circuit Court of Greene County
                                                      at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
    TAKOM A HOSPITAL, INC., et al.

                     Plaintiffs,                                                 NO.           e16lei/ 5 86
                                                                                           J ury Demanded
 V.

 PURDUE PHARM A, L.P.,et al.

                     Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:       Assertio Therapeutics, Inc.                                Method of Service:
           do The Corporation Trust Company                           TN Department of State
           Corporation Trust Center                                   Division of Business Services
           1209 Orange Street                                         Summons Section
           Wilmington, DE 19801                                       6t
                                                                       h Floor, William R. Snodgrass Tower
                                                                      Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
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 Complaint.

           Issued this the     /0?          day of                                      , 2019. at4     o'clock
                                                                                         f
                                                                                         i
                                                                  Clerk          A

                                                                  Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

           Received this the       daN of               . 2019.
                                                                      Deputy Shcrriff

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                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
    TAKOM A HOSPITAL, INC., et al.

                    Plaintiffs.                                                 NO.       (  1Ng Cia95 M
                                                                                          J ury Demanded
 V.

 PURDUE PHARMA, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Endo Health Solutions, Inc.                                Method of Service:
          do The Corporation Trust Company                           TN Department of State
          Corporation Trust Center                                   Division of Business Services
          1209 Orange Street                                         Summons Section
          Wilmington, DE 19801                                       6t
                                                                      h Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy.. Morristown, TN 37816-2046, a true copy of the answer to the
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 Complaint.

          Issued this the     tA           day of                                      2019, atq       o clock g.M.

                                                                 Clerk     n __1(011..)
                                                                            A
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                .2019.
                                                                     Deputy Sherriff

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                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 flda TAKOMA HOSPITAL INC.,et al.

                    Plaintiffs.                                                 NO.       /29_561
                                                                                       Llq0
                                                                                       J ury Demanded
 V.

 PURDUE PHARMA, L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Endo Pharmaceuticals, Inc.
          do C T Corporation System
          300 Montvue Rd.
          Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy.,Morristown, TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
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Complaint.

          Issued this the     /pC          day of



                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

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                                                                     Deputy Sherriff

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                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 flkia TAKOMA HOSPITAL, INC., et al.

                    Plaintiffs.                                                 NO.
                                                                                       Jury Demanded
 V.

 PURDUE PHARMA,L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Mallinckrodt LLC
          eo C T Corporation System
          300 Montvue Rd.
          Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
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 Complaint.

          Issued this the     /
                              _ ".         day of                                 • 2019,              o'clock   4
                                                                            V/    :
                                                                                  5
                                                                 Clerk p

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       dax of               . 2019.
                                                                     Deputy Sherriff

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                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOM A HOSPITAL, INC..et al.

                    Plaintiffs,                                                    NO.
                                                                                            Jury Demanded
                                                                                                          C 0,)9 a/3
 V.

 PURDUE PHARMA,L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Mallinckrodt PLC                                           Method of Service:
          3 Lotus Park, The Causeway                                 TN Department of State
          Surrey TW18 3 AG                                           Division of Business Services
          United Kingdom                                             Summons Section
          Staines-Upon-Thames                                         h Floor, William R. Snodgrass Tower
                                                                     6t
                                                                     Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
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 Complaint.

          Issued this the 0
                          .                day of            %           t                   19 ata/ o'clock 4.M.

                                                                 Clerk
                                                                                      YIS
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SU M MONS

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                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                NO.             erACVAq5 LO
                                                                                        Jury Demanded
 V.

 PURDUE PHARMA, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      SpecGx LLC                                              Method of Service:
          do The Corporation Trust Company                        TN Department of State
          Corporation Trust Center                                Division of Business Services
          1209 Orange St.                                         Summons Section
          Wilmington, DE 19801                                    '
                                                                  6 Floor, William R. Snodgrass Tower
                                                                  Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
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          Issued this the     Jc?          day of                                      2019,            o'clock _ 11.M.

                                                                Clerk

                                                                Deputy Clerk

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          Received this the       day of               .2019.
                                                                    Deputy, Sherriff

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                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                 NO.                (    $ 56
                                                                                                   )4,119
                                                                                                   (
                                                                                        Jury Demanded
 V.

 PURDUE PHARMA, L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Allergan PLC                                               Method of Service:
          do Deborah Griffin                                         TN Department of State
          425 Privet Road                                            Division of Business Services
          Horsham, Pennsylvania 19044                                Summons Section
                                                                     6t
                                                                      h Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
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Complaint.

          Issued this the     LI           day of                                      2019, at Q15 o'clock    A .M.
                                                                                CJ     i/t(
                                                                                          .f7lri
                                                                 Clerk/
                                                                       r.
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SUM MONS

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                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 a/a TAKOM A HOSPITAL, INC.,et al.

                     Plaintiffs,                                             NO.                Ic1C1/02q.566
                                                                                      Jury Demanded
  V.

 PURDUE PHARM A, L.P..et al.

                    Defendants.

       TO THE ABOVE NAMED DEFENDANTS:

 TO:      Watson Laboratories, Inc.                              Method of Service:
          do Corporate Creations Network,Inc.                    TN Department of State
          8275 South Eastern Avenue #200                         Division of Business Services
          Las Vegas, Nevada 89123                                Summons Section
                                                                 6th Floor, William R. Snodgrass Tower
                                                                 Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046. a true copy of the answer to the
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 Complaint.

          Issued this the                 day of
                                                        9/t  Clerk
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                                                                                   . 2019. at ql
                                                                                  ,/
                                                                                               ,,go'clock    A.M.



                                                             Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the    day of              . 2019.
                                                                 Deputy Sherriff

                                           RETURN ON SERVICE OF SU M MONS

I hereby certify and return that on the        day of                . 2019. 1 served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                 State ofTennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                            NO.         (iff ,
                                                                                          iev W5,66
                                                                                    Jury Demanded
 V.

 PURDUE PHARM A L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Actavis LLC                                         Method of Service:
          do Corporate Creations Network,Inc.                 TN Department of State
          3411 Silverside Road                                Division of Business Services
          Tatnall Building Ste. 104                           Summons Section
          Wilmington, DE 19810                                '
                                                              6 Floor, William R. Snodgrass Tower
                                                              Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the         M day of                                        , 2019. a4 . 5 o'clock )
                                                                                             )           i .M.
                                                                                       4Af d
                                                            Clerki)

                                                            Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of            2019.
                                                                Deputy Sherriff

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                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 fikJa TAKOMA HOSPITAL, INC., et al.

                    Plaintiffs,                                                 NO.        CC1PCugs
                                                                                        Jury Demanded
 V.

 PURDUE PHARM A,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Actavis Pharma, Inc.
          do Corporate Creations Network, Inc.
          205 Powell PI.
          Brentwood, TN 37027-7522

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson Hwv., Morristown,TN 37816-2046,a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
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Complaint.

          Issued this the                  day of                                      2019, at q/...5o'clock
                                                                           Kin
                                                                 Clerk o i
                                                                         ,..b4,1

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the             day of               2019, 1 served this summons together with
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                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 ft/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                  NO.         t flqa/a0566
                                                                                        J ury Demanded
 V.

 PURDUE PHARM A,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Anda, Inc.                                                  Method of Service:
          c/o Corporate Creations Network, Inc.                       TN Department of State
          1 1380 Prosperity Farms Road #221E                          Division of Business Services
          Palm Beach Gardens, FL 33410                                Summons Section
                                                                      6t
                                                                       h Floor, William R. Snodgrass Tower
                                                                      Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
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 Complaint.

          Issued this the     /            day of



                                                                  Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                , 2019.
                                                                      Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

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                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 frkla TAKOMA HOSPITAL, INC.,et al.

                   Plaintiffs,                                                 NO.        0      A C/    1 A5
                                                                                          J ury Demanded
 V.

 PURDUE PHARM A, L.P., et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      H.D. Smith, LLC                                        Method of Service:
          c/o The Corporation Trust Company                      TN Department of State
          Corporation Trust Center                               Division of Business Services
          1209 Orange St.                                        Summons Section
          Wilmington, DE 19801                                   6 Floor, William R. Snodgrass Tower
                                                                 '
                                                                 Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney. whose
address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you. within 30 days after service of this summons upon you.
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Complaint.

          Issued this the                 day of                                        . 2019.   Q15 o'clock       .M.

                                                               Cler

                                                               Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the      day of               .2019.
                                                                      Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the            day of               . 2019. I served this summons together NA ith
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                                                  State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

TAKOMA REGIONAL HOSPITAL, INC.
f/k/a TAKOMA HOSPITAL INC.,et al.

                   Plaintiffs,                                                 NO.           MAC09_566
                                                                                        J ury Demanded
 V.

 PURDUE PHARMA,L.P., et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

TO:       Henry Babenco                                              Method of Service:
          6350 Clinton Rd                                            TN Department Of State
          Paducah, KY 42001-9394                                     Division of Business Services
                                                                     Summons Section
                                                                      h Floor, William R. Snodgrass Tower
                                                                     6t
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorne), whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046. a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
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Complaint.

          Issued this the     /c          day of                         cht.
                                                                            ,/3        2019. at          o'clock   d.M.
                                                                 Clerk

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the      day of                . 2019.
                                                                     Deputy Sherriff

                                           RETURN ON SERVICE OF SUM MONS

I hereby certify and return that on the            clas of               . 2019, 1 served this summons together with
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                                                   State of Tennessee
                                            Circuit Court of Greene Count'
                                                     at Greeneville

  TAKOMA REGIONAL HOSPITAL, INC.
 f'k/a TAKOM A HOSPITAL, INC..et al.

                    Plaintiffs,                                                 NO.           CUlty,
                                                                                                   29._ 66
                                                                                         Jury Demanded
 V.

 PURDUE PHARMA, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      AmerisourceBergen Drug Corporation
          c/o C T Corporation System
          300 Montvue Rd.
          Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046. a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so. judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     A:
                               2           day of                                      . 2019 at       o'clock /4 .M.

                                                                 Clerk        4_
                                                                            &VW)
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Receiyed this the       day of               . 2019,
                                                                     Deputy Shen-iff

                                            RETURN ON SERVICE OF SU M MONS

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                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/kla TAKOM A HOSPITAL, INC..et al.

                    Plaintiffs,                                                 NO.       (r_/qCVa?9,5 116
                                                                                         Jury Demanded
 V.

 PURDUE PHARMA, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Miami-Luken, Inc.                                          Method of Service:
          do William Powers                                          TN Department of State
          265 Pioneer Blvd.                                          Division of Business Services
          Springboro, OH 45066                                       Summons Section
                                                                     6th Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwv., Morristown,TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

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Complaint.

          Issued this the     4.2          day of                                      , 2019. at        o'clock   4.M.
                                                                 Clerk

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

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                                                      State of Tennessee
                                               Circuit Court of Greene County
                                                        at Greeneville

TAKOMA REGIONAL HOSPITAL. INC.
fikla TAKOMA HOSPITAL INC..et al.

                       Plaintiffs,                                                NO.         Xiqn6?. q-5
                                                                                            J ury Demanded
 V.

 PURDUE PHARM A,L.P., et al.

                       Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

TO:          Cardinal Health, Inc.                                      Method of Service:
             do C T Corporation System                                  TN Department of State
             4400 Easton Commons Way                                    Division of Business Services
             Suite 125                                                  Summons Section
             Columbus, OH 43219                                          h Floor, William R. Snodgrass Tower
                                                                        6t
                                                                        Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so. judgment by default will be taken against you for the relief demanded in the
Complaint.

             Issued this the     I?           day of                                      • 2019, atQ/       o'clock 4.M.

                                                                    Clerk

                                                                    Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

             Received this the       day of               , 2019,
                                                                        Deputy Sherriff

                                               RETURN ON SERVICE OF SUM MONS

I hereby certify and return that on the                day of               , 2019, I served this summons together with
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                                                             NOTICE
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                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL,INC.
 f/k/a TAKOM A HOSPITAL,INC.,et al.

                    Plaintiffs,                                                NO.       TiQn/o19364
                                                                                       J ury Demanded
 V.

 PURDUE PHARM A,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Rite Aid of Maryland, Inc.                                Method of Service:
          do The Corporation Trust, Inc.                            TN Department of State
          2405 York Road                                            Division of Business Services
          Suite 201                                                 Summons Section
          Lutherville Timonium, MD 21093-2264                       6th Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

         Issued this the                   day of                                     2019, at 975o'clock           .M.

                                                                Clerk;
                                                                               y/7
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

         Received this the        day of               .2019.
                                                                    Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

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                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 Vida TAKOM A HOSPITAL, INC.,et al.

                    Plaintiffs,                                           NO.
                                                                                   Jun Demanded
                                                                                                 5ab
                                                                                       l'Olc1C,00,
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      The Kroger Co.
          do Corporation Service Company
          2908 Poston Ave
          Nashville, TN 37203-1312

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney. whose
address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046. a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the orieinal with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the         )
                                  c;% day of                                      209, at   q: .5 o'clock    .M.

                                                           Clerk
                                                                                f
                                                                                r/5
                                                           Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of          .2019.
                                                                Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS

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                                                  State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 fkla TAKOM A HOSPITAL, INC.,et al.

                    Plaintiffs,                                            NO.         Cr Ict Cv079,566
                                                                                    Jury Demanded
 V.

 PURDUE PHARMA,LP.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Kroger Limited Partnership 11                          Method of Service:
          1014 Vine St                                           TN Department of State
          Cincinnati, OH 45202                                   Division of Business Services
                                                                 Summons Section
                                                                 6th Floor, William R. Snodgrass Tower
                                                                 Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy. Morristown.TN 37816-2046. a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     \ day of
                              )                                                    2019, at Q.7-5o'clock rf .M.

                                                            Clerkp          v
                                                                            ).5

                                                            Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of          . 2019,
                                                                 Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS

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                                                  State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

  TAKOMA REGIONAL HOSPITAL, INC.
  flea TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                  NO.           (
                                                                                            eLig A/A9_5 613
                                                                                          Jury Demanded


 PURDUE PHARMA, L.P.,et al.

                    Defendants.

     TO THE ABOVE NAMED DEFENDANTS:

 TO:      CVS Health Corporation                                       Method of Service:
          c/o The Corporation Trust Company                            TN Department of State
          Corporation Trust Center                                     Division of Business Services
          1209 Orange St                                               Summons Section
          Wilmington, DE 19801                                         6t
                                                                        h Floor, William R. Snodgrass Tower
                                                                       Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
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 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the    a            day of                                         2019. .t 9:/5 o'clock         .M.

                                                                Cler

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

         Received this the   _ day of                 . 2019.
                                                                       Deputy Sherriff

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                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/kia TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                   NO.       00.19Cva9szoo
                                                                                           Jury Demanded
 V.

 PURDUE PHARM A,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      CVS Indiana, L.L.C.                                         Method of Service:
          do CT Corporation System                                    TN Department of State
          150 West Market Street, Suite 800                           Division of Business Services
          Indianapolis, IN,46204                                      Summons Section
                                                                      6th Floor, William R. Snodgrass Tower
                                                                      Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy.,Morristown, TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
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          Issued this the     j
                              a2           day of                                       , 2019, at         o'clock   A   .M.

                                                                 Cler19')     a)15
                                                                                 •

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               , 2019.
                                                                      Deputy Sherriff

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                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                           NO.         00e0 L6
                                                                                   Jury Demanded
 V.

 PURDUE PHARM A,L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Wal-Mart Inc.
          do C T Corporation System
          800 S Gay St., Ste. 2021
          Knoxville, TN 37929-9710

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046. a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     /1_9) day of                                        2019, at         o'clock 17.M.
                                                                   074
                                                                     0
                                                           Clerk
                                                                              /12/
                                                           Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of         .2019.
                                                                Deputy Sherriff

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                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 fiCa TAKOM A HOSPITAL, INC., et al.

                   Plaintiffs,                                                 NO.         Co4evqo,66
                                                                                      Jury Demanded
 V.

 PURDUE PHARM A,L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:     Wal-Mart Stores East, LP
         do C T Corporation System
         300 Montvue Rd
         Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
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 Complaint.

         Issued this the     /92          day of                              , 2919, at            o'clock 4.M.
                                                                          /2-
                                                                            ). .‘
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                                                                                  1/
                                                                Clerk 09 Aja

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

         Received this the       day of               . 2019.
                                                                    Deputy Sherriff

                                           RETURN ON SERVICE OF SUM MONS

1 hereby certify and return that on the            day of             . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                         NOTICE
            The original answer shall be filed with the Clerk of the Court simultaneously with service on
            plaintiffs' attorney.
            All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC
 fikla TAKOMA HOSPITAL, INC., et al.

                    Plaintiffs.                                                 NO.       rtIOC, 95,.66
                                                                                        Jury Demanded
 V.

 PURDUE PHARMA, L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Walgreens Boots Alliance, Inc.                             Method of Service:
          do Corporation Service Company                             TN Department of State
          251 Little Falls Drive                                     Division of Business Services
          Wilmington, DE 19808                                       Summons Section
                                                                     6's Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so, judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the         C?       day of                                            at qi      o'clock   4.M.

                                                                 Clerk

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               , 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SU M MONS

I hereby certify and return that on the             day of               . 2019. I served this summons together with
the Complaint as follows:


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                                                          N OTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL,INC
 f/k/a TAKOMA HOSPITAL, INC..et al.

                    Plaintiffs,                                                  NO.                /9ek2Q.566
                                                                                           J ury Demanded
 V.

 PURDUE PHARMA,LP., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Noramco, Inc.
          c/o Thomas C. Crawford
          3401 W End Ave S 215
          Nashville, TN 37203


         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046.a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the 477              day of                                       , 2019, a       o'clock )
                                                                                                                / .M.

                                                                  Clerk

                                                                  Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                , 2019.
                                                                      Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the             day of                . 2019, 1 served this summons together with
the Complaint as follows:


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   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      Ail original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 Vic/a TAKOMA HOSPITAL, INC.,et al.

                   Plaintiffs,                                               NO.      (NC
                                                                                       J ury Demanded
                                                                                                               M
 V.

PURDUE PHARM A, L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

TO:       P&S Pharmacy
          613 Watauga St.
          Kingsport, TN 37660


        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046. a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the                 day of                                      2019, at          o'clock 6.M.
                                                                    Z 4 1 11-
                                                                      1 :
                                                                Clerk

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the _    day of               . 2019.
                                                                    Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS

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the Complaint as follows:


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                                                          N OTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
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   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f71Ja TAKOMA HOSPITAL, INC.. et al.

                    Plaintiffs.                                                 NO.
                                                                                         Jun Demanded
 V.

 PURDUE PHARMA,L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Lowell B. Grizzle
          2613 Rivermont Cir
          Kingsport, TN 37660


        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson Hwy., Morristown.TN 37816-2046. a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the     /02_         day of                                      . 2019. a415 o'clock g.M.

                                                                 Clerk

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SU M MONS

I hereby certify and return that on the             day of               . 2019. I served this summons together with
the Complaint as follows:


failed to sene this summons within 30 days after its issuance because


                                                          N OTICE
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   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                 NO.            MIOCa9316
                                                                                           J ury Demanded
 V.

 PURDUE PHARMA, L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Henry Babenco                                            Method of Service:
          6350 Clinton Rd                                          TN Department Of State
          Paducah, KY 42001-9394                                   Division of Business Services
                                                                   Summons Section
                                                                   6 Floor, William R. Snodgrass Tower
                                                                   '
                                                                   Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the     /(
                               12          day of            C GG                       . 2019, at          o'clock g.M.

                                                                 Clerk td

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                 2019.
                                                                     Deputy. Sherriff

                                            RETURN ON SERVICE OF SU M MONS

I hereby certify and return that on the             day of             . 2019. I served this summons together with
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                                                          N OTICE
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   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                NO.           MOC 14     zq566
                                                                                          Jury Demanded


 PURDUE PHARM A,L.P., et al.

                    Defendants.

    TO THE ABOVE NAMED DEFENDANTS:

 TO:      Sharon Naylor
          101 Willow Tree Ln
          Jacksboro, TN 37757-4610

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the     /A           day of                                      , 2019. at      o'clock t9.M.

                                                                Clerk   n
                                                                            r4ig"2"5
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Reed% ed this the       day of               .2019.
                                                                    Deputy. Sherriff

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the             day of              . 2019. 1 served this summons together %kith
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
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   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                 State of Tennessee
                                          Circuit Court of Greene County
                                                   at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 Plc/a TAKOM A HOSPITAL, INC..et al.

                   Plaintiffs,                                            NO.         (   11 C IA5 66
                                                                                  Jury Demanded
 V.

 PURDUE PHARMA, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:
                 N    /or
 TO:      Alicia Tayftr
          2105 Leatherwood Rd
          Oneida, TN 37841-7025

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so. judgment by default will be taken against you for the relief demanded in the
Complaint.
                                                                                        S
       Issued this the            day of                                ,,2019, at q: /3 o'clock g.M.
                                                  91'113
                                                          Clerk             ;),

                                                           Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the      day of          .2019,
                                                                Deputy Sherriff

                                          RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the       day of               . 2019. 1 served this summons together with
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                                                          N OTICE
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                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC
 f/k/a TAKOMA HOSPITAL,INC. et al.

                    Plaintiffs,                                               NO.      OnPri/0295 6/6
                                                                                     J ury Demanded
 V.

 PURDUE PHARMA,LP.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      CVS Pharmacy, Inc.
          do C T Corporation System
          300 Montvue Rd
          Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy.. Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the /P               day of                                   201 9, at       o'clock   A .M.
                                                                        ./.
                                                                          /
                                                                          /
                                                              Clerk

                                                              Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of            , 2019,
                                                                  Deputy Sherriff

                                            RETURN ON SERVICE OF SU MMONS

I hereby certify and return that on the         day of                , 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL,INC.
 f/k/a TAKOMA HOSPITAL INC.,et al.

                    Plaintiffs,                                                  NO.       (  JCP      CYp795 66
                                                                                           Jury Demanded
 V.

 PURDUE PHARM A, L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Gregory Mad ron
          295 Sawmill Cir
          Jacksboro, TN 37757-5215

         You are hereby summoned and required to serve upon Gary E.Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy.,Morristown,TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     12           day of                                         , 019, at   /5 o'clock
                                                                                                      9            A .M.

                                                                C1 er         11_5
                                                                              ;

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               .2019,
                                                                        Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

 I hereby certify and return that on the            day of                . X019, I served this summons together with
 the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                           N OTICE
   (1)        The original answer shall be filed with the Clerk of the Court simultaneously with service on
              plaintiffs' attorney.
   (2).       All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                               State of Tennessee
                                         Circuit Court of Greene County
                                                  at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/kia TAKOMA HOSPITAL, INC.,et al.

                     Plaintiffs,                                           NO.        TIQCv. nIg386
                                                                                     Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                      Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:         P&S Pharmacy
             613 Watauga St.
             Kingsport, TN 37660


         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy.,Morristown, TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

             Issued this the   /
                               621      day of                1     A             , 2019, at       o'clock /9.M.
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                                                                                       2/1
                                                            Clerk
                                                                       42/
                                                                         2/
                                                            Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

             Received this the n day of ,S.
                                          1 4-t1   .2019.     tbee.r .
                                                                etepratr     ff

                                         RETURN ON SERVICE OF SUMMONS

 I hereby certify and return Atat on the15 day of       Li- t• . 2019. 1 ssr 'ed ill' summo,ns together, with
 the Complaipt as follows: id f
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 failed to serve this summons within 30 days after its issuance=


                                                             NOTICE         teee.
      (1)       The original answer shall be filed with the Clerk of the Court simultaneously with nice on
                plaintiffs' attorney.
      (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court
                                                                                                  Rebecca Long
                                                                                               P.O. Box 13Q3
                                                                                                                   i' 1316
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 Oda TAKOMA HOSPITAL,INC. et al.

                      Plaintiffs,                                            NO.                   C .Vd              66
                                                                                       Jury Demanded
 V.

 PURDUE PHARMA.L.P.,et al.

                       Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:         Lowell B. Grizzle
             2613 Rivermont Cir
             Kingsport, TN 37660


         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

             Issued this the      A72_    day of                                   , 2019, at ./5 o'clock 1.M.

                                                              Clerk
                                                                               ff
                                                              Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

             Received this the   ri day of J tA .l(1 .2019.
                                                                   -DerrntySherriff723

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the I          day of              , 2019. 1 served this,summpns togetljer with
the Complaint as follows:             rya
                                        (                             r 4 ZZ t-C. VOL lAaik4          c e t t v-my

failed to serve this summons within 30 days after its issuance because


                                                             N OTICE               te.66__
      I 11      The original answer shall be filed with the Clerk of the Court simultaneously with ser    e on
                plaintiffs' attorney.
      (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.


                                                                                                r.0. Box 1303
                                                                                                        T N 2)7816
                                                                                                     acca Long
                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs.                                            NO,            CCiQGv Qq 86
                                                                                    Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:       AmerisourceBergen Drug Corporation
              C T Corporation System
           300 Montvue Rd.
           Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney. whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046.a true copy of the answer to the
 Complaint which is herewith served upon you. within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so. judgment by default will be taken against you for the relief demanded in the
 Complaint.

           Issued this the    /2 day of                                           2019. at          o'clock   4 .M.
                                                            Clerk p

                                                            Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

           Received this the / 7 day of 3
                                        . 7)•-•   . 2019.                         J7  ,
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                                                                   eptit
                                                                      '  g-Ay herriff

                                           RETURN ON SERVICE OF SUMMONS

 I hereby certify and return that on the Id day of                   . 2019. 1 served this summons together with
 the Complaint as follows:                4
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                                 S.J r.0                  '• %s'i elfe _0...,
failed to serve this summons within 30 days after its issuance because


                                                           NOTICE
   (I)        The original answer shall be filed with the Clerk of the Court simultaneously with service on
              plaintiffs' attorney.
    (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.


                                                                      P.O. Fox
                                  Jerry Long                       Morristown:TN 67810
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                NO              eei  Pr , lia?95 6/
                                                                                                                 6
                                                                                              Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      CVS Pharmacy,Inc.
          do C T Corporation System
          300 Montvue Rd
          Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the         P`       day of                                         2019, at        _5   o'clock A .M.

                                                              Clerk
                                                                      O~Pan1
                                                              Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the /7 day of               . 2019.
                                                                     [deputy Stierriff

                                            RETURN ON SERVICE OF SUMMONS

 I hereby certify and return that on the /     day of --„.
                                                         ,—C
                                                           ,t7          . 2019, I served this summons together with
     Complaint as follows: -7-4,/,  _.
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failed to serve this summons within 30 days after its issuance because

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                                                           NOTICE
    (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
              plaintiffs' attorney.
   (2).       All original exhibits filed with the answer shall be filed with the Clerk of the Court.



                                                                         P.O. Box 1303
                              Jerry Long                              Morristovvr„TN 27816
/




                                                     State of Tennessee
                                               Circuit Court of Greene County
                                                        at Greeneville

     TAKOMA REGIONAL HOSPITAL. INC.
     flea TAKOMA HOSPITAL. INC.,et al.

                       Plaintiffs,                                                     NO.
                                                                                               Jury Demanded
     V.

     PURDUE PHARMA L.P.. et al.

                       Defendants.

          TO THE ABOVE NAMED DEFENDANTS:

     TO:      Wal-Mart Stores East, LP
              c/o C T Corporation System
              300 Montvue Rd
              Knoxville, TN 37919-5546

             You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
     address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046 a true copy of the answer to the
     Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
     exclusive of the day of service. You will file the original with the Court.

            If you fail to do so,judgment by default will be taken against you for the relief demanded in the
     Complaint.

              Issued this the    /9           day of                                          2 t 19, at       o'clock 4.M.
                                                                9'
                                                                 41 1
                                                                    1 &V3
                                                                 Clerk p       A _
                                                                             ida          m5
                                                                  Deputy Clerk

    (This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

              Received this the),day of       -
                                              .571t...7      .2019.                          J
                                                                      Deputy           erriff pS

                                               RETURN ON SERVICE OF SUMMONS

    I hereby certify and return that on the         Of day of       ,J.J y      . 2019. 1 served this summons together with

    the Complaint as follows: -ce             Led             /We
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    failed to serve this summons within 30 days after its issuance because


                                                              NOTICE              14",
       (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
                 plaintiffs' attorney.
       (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.



                                                                                      P.O.
                                       Jerry Long                                  Morristown,- N
 •


                                                State of Tennessee
                                          Circuit Court of Greene County
                                                   at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL, INC..et al.

                   Plaintiffs,                                                NO.       (     ._ 66
                                                                                         LIOG09
                                                                                        Jury Demanded
 V.

 PURDUE PHARMA, L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Wal-Mart Inc.
          c/o C T Corporation System
          800 S Gay St., Ste. 2021
          Knoxville, TN 37929-9710

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney. whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046 a true copy of the answer to the
 Complaint which is herewith served upon you. within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the              day of



                                                             Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the /7day of      --)J    . 2019.
                                                            A       "1""
                                                                      eputy Sherriff   IBS
                                          RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the   /" day of J;;A L y          . 2019.1 served this summons together with
the Complaint as follows:                     (4
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failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.



                                                                       P.O. Box 1303
                                                                    Morristown:IN i 316
                            ierrY Long
                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOMA HOSPITAL,INC.,et al.

                   Plaintiffs,                                                 NO.
                                                                                      Jury Demanded
 V.

 PURDUE PHARMA. L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Abbott Laboratories, Inc.
          do C T Corporation System
          300 Montvue Rd.
          Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you. within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     /0
                               1          day of                                     2019. at              j.M.
                                                                                                   o'clock /

                                                                Clerk
                                                                          055
                                                                        /4104
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the/ -7 day of     3-
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                                            ). c...   . 2019.


                                           RETURN ON SERVICE OF SUMMONS

1 hereby certify and return that on the     /2? day of             . 2019. 1 served this summons together with
the Complaint as follows:                               y. Z.
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failed to serve this summons within 30 days after its issuance because

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                                                          NOTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneous]) with sen ice on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.



                                                                                        P.O. be:‘
                                                   Jerry Long                        MorristowiLTN 37810
                                                 State ofTennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL,INC., et al.

                    Plaintiffs,                                                   NO.        Ligni295 61
                                                                                            Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Endo Pharmaceuticals,Inc.
          do C T Corporation System
          300 Montvue Rd.
          Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy.,Morristown, TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so, judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the                 day of                                         , ;019, at           o'clock A .M.
                                                                    7: 4h-T
                                                                          -/
                                                                 Clerk  nj   on5

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the 7 day of                   . 2019.                                          4.2

                                                                       Deputy hem        PS

                                           RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the Of day of                       1         . 2019, I served this summons together with
the Complaint as follows: _ ..    ..
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failed to serve this summons within 30 days after its issuance because



   (1)
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              The original answer shall be filed with the Clerk of the Court simultaneously with service on
              plaintiffs' attorney.
   (2).       All original exhibits filed with the answer shall be filed with the Clerk of the Court.



                                                                                   P.O. Box 1303
                                      iLong
                                     le                                     Morristown:in-,:37816
                                              State of Tennessee
                                        Circuit Court of Greene County
                                                 at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                   Plaintiffs.                                            NO.              ,
                                                                                       OCAC/ w15 86
                                                                                   J ury Demanded
 V.

 PURDUE PHARM A, L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Mallinckrodt LLC
             C T Corporation System
          300 Montvue Rd.
          Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the              day of                                    2019, at          o'clock   4- .M.
                                                           Clerk p xja

                                                           Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the 7 day of    J../1    .2019.                          '
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                                                               Iputy, Sherriff

                                        RETURN ON SERVICE OF SU MMONS

1 hereby certify and return that on the lg day of     TA/          . 2019, I served this summons together with
the Complaint as follows:                1140/        c      el-oi  I-       t/gr, e       4-c.
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failed to serve this summons within 30 days after its issuance because


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   (I)       The original answer shall be filed with the Clerk of the Court simultaneously with sen ice on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.




                                                                                   P.O. Box 1:::,03
                                           Jerry Long                           Morristown,TN 3786
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                   Plaintiffs,                                                   NO.          CL/QC1    095 .
                                                                                                            66
                                                                                          Jury Demanded
 V.

 PURDUE PHARMA. L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Janssen Pharmaceuticals, Inc.
          do C T Corporation System
          300 Montvue Rd
          Knoxville, TN 37919-5546


         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy.,Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the        /   2.    day of                                        201
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                                                                                 iS
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                                                                Clerk
                                                                           1)-a 1/
                                                                                 5
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the/7 day of                  .2019.
                                                                        eputy Sherriff   pst

                                             RETURN ON SERVICE OF SU MMONS

 I hereby certify and return that onle       /   e day of:
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 failed to serve this summons within 30 days after its issuance because


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   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.




                                                    Jerry Long morrist6,                                      •   a'r (":4 4 in,
                                                                                                                  I        IC1
                                                      State of Tennessee
                                              Circuit Court of Greene County
                                                           at Greeneville


TAKOMA REGIONAL HOSPITAL. INC.
frk/a TAKOMA HOSPITAL, INC.,et al.

                      Plaintiffs.                                                 NO.          etiOciaio
                                                                                           Jury Demanded
 V.

PURDUE PHARMA,L.P. et al.

                       Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:         Alicia X 7,r4ripg
             2105 Leatherwood Ttd
             Oneida, TN 37841-7025

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson Hwy, Morristown,TN 37816-2046,a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so.judgment by default will be taken against you for the relief demanded in the
Complaint.

             Issued this the                 day of
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                                                                                  ,      .2019, at   q,/_5 o'clock   /9.M.
                                                                            ihn
                                                                           ef
                                                                   Clerk

                                                                   Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

             Received this the      day of                .2019.
                                                                       Deputy Sherriff

                                              RETURN ON SERVICE OF SUMMONS

I hereby certify and return that o the d       3d     V   of               . 2019, I served this summons together with
the Complaint as follows:                                      _                  af 4       , 35-

failed to serve this summons within 30 days after its issuance because


                                                             NOTICE
      (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
                plaintiffs' attorney.
      (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                    State of Tennessee
                                              Circuit Court of Greene County
                                                       at Greeneville

TAKOMA REGIONAL HOSPITAL. INC.
ficia TAKOMA HOSPITAL, INC.,et al.

                     Plaintiffs.                                                 NO.
                                                                                         Jury Demanded
V.

PURDUE PHARMA,L.P., et al.

                     Defendants.

     TO THE ABOVE NAMED DEFENDANTS:

TO:         The Kroger Co.
            c/o Corporation Service Company
            2908 Poston Ave
            Nashville, TN 37203-1312

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney. whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so. judgment by default will be taken against you for the relief demanded in the
Complaint.

            Issued this the        c;R       day of                                     2019. at y Jo'clock i .M.

                                                                  Clerk    p

                                                                  Deputy Clerk
                                                                                                        THE MUSIC CITY PROCESS
(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedure
                                                                                                            KEVIN FAHERTY
            Received this th       day of 707
                                            /            .2019.                                                PO BOX 90331
                                                                                                           N ASHVILLE, TN 37209
                                                                                                              615-480-8785
                                              RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on      e            day of   3)         . 2019. I served this summons together   with
the Complaint as folloN:                                                                        Sc
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failed to serve this summons within 30 days after its issuance because


                                                            NOTICE
     (I)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
               plaintiffs' attorney.
     (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                     State of Tennessee
                                               Circuit Court of Greene County
                                                        at Greeneville

TAKOMA REGIONAL HOSPITAL. INC.
ficia TAKOMA HOSPITAL,INC.,et al.

                      Plaintiffs.                                             NO.                        c,Vi6/5
                                                                                                     qCi/)
                                                                                         Jury Demanded
 V.

PURDUE PHARMA,L.P., et al.

                      Defendants.

       TO THE ABOVE NAMED DEFENDANTS:

TO:          Henry Schein, Inc.
             do Corporation Service Company
             2908 Poston Ave.
             Nashville, TN 37203-1312


        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy.,Morristown, TN 37816-2046,a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

             Issued this the                  day of                                  . 2019. at Q1_50.ciock      .M.
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                                                               Clerk
                                                                             A-ea45
                                                               Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.,                   THE MUSIC CITY PROCESS
                                                                                                              KEVIN FAHERTY
             Received this the      clay of        L   2019.
                                                                        uty S erri                             PO BOX 90331
                                                                                                            N ASHVILLE. TN 37209
                                               RETURN ON SERVICE OF SUMMONS                                     615-480-8785

I hereby certif)
               . and return that on theoiS day of
the Complaint as follows
                   '                eh L.157
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failed to serve this summons within 30 days after its issuance because


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      (11       The original answer shall be filed with the Clerk of the Court sim6ltat¢ously           vice on
                plaintiffs' attorne .
      (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                     State of Tennessee
                                               Circuit Court of Greene County
                                                        at Greeneville

TAKOMA REGIONAL HOSPITAL, INC.
f/k/a TAKOMA HOSPITAL,INC.,et al.

                   Plaintiffs,                                                     NO.            C,1qC09_5
                                                                                           Jury Demanded
 V.

PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

TO:       Aetavis Pharma, Inc.
          c/o Corporate Creations Network, Inc.
          205 Powell Pl.
          Brentwood, TN 37027-7522

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy.. Morristown, TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the 1
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                           '                  day of                                     • /019. at qi-...5o'clock

                                                                    Clerk)
                                                                              17/                  W
                                                                    Deputy Clerk
                                                                                                            THE MUSIC CITY PROCESS
(This Summons is issued pursuant to Rule 4 of the Tennessee Rules oJiyfl Procedures.)                           KEVIN FAHERTY
                                                                                                                 PO BOX 90331
          Received this the      day of                     2019,                                             N ASHVILLE,TN 37209
                                                                                                                 615-480-8785
                                               RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on       e            day of             . 2019, 1 served this summons together with
the Complaint as follows:                                                                       'r ry it A.
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failed to serve this summons within 30 days after its issuance because


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   (1)       The original answer shall be filed with the Clerk of the Court simultaneous with servic
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall he filed with the Clerk of the Court
      t



                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

TAKOMA REGIONAL HOSPITAL, INC.
fk/a TAKOMA HOSPITAL, INC., et al.

                      Plaintiffs.                                           NO.
                                                                                     Jury Demanded
 V.

PURDUE PHARM A,L.P., et al.

                      Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

TO:          Andrew T. Stokes
             229 Shadowood Dr.
             Johnson City, TN 37604-1128

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

             Issued this the /C?          day of



                                                               Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civ 1 Procedures.)

             Recei%ed this the   9Se day of jU.-Ut    .2019.


                                           RETURN ON SERVICE OF SU MMONS

I hereby certify and return that on the            day of            . 2019. I served this summpns together with
the Complaint as follows: 5  ,  1V             AM re               1Ze 5 v i a I-14.1    )c1 ciel tve-i-Nt

failed to serve this summons within 30 days after its issuance because


                                                            NOTICE
      (I)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
                plaintiffs* attorney.
      (2).      All original exhibi filed      the answer shall he filed with the Clerk of the Court.
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                                                                                Rebecca Long
'EN     EH:. C01%1PLEITE THIS SLCTION                       COMPLETE THIS SECTION 0                1)11./ VE? r'

■ Complete ftems 1,2, and 3.
I Print your name and address on the reverse                                                                   O Agent
  so that we can return the card to you.                                                                      ❑ Addresse
■ Attach this card to the back of the mailpiece,            B. Received by (Printed Name)                C. Date of Deliver
  or on the front if space permits.
1. Article Addressed to:                                    D. Is delivery address different from item 1       0 Yes
                                                               if YES, enter delivery address below:           El No
       MIAMI-LUKEN, INC.
       265 PIONEER BLVD
       : CIO WILLIAM POWERS
       SPRINGBORO,OH 45066
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                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 fka TAKOMA HOSPITAL,INC.,et al.

                    Plaintiffs.                                                 NO.      (     r_lq
                                                                                                  (
                                                                                         J ury Demanded
                                                                                                       JaQ5 66
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Miami-Luken, Inc.                                          Method of Service:
          do William Powers                                          TN Department of State
          265 Pioneer Blvd.                                          Division of Business Services
          Springboro, OH 45066                                       Summons Section
                                                                     6* Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney. whose
 address is 1702 W. Andrew Johnson Hwy, Morristown, TN 37816-2046.a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so, judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     /            day of                                      .2019, at    o'clock     4.M.
                                                                        0-1711
                                                                 Clerk /9ja
                                                                                        5
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff                   ci)      e...3
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                                            RETURN ON SERVICE OF SUMMONS                                 x)—
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 1 hereby certify and return that on the            day of             . 2019. I served this summons togallieL wit      1,f.
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failed to serve this summons within 30 days after its issuance because                                cn
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                                                           NOTICE
   (1)        The original answer shall be filed with the Clerk of the Court simultaneously with service on
              plaintiffs" attorney.
   (2).       All original exhibits filed with the answer shall he filed with the Clerk of the Court.
   Complete items 1,2,and 3.
II Print your name and address on the reverse
   so that we can return the card to you.
I Attach this card to the back of the mailpiece,
   or on the front if space permits.
   Article Addressed to:
                                                            If YES,enter delivery address below              El No




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                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 Ukia TAKOMA HOSPITAL,INC., et al.

                    Plaintiffs,                                                NO.       (L161C)/
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                                                                                                   :'
                                                                                                    ),66
                                                                                         Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Mark Timney                                               Method of Service:
          354 Pako Avenue                                           TN Department of State
          Keene, New Hampshire 03431-5023                           Division of Business Services
                                                                    Summons Section
                                                                    6t
                                                                     h Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy.,Morristown,TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you. within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the                  day of                                     , /019. at        o'clock /9.M.
                                                                                      &2
                                                                                       4 ‘
                                                                                         01
                                                                                          44        -
                                                                Clerk
                                                                        Pions
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               .2019,
                                                                    Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS                                 (1)    r..3
                                                                                                         rrl    0
                                                                                                         C-)     VD
1 hereby certify and return that on the             day of              . 2019. I served this summons togtMef- with_
the Complaint as follows:                                                                                  1---
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failed to sene this summons within 30 days after its issuance because

                                                                                                       to —
                                                          NOTICE
   (1)                                                                                                 >
             The original answer shall he filed with the Clerk of the Court simultaneously with set-% ice-on
             plaintiffs' attorney.                                                                     rr
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
           .........
            THE
                                                                                    11111111 1111 III 11111 1111
                                                                      Division of Business Services
         GRIC      RE
                                                                          Department of State
       A
   t.0%                                                                    State of Tennessee
                                                                         312 Rosa L. Parks AVE,6th FL
        •...........••
                                                                           Nashville. TN 37243-1102
       Tre Hargett
  Secretary of State

 BREWER & TERRY PC
 PO BOX 2046
 MORRISTOWN, TN 37816-2046

                                                    Receipt Detail
Receipt ID:             004944136
 Receipt Date:          07/30/2019
 Receipt Total:         $20.00


Item                         Description                Check/Ref #         DLN #             Price   #   Amount

Summons                      Summons                    07784584                            $20.00    1    $20.00
Payment-Account              BREWER & TERRY PC,         49296                               $20.00    1   ($20.00)
                             MORRISTOWN,TN




                        Phone (615) 741-2286 * Fax (615)741-7310   Website: http://tnbear.tn.gov/
                                                                                    CO;1'F'L ET E THIS A.C7ION ON DELIVE ;"r"

▪ .Con te Items 1, 2, and 3...
O Print your name and address on the reverse                                                                    ---"Th           0 Agent
  so that we can return the card to you.                                                                                         0 Addressei
■ Attach this card to the back of the mailpfece,                                                                             C. Date of Deliver,
  or on the front if space permits.                                                                                               43 -141
I. Article Addressed to:                                                            D. Is delivery address different from item 1? 0 Yes
                                                                                       if YES, enter delivery address below:      ❑ No

         BABENCO, HENRY
         6350 CLINTON RD
         PADUCAH, KY 42001-9394


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                                                 State ofTennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

TAKOMA REGIONAL HOSPITAL. INC.
ficia TAKOMA HOSPITAL, INC., et al.

                   Plaintiffs,                                                 NO.           d_e/Z,
                                                                                                  1?9,
                                                                                                     566
                                                                                        Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Henry Babenco                                           Method of Service:
          6350 Clinton Rd                                         TN Department Of State
          Paducah, KY 42001-9394                                  Division of Business Services
                                                                  Summons Section
                                                                  '
                                                                  6 Floor, William R. Snodgrass Tower
                                                                  Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E.Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy.,Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

        If you fail to do so, judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     /7R         day of                                      • 2019, at    o'clock /7
                                                                                                             4.M.

                                                                Clerk Qw

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the      day of                 2019.
                                                                    Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS
                                                                                                      rri
I hereby certify and return that on the            day of             . 2019. 1 served this summons togRer with
the Complaint as follows:                                                                               •- (
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failed to serve this summons within 30 days after its issuance because
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                                                          NOTICE                                     to ---
   ( I)      The original answer shall be filed with the Clerk of the Court simultaneously with serviaon          ••



             plaintiffs' attorney.                                                                   rn
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                            Division of Business Services
                                                                Department of State
                                                                 State of Tennessee
       '7796'                                                   312 Rosa L. Parks AVE.6th FL
        .........                                                 Nashville. TN 37243-1102
    Tre Hargett
  Secretary of State
                               AFFIDAVIT AND ENDORSEMENT
 Case #: CC19CV295BB                                                                     08/06/2019
 Certified #: 70180360000076058643                                          SOS Summons #: 07784933
 RE:TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

 VS:PURDUE PHARMA LP ET AL

       I, ANNE HACKNEY having been duly authorized by Tre Hargett, Secretary of State of
 Tennessee, do hereby make oath on his behalf and under authorization as follows:

        That on 07/29/2019, I received from the plaintiff the original and certified copies of the
 process, notice or demand issued against BABENCO, HENRY
 whose address is: 6350 CLINTON RD, PADUCAH, KY 42001-9394
 and that on 07/31/2019 I mailed by registered or certified return-receipt mail the certified copies
 of the process, notice, or demand to the above address together with a written notice that service
 was made.

        I further make oath that the return receipt for the registered or certified letter was received
 at my office in Nashville, Tennessee, on 08/05/2019, and returned to GREENE COU NTY -
 CIRCUIT COURT of GREENEVILLE, TN on 08/06/2019.




                                                                   Tre Hargett
                                                                   Secretary of State




 Sworn to and subscribed before me this

    Le day of


 Notary Public

 My Commission Expires.    0     oce 7°'-a4°
SS-4201(Rev 9/15)                                                                               RDA 1003
       E    ,-- nr„11 _ET. 7E THIS SECTION                     COMi           T           HON Ot. DELP./

   Complete items 1,2,and 3.
I Print your name and address on the reverse                                                                    0 Agent
   so that we can return the card to you.                                                                         Ad
II Attach this card to the.back of the mailpiece,
   or on the front if space permits.
                                                               B.


                                      y address different from item
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   C/O CORPORATE CREATIONS NETWORK INC
  PALM BEACH GARDENS,FL 33410
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                                                   State of Tennessee
                                             Circuit Court of Greene County
                                                      at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                     Plaintiffs.                                              NO.       (   01 6 ? ,
                                                                                                   4
                                                                                                   1:2        5.61)
                                                                                       Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                     Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:       Anda,Inc.                                                 Method of Service:
           do Corporate Creations Network, Inc.                      TN Department of State
           1 1380 Prosperity Farms Road #221E                        Division of Business Services
           Palm Beach Gardens, FL 33410                              Summons Section
                                                                     6th Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will tile the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

           Issued this the                  day of                                           t y.    o'clock I.M.

                                                                 Clerk p
                                                                          A-
                                                                           0  1/1C
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

           Received this the       day of               .2019,
                                                                     Deputy Sherriff

                                             RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the              day of            . 2019. 1 served this summons to
the Complaint as follows:


failed to sere this summons within 30 days after its issuance because

                                                                                                      v.)-
                                                           NOTICE                                     51
    (1)       The original answer shall be tiled with the Clerk of the Court simultaneously with sen tee on
              plaintiffs' attorney.                                                                   r-r)
    (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                               Division of Business Services
                                                                   Department of State
                                                                    State of Tennessee
                                                                  312 Rosa L. Parks AVE.6th FL
      ..........                                                    Nashville, TN 37243-1102
   Tre Hargett
 Secretary of State

HON. CHRIS SHEPARD                                                                         08/12/2019
101 S MAIN ST                                                                    Case #.CC19CV295BB
GREENEVILLE, TN 37743-5973
                                                                      Certified #.70180360000076058629


RE:TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

 VS:PURDUE PHARMA LP ET AL

Dear Clerk,

         Enclosed are the following papers in the above styled case:
         O Original Summons
        0 Affidavit and Endorsement
         O Registered or Certified Return Receipt signed by:
               see attached green card
         D   Registered or Certified letter returned refused
         0 Registered or Certified letter returned undelivered with notation:


                                                                    Sincerely,




                          FILaET3                                   Tre Hargett
                                                                    Secretary of State
                      TIME       In 7
                              Atiii 19 2019

                      Circ               rt lerk


Enclosures: Original Documents
SS-4210(Rev. 8/15)                                                                               RDA 1003
08/02/2019 FRI 14:54    FAX                                                                             a002/003




                              IN THE CIRCUIT COURT FOR GREENE COUNTY
                                      AT GREENVILLE,TENNESSEE


        TAKOMA REGIONAL HOSPITAL INC.,
        et aL,

               Plaintiffs,

        v.                                                                 No. CC19CV295BB
                                                                           JURY DEMANDED
        PURDUE PHARMA LP.,et al.

               Defendants.


                                          NOTICE OF APPEARANCE


               Nathan A. Bicks and Ryan G. Saharovich ofthe law firm of Burch, Porter & Johnson,

        PLLC, hereby give notice oftheir appearance as counsel of record in this case for Defendants,

        CVS Pharmacy, Inc., CVS Health Corporation, and CVS Indiana, L.L.C.

               This notice of appearance is without waiver of any available to CVS Pharmacy, Inc.,

        CVS Health Corporation, and CVS Indiana, L.L.0 including, but not limited to, the right to

        challenge personal jurisdiction in this matter.

                                                      Respectfully submitted,
                Flab
             TIME q:31 A•nv
                                                      BURCH,PORTER & JOHNSON,PLLC
                  AUG 0 E2019
                iSS"-fc"8
                      OURT CLE
                                                      R/c
                                                      Nathan A. Hicks(#10903)
                                                      Ryan G. Saharovich (#36185)
                                                      130 North Court Avenue
                                                      Memphis, Tennessee 38103
                                                      Telephone: 901-524-5000
                                                      Facsimile:   901-524-5024
                                                      nbicks@bpjlaw.com
08/02/2019 FRI 14:54   FAx                                                                            ZOC1/003




                        BURCH,PORTER & JOHNSON PLLC
                              130 N. Court Avenue
                              Memphis, TN 38103


                                     TELEPHONE: 901.524.5000
           9:3 krvl                  FACSIMILE: 901.524.5024

                                    FACSIMILE COVER LETTER


                                     DATE: Date AMU 2,201p


       TO: NAME                           COMPANY/FIRM                         FAX NO.
       Christopher Shepard            Greene County Circuit Court,             423-798-1763
       Court Clerk                    Greenville, Tennessee

                                   Total number of pages including this cover page:


     FROM:         Ryan G.Saharovich by
                   Leslie Luther-Fulton
                   Direct Dial: 901.524.5111


     RE:           Takoma Regional Hospital,Inc, et al. v. Purdue Phanna,LP, et a/
                   No. CC19CV296BB


     Dear Mr.Shepard:

     Attached for filing with the Court, please find a Notice of Appearance for Nathan A. Bicks
     and Ryan G.Saharovich.

     Please do not hesitate to contact this office should you have questions regarding this filing.

                                                 Very truly yours,


                                                 Leslie Luther-Fulton
                                                 Legal Assistant

     LLF
     Attachment
 Er     ER. comp ETE THIS SECTION                                 V1PLE. F THIS SECTION CM DELA/FRY

■ Complete items 1,2, and 3.                                   A. Signature
III Print your name and address on the reverse                                                                0Niallt
    so that we can return the card to you.                                                                     C3 Addreese
■ Attach this card to the back of the malipiece,               B. Received by rtInted Mum                 C. Date Of-Deliver,
    or on the front if space permits.
L Article Addressed to:                                        D. Is delivery address'         front item I?        Yea
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      AMNEAL PHAr  RMACEUTICAL* INC
      251 LITTLE FALLS DRIVE
       C/O CORPORATION SERVICE COMPANY
      WILMINGTON, DE 19808
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                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 ficla TAKOM A HOSPITAL,INC.,et al.

                   Plaintiffs,                                                NO.        (t                          ,O4
                                                                                       Jury Demanded
 V.
 PURDUE PHARMA,LP.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:     Amneal Pharmaceuticals, Inc.                              Method of Service:
         c/o Corporation Service Company                           TN Department of State
         251 Little Falls Drive                                    Division of Business Sen ices
         Wilmington, DE 19808                                      Summons Section
                                                                   6th Floor, William R. Snodgrass Tower
                                                                   Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E.Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the re I ief demanded in the
Complaint.

         Issued this the                  day of                                     , 2019, at C po'clock           .M.

                                                               Clerk
                                                                            Javi
                                                                               )
                                                               Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedure

         Received this the       day of               ,2019,
                                                                   Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS

1 hereby certify and return that on the            day of              . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because
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                                                          N OTICE                                        O
             The original answer shall be filed with the Clerk of the Court simultaneously \k ith service-61r-
             plaintiffs' attorney.
             All original exhibits filed with the answer shall be filed with the Clerk of the t. oda.            ••


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                                                                                                         rn
                                                            Division of Business Services
                                                                Department of State
                                                                 State of 1 ennessee
      •771 .6;                                                  312 Rosa L. Parks AV L. 6th FL
      •.......                                                    Nashville. I \ 37243-1102
   Tre Hargett
 Secretary of State
                              AFFIDAVIT AND ENDORSEMENT
 Case #: CC19CV295BB                                                                    08/12/2019
 Certified #: 70180360000076058605                                         SOS Summons #: 07783788
 RE:TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

 VS:PURDUE PHARMA LP ET AL

       I, ANNE HACKNEY, having been duly authorized by Tre Hargett, Secretary of State of
 Tennessee, do hereby make oath on his behalf and under authorization as follows:

        That on 07/29/2019, I received from the plaintiff the original and certified copies of the
 process, notice or demand issued against AMNEAL PHARMACEUTICALS INC AKA/POE: CIO
 CORPORATION SERVICE COMPANY
 whose address is: 251 LITTLE FALLS DRIVE, WILM I NGTON, DE 19808
 and that on 07/31/2019, I mailed by registered or certified return-receipt mail the certified copies
 of the process, notice, or demand to the above address together with a written notice that service
 was made.

        I further make oath that the return receipt for the registered or certified letter was received
 at my office in Nashville, Tennessee, on 08/08/2019, and returned to GREENE COUNTY -
 CIRCUIT COURT of GREENEVILLE, TN on 08/12/2019.



                                                                         11,       1
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                                                                   Tre Hargett
                                                                   Secretary of Sta e




 Sworn to and subscribed before me this

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   9.- day of                        , 20 i
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                                                                                     1
                                                                        TENN- ;SEE
 Notary Public                                                                RY
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 My Commission Expires:     on - ocp
SS-4201(Rev 9/15)                                                                                RDA 1003
  ENDER ,COMP E t_ THIS SECTION                                 cor;IPt E E rhiis                         oELIvErQy

I:Complete items 1, 2, and 3.                                       Signature
• Print your name and address on the reverse                       CkMeteN                                            El Agent
   so that we can return the card to you.                                 •10_    K  ehayias      ❑ Adder
IN Attach this card to the back of the mailpiece,               B. RectsWy (Printed Name)    C. Date of Deliver
   or on the front if space permits.
1. Article Addressed tn:                                              delivery address different from item 1? 0 Yes
    RITE AID OF MARYLAND,INC.                                         YES, enter delivery address below:      ❑ No

    SUITE 201                   I
    2405 YORK ROAD
    : C/0 THE CORPORATION TRUST,INC.-
    LUTHERVILLE TIMONIUM, MD 21093-2264
                                                              3. Service Type                             ❑ Priority Mail Express®
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s Form 381 1. July 2015 PRN 75.111-1124100-grica                                                      rInmemtle Rat!am Rarvaint
                                                 State ofTennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

TAKOMA REGIONAL HOSPITAL. INC.
fkla TAKOM A HOSPITAL, INC., et al.

                   Plaintiffs,                                                 NO.      ( (Aria9364
                                                                                        Jury Demanded
 V.

PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

TO:       Rite Aid of Maryland, Inc.                                Method of Service:
          c/o The Corporation Trust, Inc.                           TN Department of State
          2405 York Road                                            Division of Business Services
          Suite 201                                                 Summons Section
          Lutherville Timonium, MD 21093-2264                        'Floor, William R. Snodgrass Tower
                                                                    6°
                                                                    Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the                 day of                                      `2019. at   Q7.5o'clock g.m.
                                                                Clerk;

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the      day of                 2019,
                                                                    Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS                                  cn
                                                                                                         (ID
                                                                                                         C
                                                                                                         )
1 hereby certify and return that on the            day of             . 2019. I served this summons toget*—with c,_
the Complaint as follows:
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failed to serve this summons within 30 days after its issuance because
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                                                                                                                  fV
                                                          NOTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service p         c.n
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                           Division of Business Services
                                                               Department of State
                                                                State of Tennessee
                                                               312 Rosa L. Parks AVE.6th FL
                                                                 Nashville, TN 37243-1102
   Tre Hargett
 Secretary of State
                             AFFIDAVIT AND ENDORSEMENT
 Case #: CC19CV295 BB                                                                      08/12/2019
Certified #: 70180360000076091497                                         SOS Summons #: 07784399

 RE:TAKOMA REGIONAL HOSPITAL, INC. filda TAKOMA HOSPITAL, INC. et al.

 VS:PURDUE PHARMA, L.P. et al.

      I, ANNE HACKNEY, having been duly authorized by Tre Hargett, Secretary of State of
Tennessee, do hereby make oath on his behalf and under authorization as follows:

       That on 07/29/2019, I received from the plaintiff the original and certified copies of the
process, notice or demand issued against RITE AID OF MARYLAND, INC. AKA/POE: C/O THE
CORPORATION TRUST. INC.
whose address is: 2405 YORK ROAD, LUTHERVILLE TIMONIU M, MD 21093-2264,
and that on 07/31/2019, I mailed by registered or certified return-receipt mail the certified copies
of the process, notice, or demand to the above address together with a written notice that service
was made.

       I further make oath that the return receipt for the registered or certified letter was received
at my office in Nashville, Tennessee, on 08/08/2019, and returned to GREENE COUNTY -
CIRCUIT COURT of GREENEVILLE, TN on 08/12/2019.




                                                                  Tre Hargett
                                                                  Secretary of Sta e




 Sworn to and subscribed before me this

    Ir9,day of            A/A       ,20 1°1




 My Commission Expires:
SS-4201(Rev. 9/15)                                                                             RDA 1003
                                                                             I 11111111 1111 III 11111 1111
                                                                  Division of Business Services
                                                                      Department of State
                                                                       State of Tennessee
                                                                     312 Rosa L. Parks AVE. 6th FL
                                                                       Nashville. TN 37243-1102
    Tre Hargett
  Secretary of State

 BREWER & TERRY PC
 PO BOX 2046
 MORRISTOWN, TN 37816-2046

                                               Receipt Detail

 Receipt ID:      004944042
 Receipt Date:    07/30/2019
 Receipt Total:   $20.00


Item                   Description                  Check/Ref #        DLN #           Price   #     Amount

Summons                Summons                      07784399                          $20 00   1      $20.00

Payment-Account        BREWER & TERRY PC,           49296                             $20.00   1     ($20.00)
                       MORRISTOWN, TN




                  Phone (615)741-2286 * Fax (615)741-7310 * Website: http://tnbear.tn.gov/
 ENDER        ;(')''.1 3LE   THIS SECTION                        PI ETE THIS SECTION ON DEL/VET

■ complete Items 1, 2, and 3.
■ Print your name and address on the reverse                                                                   O Agent
    so that we can return the card to you.                                                                     ❑ Addresse
111 Attach this card to the back of the mailpiece,        B. Received by.                                 C. Date of Deliver
    or on the front if space permits.
1. Article Addressed to:                                  D. Is delivery Vic!                              1? 0 Yes
                                                                        ter                                   ❑ No
   PURDUE PHARMA,L.P.
   251 LITTLE FALLS DRIVE
    C/0 THE PRENTICE-HALL CORPORATION SYS
   WILMINGTON, DE 19808
                                  I
                                                        3. Service Type
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                                                        O Certified Mail Restricted Delivery        O Return Receipt for
                                                        O Collect on Delivery                         Merchandise
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kg Fnrrn          .In riv    s RCN 7irtnn-n9-nnn-ancn     -I.. 2/                               rInrruaatie. Clesturn Ro"esini
                                                   State ofTennessee
                                             Circuit Court of Greene County
                                                      at Greeneville

TAKOMA REGIONAL HOSPITAL. INC.
f/k/a TAKOMA HOSPITAL, INC.,et al.

                     Plaintiffs,                                                NO.
                                                                                          Jury Demanded
 V.

 PURDUE PHARM A.L.P.,et al.

                      Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:        Purdue Pharma, L.P.                                      Method of Service:
            c/o The Prentice-Hall Corporation System, Inc.           TN Department of State
            251 Little Falls Drive                                   Division of Business Services
            Wilmington, DE 19808                                     Summons Section
                                                                     6t
                                                                      h Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046. a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

            Issued this the     A;
                                 ;,
                                  ?         day of                                      , 2019 at      o'clock /9 .M.
                                                                                              /-7/
                                                                                                 1;444_d
                                                                 Clerk
                                                                           P /J9an
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

            Received this the      day of               .2019.
                                                                     Deputy Sherrill'

                                             RETURN ON SERVICE OF SUM MONS
                                                                                                         r.f)
I hereby certify and return that on the              daN of              . 2019. I served this summons tagther   4
the Complaint as follows:
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failed to serve this summons within 30 days after its issuance because                                           N)
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                                                                                                       —t tr-
                                                            NOTICE
      (1)      The original answer shall be filed with the Clerk of the Court simultaneously with servia-en      11`.3
               plaintiffs' attorney.                                                                   3>        cr1
   (2).        All original exhibits filed with the answer shall be filed with the Clerk of the Court. rr,
     •




                                                            Division of Business Services
                                                                Department of State
                                                                 State of Tennessee
          •II§6•                                                312 Rosa L. Parks AVE.6th FL
                  '
         •**********                                              Nashville. TN 37243-1102
   Tre Hargett
 Secretary of State
                              AFFIDAVIT AND ENDORSEMENT
 Case #: CC19CV295 BB                                                                   08/12/2019
 Certified #: 70180360000076091480                                         SOS Summons #: 07784358
 RE TAKOMA REGIONAL HOSPITAL, INC. f/k/a TAKOMA HOSPITAL, INC. et al.

 VS:PURDUE PHARMA, L.P. et al.

      I, ANNE HACKNEY, having been duly authorized by Tre Hargett, Secretary of State of
Tennessee, do hereby make oath on his behalf and under authorization as follows:

       That on 07/29/2019, I received from the plaintiff the original and certified copies of the
process, notice or demand issued against PURDUE PHARMA, L.P. AKA/POE: C/O THE
PRENTICE-HALL CORPORATION SYSTEM. INC.
whose address is: 251 LITTLE FALLS DRIVE, WILMINGTON, DE 19808,
and that on 07/31/2019, I mailed by registered or certified return-receipt mail the certified copies
of the process, notice, or demand to the above address together with a written notice that service
was made.

        I further make oath that the return receipt for the registered or certified letter was received
 at my office in Nashville, Tennessee, on 08/08/2019, and returned to GREENE COU NTY -
 CIRCUIT COURT of GREENEVILLE, TN on 08/12/2019.




                                                                   Tre Hargett
                                                                   Secretary of State




 Sworn to and subscribed before me this

            day of                   , 20_11


 Notary Public

 My Commission Expires: 01• OG9 aU DC
                                    )
SS-4201(Rev. 9/15)                                                                              RDA 1003
                                                                     COMPLETE THVT            :',-T1ON ON         IVERY
    ND1                'LETE THiS SECTION

■ Complete Items 1,2, and 3.                                                                                               ❑ want
II Print your n me wad address on the reverse                                                                            ❑ Address&
               a /eturn the card to you.
   so that we can                                                                                                   C. Date of Deliver,
•Attach ttis card to the back of the mailpiece,
   or on the front if space permits.
1. ArtOrie Addressed to:                                                                               from item 1? 0 Yes
                                                                                                          below: 0 No
           ALLERGAN PLC
           425 PRIVET ROAD
           : C/O DEBORAH GRIFFIN
           HORSHAM,PA 19044-
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                                                 State ofTennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

TAKOMA REGIONAL HOSPITAL. INC.
Mc/a TAKOM A HOSPITAL, INC.,et al.

                  Plaintiffs,                                                NO.             ('~a q(5/0,29s In
                                                                                        Jury Demanded
V.

PURDUE PHARMA,L.P.,et al.

                   Defendants.

     TO THE ABOVE NAMED DEFENDANTS:

TO:      Allergan PLC                                               Method of Service:
         c/o Deborah Griffin                                        TN Department of State
         425 Privet Road                                            Division of Business Services
         Horsham, Pennsylvania 19044                                Summons Section
                                                                    6th Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

        You are hereby summoned and required to serve upon Gar      y E. Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hw y., Morristown, TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

         Issued this the        a         day of                                      , 2019, atQ       o'clockA.M.

                                                                Clerk
                                                                            l)
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

         Received this the      day of                . 2019.
                                                                    Deputy Sherriff
                                                                                                        Li)
                                           RETURN ON SERVICE OF SUMMONS                                 rn

I hereby certify and return that on the            das of               2019. I served this summons togrt1Ter w5ff
the Complaint as follows:                                                                              --trn
                                                                                                              —   r%)

failed to serve this summons within 30 days after its issuance because
                                                                                                         -TTFT
                                                                                                         C.1
                                                                                                           )

                                                          NOTICE                                                  .0—
             The original answer shall be filed with the Clerk of the Court simultaneously with serviciFfin       v.110
             plaintiffs' attorney.
             All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                                Division of Business Services
                                                                    Department of State
                                                                     State of Tennessee
                                                                   312 Rosa L. Parks AVE.6th FL
     •...........•
                                                                     Nashville. TN 37243-1102
    Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                          08/12/2019
 101 S MAIN ST                                                                     Case #:CC19CV295BB
 GREENEVILLE, TN 37743-5973
                                                                       Certified #.70180360000076058599


 RE: TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

 VS:PURDUE PHARMA LP ET AL

 Dear Clerk,

          Enclosed are the following papers in the above styled case:
          O Original Summons
         0 Affidavit and Endorsement
          O Registered or Certified Return Receipt signed by:
                SEE GREEN CARD
          O   Registered or Certified letter returned refused
          O Registered or Certified letter returned undelivered with notation:


                                                                     Sincerely,




                                                                     Tre Hargett
                                                                     Secretary of State




Enclosures: Original Documents
SS-4210(Rev. 8/15)                                                                                RDA 1003
                                                   State of Tennessee
                                            Circuit Court of Greene Count)
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 frkia TAKOM A HOSPITAL, INC.. et al.

                    Plaintiffs.                                                 NO.
                                                                                        Jury Demanded
                                                                                                        vi95
 V.

 PURDUE PHARMA, L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Craig Landau                                                Method of Service:
          1 Stamford Forum                                           TN Department of State
          Stamford,CT 06901-3516                                     Division of Business Services
                                                                     Summons Section
                                                                     6"1 Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson H wy., Morristown, TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so, judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the     42           day of                                         19 at    5o'clock        .M.

                                                                 Clerp
                                                                             45
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                .2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SUM MONS

I hereby certify and return that on the             day of               . 2019. 1 served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
   (I)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs- attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
N             items 1,2„ and 3.
II Print your name and address on the reverse
   so that we can return the card to you.
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   or on the front if space permits.
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          CORPORATE CREATIONS NETWORK,INC
     LAS VEGAS, NV 89123
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Ns Form 3811.Jtdv 2015 MIN 7530-02-000-9053                    j                      Domestic Return Recelol
                                                    State of Tennessee
                                              Circuit Court of Greene County
                                                       at Greeneville

TAKOMA REGIONAL HOSPITAL, INC.
fka TAKOMA HOSPITAL, INC.,et al.

                      Plaintiffs.                                                NO.          (`C IgOi/o2q,566
                                                                                          Jury Demanded
 V.

PURDUE PHARMA,LP., et al.

                      Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:         Watson Laboratories, Inc.                                 Method of Service:
             do Corporate Creations Network, Inc.                      TN Department of State
             8275 South Eastern Avenue #200                            Division of Business Services
             Las Vegas, Nevada 89123                                   Summons Section
                                                                       e  Floor, William R. Snodgrass Tower
                                                                       Nashville, TN 37243


        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

        If you fail to do so.judgment by default will be taken against you for the relief demanded in the
 Complaint.

             Issued this the                 day of                                      2019. at Q13o'clock             A.M.
                                                                             el) s            AtAwA
                                                                   Clerk    )
                                                                            0
                                                                            4

                                                                   Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

             Received this the      day of               . 2019.
                                                                       Deputy Sherriff                        n           taa

                                              RETURN ON SERVICE OF SUM MONS                                         rn    s•-••


I hereby certify and return that on the               day of               . 2019. 1 served this summons togettre
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the Complaint as follows:
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failed to serve this summons within 30 days after its issuance because


                                                             NOTICE
      I 1)      The original answer shall be filed with the Clerk of the Court simultaneously with service on
                plaintiffs' attorney.
      (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                             Division of Business Services
                                                                 Department of State
                                                                  State of Tennessee
      *77 is                                                   312 Rosa L. Parks AVE.6th FL
      •........•                                                 Nashville. TN 37243-1102
   Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                       08/12/2019
 101 S MAIN ST                                                                  Case #:CC19CV295 BB
 GREENEVILLE, TN 37743-5973
                                                                   Certified #:70180360000076091565


 RE: TAKOMA REGIONAL HOSPITAL, INC. f/k/a TAKOMA HOSPITAL, INC. et al.

 VS:PURDUE PHARMA, L.P. et al.

 Dear Clerk,

          Enclosed are the following papers in the above styled case:

         ❑✓ Original Summons
         ❑✓ Affidavit and Endorsement
        •Registered or Certified Return Receipt signed by:
               SEE GREEN CARD
         ❑ Registered or Certified letter returned refused
         ❑ Registered or Certified letter returned undelivered with notation:


                                                                 Sincerely,




                                                                 Tre Hargett
                                                                 Secretary of State




Enclosures: Original Documents
SS-4210(Rev 8/15)                                                                             RDA 1003
 ENDER: COMPLETE THIS SECTION                                   comPLE TE       THIS SECTION ON DELIVERY

111 Complete items 1, 2, and 3.                                 A. -Oignature
• Print your name and address on the reverse                                                                        O Agent
                                                                X                                                   O Addresse
  so that we can return the card to you.
• Attach this card to the back of the mailpiece,                B. Received by (Printed Name)                  C. Date of Deliver
  or on the front if space permits.
I. Article Addressed to:                                        D. Is delivery address different from item 1? 0 Yes
                                                                   If YES, enter delivery address below:      10 No
                                                                                                          RECEIVED
      PURDUE PHARMA,INC.
      80 STATE STREET                                                                                     AUG 0 5 19
      : CIO CORPORATION SERVICE COMPANY                                                                     CSC
      ALBANY, NY 12207                                                                                    COURIER
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                                                              3. Service Type
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         9590 9402 4611 8323 2557 07
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                                                              O Collect on Delivery                         Merchandise
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'018 0360 0000 7609 1473                                         nsured Mall Restricted Delivery
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)S Form 3811. July 2015 PSN 7530-02-000-9053                          -Z I                            Domestic Return Receio.
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 fic,a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs.                                                                    /qC  4
                                                                                                        / cP q
                                                                                                             . 5 66
                                                                                         J ury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Purdue Pharma, Inc.                                      Method of Service:
          c/o Corporation Service Company                          TN Department of State
          80 State Street                                          Division of Business Services
          Albany, New York 12207                                   Summons Section
                                                                   '
                                                                   6 Floor, William R. Snodgrass Tower
                                                                   Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the                  day of                                      . 2019 a4/... o'clock _A.M.

                                                                 Clerk
                                                                 ',Jam
                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019,
                                                                     Deputy Sherriff
                                                                                                          cr.)
                                                                                                          rrl
                                            RETURN ON SERVICE OF SUM MONS

I hereby certify and return that on the             day of               . 2019. 1 served this summons toraittier
the Complaint as follows:
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failed to sere this summons within 30 days after its issuance because                                               -CP

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                                                          NOTICE                                         C=1
   ( I)      The original answer shall be filed with the Clerk of the Court simultaneously with seRke on
             plaintiffs' attorney.
   (21.      All original exhibits filed with the answer shall be tiled with the Clerk of the Court.
                                                             Division of Business Services
                                                                 Department of State
                                                                  State of Tennessee
       7704                                                     312 Rosa L. Parks AVE. 6th FL
     •..........                                                  Nashville. TN 37243-1102
   Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                        08/14/2019
 101 S MAIN ST                                                                  Case #:CC19CV295 BB
 GREENEVILLE. TN 37743-5973
                                                                    Certified #:70180360000076091473


RE:TAKOMA REGIONAL HOSPITAL,INC. f/k/a TAKOMA HOSPITAL, INC. et al.

VS:PURDUE PHARMA, L.P. et al.

Dear Clerk,

         Enclosed are the following papers in the above styled case:
            Original Summons
         ❑✓ Affidavit and Endorsement
        0 Registered or Certified Return Receipt signed by:
               ILLEGIBLE
         ❑ Registered or Certified letter returned refused
         ❑ Registered or Certified letter returned undelivered with notation:


                                                                  Sincerely,




                                                                  Tre Hargett
                                                                  Secretary of State




Enclosures: Original Documents
SS-4210(Rev 8115)                                                                               RDA 1003
(*ENDER: COMPLETE THIS SECTION                       COI7PLE TE THIS SECTION ON DELIVERY

• Complete items 1, 2, and 3.                        A. Signature
• Print your name and address on the reverse                                                           •Agent
                                                     X                                                   O Addresse
 so that we can return the card to you.
• Attach this card to the back of the mailpiece,     B. Received by (Printed Name)                  C. Date of Deliver
 or on the front if space permits.
1. Article Addressed to:                             D. Is delivery address different from item 1? O Yes
                                                          vS.S, enter delivery adltieeptioreD ❑ No
     THE PURDUE FREDERICK COMPANY
                                                                                      AUG 0 5 19
     80 STATE STREET
     : C/O CORPORATION SERVICE COMPANY                                                 CSC
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     ALBANY, NY 12207-2543
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   Article Number (Transfer from service label)    O Collect on Delivery Restricted Delivery   O Signature ConfirmationT
                                                   — • wed Mail                                O Signature Confirmation
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S Form 3811. July 2015 PSN 7530-02-000-9053
)                                                        67-q1                             Domestic Return Recount
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL,INC.
 Oda TAKOMA HOSPITAL,INC.,et al.

                    Plaintiffs.                                                 NO.         MgC
                                                                                              ) )
                                                                                                (-- q5
                                                                                        J ury Demanded
 V.

 PURDUE PHARMA,L.P..et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      The Purdue Frederick Company                               Method of Service:
          c/o Corporation Service Company                            TN Department of State
          80 State Street                                            Division of Business Services
          Albany, New York 12207-2543                                Summons Section
                                                                     66 Floor, William R. Snodgrass Tower
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwv., Morristown,TN 37816-2046 a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the ici
                            q              day of                                                    53'clock >9.M.
                                                                             05
                                                                              _
                                                                 Clerk

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the             day of               . 2019. I served this summons togsfrfler wale
the Complaint as follows:
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failed to serve this summons within 30 days after its issuance because                                            1‘.1
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                                                                                                      m
                                                          NOTICE
   (1 )      The original answer shall be filed with the Clerk of the Court simultaneously with service_em        1›3
             plaintiffs' attorney.                                                                   2,e>         CJI
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court  r--
                                                             Division of Business Services
                                                                 Department of State
                                                                  State of Tennessee
         796                                                    312 Rosa L. Parks AVE.6th FL
     •       •                                                    Nashville. TN 37243-1102
   Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                        08/14/2019
 101 S MAIN ST                                                                  Case # CC19CV295 BB
 GREENEVILLE, TN 37743-5973
                                                                    Certified #:70180360000076085588


RE: TAKOMA REGIONAL HOSPITAL, INC. f/k/a TAKOMA HOSPITAL, INC. et al.

 VS:PURDUE PHARMA, L.P. et al.

Dear Clerk,

         Enclosed are the following papers in the above styled case:
       •Original Summons
         EI Affidavit and Endorsement
         I]Registered or Certified Return Receipt signed by:
               ILLEGIBLE
         ❑ Registered or Certified letter returned refused
         ❑ Registered or Certified letter returned undelivered with notation:


                                                                  Sincerely,




                                                                  Tre Hargett
                                                                  Secretary of State




Enclosures: Original Documents
SS-4210(Rev 8/15)                                                                              RDA 1003
           USPS'TRACKING#



         i i II
                                                                      First-Class Mail
                                                                      Postage & Fees Paid
                                                                      USPS
                                                                      Permit No. G-10


 9590 9402 4611 8323 2556 46
United States     •Sender. Please print your name, address, and ZIP+4® in this box•
Postal Service                        State of Tennessee
                                     Department of State
                                    Division of Business Services
                                    William R. Snodgrass "Fo‘ver
                                 312 Rosa I Parks Avenue. 6th Floor
                                        Nashville, TN 37243
                                                 State ofTennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

TAKOMA REGIONAL HOSPITAL. INC.
f/k/a TAKOMA HOSPITAL, INC.,et al.

                   Plaintiffs,                                                NO.           Crir Cv,„2 ,5„66
                                                                                      Jur) Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Teva Pharmaceuticals USA,Inc.                            Method of Service:
          c/o Corporate Creations Network, Inc.                    TN Department of State
          3411 Silverside Road                                     Division of Business Services
          Tatnall Building Ste. 104                                Summons Section
          Wilmington, DE 19810                                     6t
                                                                    h Floor, William R. Snodgrass Tower
                                                                   Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the                 day of                                        9. at        o'clock       A.M.
                                                               Clerk      t.
                                                                           4 2

                                                               Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the      day of               .2019.
                                                                   Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the            day of              . 2019. I served this summons together with
the Complaint as follows:
                                                                                                                      O

failed to serve this summons within 30 days after its issuance because                                                C—
                                                                                                            ---4      r—
                                                                                                          70—         IN)
                                                          NOTICE
   (I)       The original answer shall be filed with the Clerk of the Court simultaneously with service oncDZ-.
             plaintiffs' attorney.                                                                           r
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                                                                           -4         ••
                                                             Division of Business Services
                                                                 Department of State
                                                                  State of Tennessee
     ••:;
        :i:24::. •                                              312 Rosa L. Parks AVE,6th FL
                                                                  Nashville, TN 37243-1102
    Tre Hargett
  Secretary of State

 HON. CHRIS SHEPARD                                                                        08/14/2019
 101 S MAIN ST                                                                   Case #:CC19CV295 BB
 GREENEVILLE, TN 37743-5973
                                                                    Certified #:70180360000076091534


 RE: TAKOMA REGIONAL HOSPITAL, INC. f/k/a TAKOMA HOSPITAL, INC. et al.

 VS:PURDUE PHARMA, L.P. et al.

 Dear Clerk,

          Enclosed are the following papers in the above styled case:
             Original Summons
         Ei Affidavit and Endorsement
         ❑
         ✓ Registered or Certified Return Receipt signed by:
               ILLEGIBLE
         ❑ Registered or Certified letter returned refused
          ❑ Registered or Certified letter returned undelivered with notation:


                                                                  Sincerely,




                                                                  Tre Hargett
                                                                  Secretary of State




Enclosures: Original Documents
SS-4210(Rev 8/15)                                                                              RDA 1003
                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 ft/a TAKOMA HOSPITAL, INC., et al.

                   Plaintiffs,                                                NO.        L_ Ic4C V 736g
                                                                                      Jury Demanded
 V.

 PURDUE PHARMA,L.P..et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Russell Gasdia                                           Method of Service:
          40 Five Gate Lane                                        TN Department of State
          North Falmouth, MA 02556-2319                            Division of Business Services
                                                                   Summons Section
                                                                   6t
                                                                    h Floor, William R. Snodgrass Tower
                                                                   Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwv., Morristown,TN 37816-2046 a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the /, '
                             )            day of                                     2019. at 9•/5 o'clock         .M.

                                                               Clerk

                                                               Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the      day of               .2019.
                                                                   Deputy Sherriff
                                                                                                          U)       N.3
                                           RETURN ON SERVICE OF SUMMONS                                   rn       (=,
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I hereby certify and return that on the            day of              . 2019, 1 served this summons togetEEPINith c
the Complaint as follows:                                                                                '-
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failed to serve this summons within 30 days after its issuance because
                                                                                                                    MIC




                                                          NOTICE                                       -            O
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service MI
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                              Division of Business Services
                                                                  Department of State
                                                                   State of Tennessee
                                                                 312 Rosa L. Parks AVE.6th FL
     •••........                                                   Nashville, TN 37243-1102
   Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                        08/14/2019
 101 S MAIN ST                                                                   Case #:CC19CV295BB
 GREENEVILLE, TN 37743-5973
                                                                     Certified *70180360000076058704


 RE: TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

 VS:PURDUE PHARMA LP ET AL

Dear Clerk,

          Enclosed are the following papers in the above styled case:
          ❑
          ✓ Original Summons
             Affidavit and Endorsement
          El Registered or Certified Return Receipt signed by:
                RUSSELL GASDIA
          ❑ Registered or Certified letter returned refused
          ❑ Registered or Certified letter returned undelivered with notation:


                                                                   Sincerely,




                                                                   Tre Hargett
                                                                   Secretary of State




Enclosures: Original Documents
SS-4210(Rev. 8/15)                                                                              RDA 1003
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 Vic/a TAKOMA HOSPITAL. INC.. et al.

                    Plaintiffs,                                                  NO.    (i_ei9e_V 9566
                                                                                         Jury Demanded


 PURDUE PHARMA. L.P., et al.

                    Defendants.

    TO THE ABOVE NAMED DEFENDANTS:

 TO:      CVS Indiana, L.L.C.                                         Method of Service:
          do CT Corporation System                                    TN Department of State
          150 West Market Street, Suite 800                           Division of Business Services
          Indianapolis, IN,46204                                      Summons Section
                                                                      6th Floor, William R. Snodgrass Tower
                                                                      Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney. whose
 address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you. within 30 days after service of this summons upon you,
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     /c2          day of                                       2019. at         o'clock   .M.
                                                                         1/
                                                                  Clerp zoo5

                                                                  Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of                , 2019.
                                                                      Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the             day of              . 2019, I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          N OTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
 "TENDER: COP.,11)LETE THIS SECTION                                   C OMPI.1. 11. 1 HIS     CTI01, 0i%! [ftt LivL

•Complete items 1,2,and 3.
is Print your name and address on the reverse                                                                             Agent
   so that we can return the card to you.                                                                               0 Addressee
II Attach this card to the back of the maliplece,                                                                           Deliver)
   or on the front if_sacs_
    CEPHALON INC                                                                            different from titn
                                                                                       delivery address below:
    TATNALL BUILDING STE 104                                                                                            0 No
    3411 SILVERSIDE ROAD                                                                     At1
                             NETWORK INC
     CIO CORPORATE CREATIONS
    WILMINGTON, DE 19810


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                                                State ofTennessee
                                          Circuit Court of Greene County
                                                   at Greeneville

TAKOMA REGIONAL HOSPITAL,INC.
f/k/a TAKOMA HOSPITAL,INC.,et al.

                   Plaintiffs,                                               NO.                _ /A95,6,e3
                                                                                           _O qe)
                                                                                      Jury Demanded
 V.

PURDUE PHARMA,L.P., et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

TO:       Cephalon, inc.                                            Method of Service:
          c/o Corporate Creations Network, Inc.                     TN Department of State
          3411 Silverside Road                                      Division of Business Services
          Tatnall Building Ste. 104                                 Summons Section
          Wilmington, DE 19810                                      6th Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
Complaint which is herewith served upon you. within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so.judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the     /2
                               2          day of                                      2019
                                                                                       :  :t          o'clock itg .M.

                                                                Clerk;

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the      day of                 2019.
                                                                    Deput) Sherriff
                                                                                                       Cr)     IV
                                                                                                       ril     CZ
                                           RETURN ON SERVICE OF SUMMONS
1 hereby certif)
               . and return that on the            day of             , 2019. I served this summons toter Ai
the Complaint as follows:
                                                                                                      ,X)-._   IV


failed to serve this summons within 30 days after its issuance because                                %-)




                                                          NOTICE
   ( I)      The original answer shall be filed with the Clerk of the Court
             plaintiffs' attorney.                                            simultaneous13 with serVire on
   (2).      All original exhibits filed with the answer shall be filed
                                                                        with the Clerk of the
                                                                                              Court.
                                                             Division of Business Services
                                                                 Department of State
                                                                  State of Tennessee
           796                                                   312 Rosa L. Parks AVE.6th FL
                                                                   Nashville. TN 37243-1102
    Tre Hargett
  Secretary of State
                              AFFIDAVIT AND ENDORSEMENT
 Case #: CC19CV295BB                                                                     08/14/2019
 Certified #: 70180360000076058667                                          SOS Summons #: 07785077
  RE:TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

  VS:PURDUE PHARMA LP ET AL

       I, ANNE HACKNEY, having been duly authorized by Tre Hargett, Secretary of State of
 Tennessee, do hereby make oath on his behalf and under authorization as follows:

        That on 07/29/2019, I received from the plaintiff the original and certified copies of the
 process, notice or demand issued against CEPHALON INC AKA/POE: C/O CORPORATE
 CREATIONS NETWORK INC
 whose address is: 341 1 SILVERSIDE ROAD, WILMINGTON, DE 19810,
 and that on 07/31/2019, I mailed by registered or certified return-receipt mail the certified copies
 of the process, notice, or demand to the above address together with a written notice that service
 was made.

        I further make oath that the return receipt for the registered or certified letter was received
 at my office in Nashville, Tennessee, on 08/13/2019, and returned to GREENE COUNTY -
 CIRCUIT COURT of GREENEVILLE, TN on 08/14/2019.




                                                                   Tre Hargett
                                                                   Secretary of State
                                                         B



 Sworn to and subscribed before me this

  )
  4 day of                           ,20/
 Notary Public

 My Commission Expires:     ovi -cce .Du36
SS-4201(Rev. 9/15)                                                                              RDA 1003
 ENDER. COMPLETE THIS SECTION

III Complete items 1,2,
                                                                                                                   El Agent
    Print your name and address on the reverse
    so that we can return the card to you.                                                                      0 Addresse
                                                                                                             C Date of
I Attach this card to the.back of the malipiece,
    or on the front If space permits.
                                                                                                         1? Yes
    ACTAVIS LLC                                                                :
                                                                               er           address t*tw: 0+4-
    TATNALL BUILDING STE 104
    3411 SILVERSIDE ROAD      IP                                                       A!  :LI
    : C/0 CORPORATE CREATIONS NETVVORK IN
    WILMINGTON, DE 19810
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                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                             NO.            ef1Qn/ 95
                                                                                    Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Actavis LLC                                            Method of Service:
          c/o Corporate Creations Network, Inc.                  TN Department of State
          3411 Silverside Road                                   Division of Business Services
          Tatnall Building Ste. 104                              Summons Section
          Wilmington, DE 19810                                   6t
                                                                  h Floor, William R. Snodgrass Tower
                                                                 Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046.a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the         /, ') day of                                     2019,   at9
                                                                                             :15 o'clock       .M.

                                                             Clerk
                                                                                            J
                                                             Deputy Clerk
                                                                         QQ.;
                                                                            l LS


(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of            .2019.
                                                                 Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the          day of              . 2019. 1 served this summons togai,wit
the Complaint as follows:                                                                            ter-
                                                                                                    -71


failed to serve this summons within 30 days after its issuance because                                         •••0
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                                                          N OTICE                                              O
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service        tV
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                           Division of Business Services
                                                               Department of State
                                                                State of Tennessee
                                                              312 Rosa L. Parks AVE. 6th FL
                                                                Nashville. TN 37243-1102
   Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                       08/14/2019
 101 S MAIN ST                                                                  Case #:CC19CV295BB
 GREENEVILLE, TN 37743-5973
                                                                   Certified #:70180360000076058582


 RE: TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

 VS:PURDUE PHARMA LP ET AL

Dear Clerk,

         Enclosed are the following papers in the above styled case:
        •Original Summons
         O Affidavit and Endorsement
        •Registered or Certified Return Receipt signed by:
               SEE GREEN CARD
        •Registered or Certified letter returned refused
         ❑ Registered or Certified letter returned undelivered with notation:


                                                                 Sincerely,




                                                                 Tre Hargett
                                                                 Secretary of State




Enclosures: Original Documents
SS-4210(Rev 8/15)                                                                             RDA 1003
  ENDER: COMPI ETE THIS SECTION                                           COMPLETE- THIS SECTION ON DELIVERY

•Complete items 1,2, and 3.                                               A. Signature
O Print your name and address on the reverse                                                                            O Agent
                                                                          X
   so that we can return the card to you.                                                                             •Addr    ess€
IN Attach this card to the back of the mailpiece,                                                                  C. Date of Deliver
   or on the front if space permits.
1.                                                                        D. Is        address,
         ABBOTT LABORATORIES                                                 If YES,enter delivery address
         SUITE 814
         208 SO LASALLE ST
         : CIO C T CORPORATION SYSTEM
   •     CHICAGO,IL 60604
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                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 filua TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs.                                                NO.            LiceJozq 66
                                                                                         Jury Demanded
 V.

 PURDUE PHARMA, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Abbott Laboratories                                       Method of Service:
             C T Corporation System                                 TN Department of State
          208 So. LaSalle St., Suite 814                            Division of Business Services
          Chicago, IL 60604                                         Summons Section
                                                                    6th Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney. whose
address is 1 702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046. a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken aeainst you for the relief demanded in the
Complaint.

          Issued this the                  day of                                     . 2019. aty    o'clock    .M.

                                                                Clerk /0idaj
                                                                           :15_

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Recei‘ed this the       day of               .2019.
                                                                    Deputy Sherriff

                                            RETURN ON SERVICE OF SUM MONS                                  —
                                                                                                        rn
I hereby certify and return that on the             day of            . 2019. 1 served this summons togetOr Aith r--
the Complaint as follows:                                                                                  -
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failed to sene this summons within 30 days after its issuance because
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                                                          NOTICE                                         rn      IN)
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with sen ice on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                              Division of Business Services
                                                                  Department of State
                                                                   State of Tennessee
                                                                 312 Rosa L. Parks AVE.6th FL
                                                                   Nashville. TN 37243-1102
    Tre Hargett
  Secretary of State

 HON. CHRIS SHEPARD                                                                        08/14/2019
 101 S MAIN ST                                                                   Case #:CC19CV295BB
 GREENEVILLE, TN 37743-5973
                                                                     Certified #:70180360000076058575


 RE: TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

 VS:PURDUE PHARMA LP ET AL

 Dear Clerk,

          Enclosed are the following papers in the above styled case:
        •Original Summons
        •Affidavit and Endorsement
          El Registered or Certified Return Receipt signed by:
                SEE GREEN CARD
          E Registered or Certified letter returned refused
          D Registered or Certified letter returned undelivered with notation:


                                                                   Sincerely,




                                                                   Tre Hargett
                                                                   Secretary of State




Enclosures: Original Documents
SS-4210(Rev. 8/15)                                                                              RDA 1003
                       ETE THIS SECTION                        0P.1''            L THIS SECTION      D

  Complete its 1, 2,and 3.                                    A. *patties
■ Print your name and address on the reverse                                                                     C..1 Agent
                                                              X                                                  ❑ AddressE
  so that we can return the card to you.
•Attach this card to the back of the mailpiece,               B. Received            Grin                   C. Date of Deliver
  or on the front if space permits.
    Article Addressed to:                                                                         from item 1? 0 Yes
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                                                          State of Tennessee
                                                    Circuit Court of Greene County
                                                             at Greeneville

       TAKOMA REGIONAL HOSPITAL. INC.
       a/a TAKOM A HOSPITAL INC.,et al.

                          Plaintiffs.                                                  NO.        (  ,
                                                                                                     10        0
                                                                                                          C C 1/
                                                                                                       ,I )     ?9            t 6
                                                                                                                              6 .
                                                                                                 Jury Demanded
       V.

       PURDUE PHARMA,L.P.,et al.

                          Defendants.

            TO THE ABOVE NAMED DEFENDANTS:

       TO:      Johnson & Johnson                                            Method of Service:
                One Johnson & Johnson Plaza                                  TN Department of State
                New Brunswick, New Jersey 08933                              Division of Business Services
                                                                             Summons Section
                                                                             e Floor, William R. Snodgrass Tower
                                                                             Nashville, TN 37243

               You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
       address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046. a true copy of the answer to the
       Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
       exclusive of the day of service. You will file the original with the Court.

              If you fail to do so,judgment by default will be taken against you for the relief demanded in the
       Complaint.

                Issued this the /       2         day of                                       2019. at        o'clock P.M.
                                                                                               5,
                                                                                                /zi
                                                                        Clerk

                                                                        Deputy Clerk
                                                                                      ~   '    ijS
      (This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

                Received this the       day of                . 2019.
                                                                             Deputy Sherriff

                                                    RETURN ON SERVICE OF SUMMONS

       1 hereby certify and return that on the             day of               . 2019. I served this summons together with
       the Complaint as follows:                                                                                    ,
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       failed to serve this summons     within   30 days after its issuance because

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                                                                NOTICE                                         0 -- ‘4          )
         ( I)      The original answer shall be filed with the Clerk of the Court simultaneously with serviat4n             —0
                   plaintiffs' attorney.                                                                      cr)-       2
         (2).      All original exhibits filed with the answer shall he filed vvith the Clerk of the Court. .1";"; -     -......
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                                                            Division of Business Services
                                                                Department of State
                                                                 State of Tennessee
         77 6                                                   312 Rosa L. Parks AVE,6th FL
       • ........•
                                                                  Nashville, TN 37243-1102
   Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                        08/14/2019
 101 S MAIN ST                                                                   Case #:CC19CV295BB
 GREENEVILLE, TN 37743-5973
                                                                    Certified #:70180360000076058711


 RE:TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

 VS:PURDUE PHARMA LP ET AL

 Dear Clerk,

          Enclosed are the following papers in the above styled case:
          ❑✓ Original Summons
        •Affidavit and Endorsement
        •Registered or Certified Return Receipt signed by:
                 ILLEGIBLE
        •Registered or Certified letter returned refused
          ❑ Registered or Certified letter returned undelivered with notation:


                                                                  Sincerely,




                                                                  Tre Hargett
                                                                  Secretary of State




Enclosures: Original Documents
SS-4210(Rev 8/15)                                                                              RDA 1003
.ENDER: COMPLETE - T HIS SECTION                       COMPLETE THIS SECTION ON DELIVERY

■ Complete items 1, 2, and 3.                               g ture
■ Priht your name and address on the reverse                                                                O Agent
  so that we can return the card to you.                                                                    ❑ Addresse
I Attach this card to the back of the mailpiece,    swolveceolibtwer                                   C. Date of Deliver
  or on the front ifl   e permits.
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   Fnrm     Ft1 1       9n1F PCN 7sfan-n9-nnmongn                                           Ilewniaatie• Rats irn Raroini
                                                     State of Tennessee
                                              Circuit Court of Greene County
                                                       at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
    TAKOMA HOSPITAL,INC.,et al.

                       Plaintiffs.                                            NO.          ClictCvA.5,66
                                                                                        Jury Demanded
 V.

 PURDUE PHARMA,L.P., et al.

                       Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:         Kroger Limited Partnership II                          Method of Service:
             1014 Vine St                                           TN Department of State
             Cincinnati, OH 45202                                   Division of Business Services
                                                                    Summons Section
                                                                    6t
                                                                     h Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1 702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046, a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so.judgment by default will be taken against you for the relief demanded in the
 Complaint.

             Issued this the     1 2 day of                •                   . /019. at Q.V-5o'clock 19 .M.
                                                                           2,1 :
                                                                               9Z/ ,    11V—
                                                               Clerkp

                                                               Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

             Received this the       day of          . 2019.
                                                                    Deputy Sherriff

                                              RETURN ON SERVICE OF SU M MONS                           V)         IV
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1 hereby, certify and return that on the          day of               . 2019. I served this summons toptheir wj
the Complaint as follows:                                                                              rn:    C


failed to sene this summons within 30 days after its issuance because
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      1 I)      The original answer shall be filed with the Clerk of the Court simultaneously with servia on      —
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                plaintiffs' attorney.
   (2).         All original exhibits filed with the answer shall be filed with the Clerk of the Court.
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                                                              Division of Business Services
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      AGRIC    URE
                                                                  Department of State
 •                                                                 State of Tennessee
        •7fri*                                                  312 Rosa L. Parks AVE. 6th FL
       •.........
                                                                  Nashville. TN 37243-1102
   Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                        08/14/2019
 101 S MAIN ST                                                                   Case #:CC19CV295 BB
 GREENEVILLE, TN 37743-5973
                                                                    Certified #:70180360000076085557


 RE: TAKOMA REGIONAL HOSPITAL, INC. f/k/a TAKOMA HOSPITAL, INC. et al.

 VS:PURDUE PHARMA, L.P. et al.

 Dear Clerk,

          Enclosed are the following papers in the above styled case:
              Original Summons
              Affidavit and Endorsement
        •Registered or Certified Return Receipt signed by:
                    JOHN CHESSEY
          ❑ Registered or Certified letter returned refused
          ❑ Registered or Certified letter returned undelivered with notation:


                                                                   Sincerely,




                                                                  Tre Hargett
                                                                  Secretary of State




Enclosures: Original Documents
SS-4210(Rev. 8/15)                                                                              RDA 1003
•
'
                                                  State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL, INC.,et al.

                    Plaintiffs,                                                   NO.       (Ligro93 M
                                                                                            Jury Demanded
 V.

 PURDUE PHARMA, L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Janssen Pharmaceuticals, Inc.
          cto C T Corporation System
          300 Montvue Rd
          Knoxville, TN 37919-5546


         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046. a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the         /2. day of                                          . • 201                 o'clock /4/ .M.

                                                                 Clerk

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the/7 day of                   . 2019.
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                                            RETURN ON SERVICE OF SUMMONS

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failed to serve this summons within 30 days after its issuance because



                                                           NOTICE ---
   ( I)       The original answer shall be filed with the Clerk of the Court simultaneously with sera ice on
              plaintiffs' attorney.
   (2).       All original exhibits filed with the answer shall be filed with the Clerk of the Court.




                                                Jerry Long                             ivicrristo-:                             l ,-.
                                                                                                                                  c/
                      IN THE CIRCUIT COURT FOR GREENE COUNTY
                             AT GREENEVILLE,TENNESSEE


TAKOMA REGIONAL HOSPITAL INC.,
et al.,

        Plaintiffs,

v.                                                                             No. CC19CV295BB

PURDUE PHARMA L.P., et al.                                                                                           —
                                                                                      TIMit
         Defendants.
                                                                AUG 1 5 2019
                         CONSENT MOTION FOR ORDER EXTENDI,46
                                                            DrIkpon..cd
                                      TIME TO FILE RESPONSE                              ircu it Cou CI k

        Now come Defendants The Kroger Co., Kroger Limited Partnership II, Walmart Inc.,'

Wal-Mart Stores East, LP, and Walgreens Boots Alliance, Inc. (the "Kroger, Walmart. and

Walgreens Defendants"), by their undersigned counsel, and move for a Consent Order extending

the time to file their response to the Complaint. In support thereof, the Kroger, Walmart, and

Walgreens Defendants state as follows:

        1.       Plaintiffs have agreed to a Consent Order (attached hereto) extending the time for

        the Kroger, Walmart, and Walgreens Defendants to file their response until October 1,

        2019.

        2.       This extension is not sought for delay but made in the interests ofjudicial economy.

        The moving Defendants have not previously requested any extension oftime to respond to

        the Complaint in this case.




       'Plaintiffs named Wal-Mart Inc. as a defendant to this action. As of February 1.2018, Wal-Mart Stores, Inc.
became known as Walmart Inc., not Wal-Mart Inc.
51 Louisiana Avenue, N.W.
 Washington. Washington. D.C. 20001-
2113
T: 202.879.3939
F: 202.626.1700
jgeddesrimujonesday.com

Christopher Lovrien*
Sarah G. Conway*
JONES DAY
555 S. Flower St., Fiftieth Floor
Los Angeles. CA 90071-2452
T: 213.489.3939
F: 213.243.2539
cjlovrien*onesday.com
sgconwayrcijonesday.com

Attorneysfor Defendants Walmart Inc.
and Wal-Mart Stores East. LP


                                41y,44

 VNAk.Kkie•wsp, C\r.                rr.,„„
 Matthew J. Evans(BPR #017973)
Paige Coleman(BPR #032690)
 KAY GRIFFIN, PLLC
900 S. Gay Street, Suite 802
 Knoxville, Tennessee 37902
(865)314-8422
(865)320-0894

Counsel.for Walgreens Boots Alliance. Inc.


* denotes national counsel who will seek
pro hac vice admission
                                           JOSH HOEPPNER
201 West Sulitva,Sheet                            A TTORNEY AT LAW                      Ph 423 247 6151
K:ngspor . 7N 37660                                                                 Josh©HoeppnerLew.com

                                       HOEPPNERLAW.COM

August 13. 2019


Pam Venable
Greene County Circuit Court Clerk
101 South Main Street #302
Greeneville, TN 37743

Re:     Takoma Regional Hospital,Inc.,et. al. vs. Purdue Pharma,L.P.,et. al.
        Greene County Circuit Court Case No. CC19-CV-295BB

Dear Ms. Venable:

       Please find the enclosed Consent Motion for Order Extending Time to File Response (and copy),
regarding the above-styled case. I would appreciate if you could file the original and mark the copy filed,
and then return it to me in the envelope I have provided.

        If you have any questions or comments, do not hesitate to contact me.

Sincerely.


Josh Hoeppner
Attorney at Law



Enclosures

Cc:    (As indicated by Certificate of Service)




                                                                     FaLEID
                                                                 TIME         I
                                                                          A UG 16 2019

                                                               I Circ                   Clerk
               IN THE CIRCUIT COURT OF GREENE COUNTY,TENNESSEE

TAKOMA REGIONAL HOSPITAL, INC. flkla,
TAKOMA HOSPITAL,INC.. et al.

        Plaintiffs,                                                         FILED
                                                                        ciagt295BB
 V.


PURDUE PHARMA,L.P., et al.,
                                                                                   AUG 15 2019
                                                     )                   C 1-1.0,pooci
        Defendants.                                  )                   Circuit Co           C
  CONSENT MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

        Plaintiffs and Defendants AmerisourceBergen Drug Corporation ("AmerisourceBergen-)

and Cardinal Health. Inc. ("Cardinal") hereby move for an extension of time through and

including October 1, 2019. to respond to the Complaint in this matter. In support of this Motion.

Plaintiffs and Defendants AmerisourceBergen and Cardinal assert the following:

         1.     AmerisourceBergen was served with Plaintiffs' Summons and Complaint on July

18, 2019. Pursuant to Tennessee Rule of Civil Procedure 12, AmerisourceBergen's response to

the Complaint is due on or before August 19, 2019.

        2.      Cardinal was served with Plaintiffs' Summons and Complaint on August 5, 2019.

Pursuant to Tennessee Rule of Civil Procedure 12. Cardinal's response to the Complaint is due

on or before September 4, 2019.

        3.      The Complaint, which is brought by 22 named plaintiffs, contains 1.096

paragraphs of allegations over 336 pages and asserts six causes of action against dozens of

defendants (and numerous distinct groups of defendants). Given the Complaint's length and

complexity. defendants need additional time to respond to it.

        4.      Plaintiffs do not oppose the extension of time requested herein.




1 7982912v1
                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that an exact copy of this pleading has been served upon
counsel for all parties in this action, or upon said parties themselves as required by law, by
delivering a copy thereof, or by depositing a copy of the same in the United States Mail. with
sufficient postage affixed thereto to ensure delivery' to the following:

                Gary E. Brewer
                Brewer & Terry. P.C.
                1 702 W. Andrew Johnson Highway
                Morristown. Tennessee 37814

                Nathan Bicks
                Burch, Porter & Johnson. PLLC
                1 30 North Court Avenue
                Memphis. TN 38103


         This the 14t
                    h day of August. 2019.

                                             MILLER & MARTIN PLLC


                                             By:




                                                3
1 7982912v1
FENDER. COMPLETE THIS SECTION                                      FT!    HIS SECTION ON DELIVI7f?Y

I Complete Items 1, 2, and 3.                            A. Signature
■ Print your name and address on the reverse                                               APS
  so that we can return the card to you.                      S  i  e d  a W    att     aAddiesse
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  or on the front if space permits.
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   251 LITTLE FALLS DRIVE
   :C/O CORPORATION SERVICE COMPANY
   WILMINGTON, DE 19808


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                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL, INC.
 Vida TAKOM A HOSPITAL, INC., et al.

                   Plaintiffs,                                                NO.         (t iaci/:
                                                                                                  c29.
                                                                                        Jury Demanded
 V.

 PURDUE PHARMA,L.P., et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:     Amneal Pharmaceuticals, Inc.                              Method of Service:
         c/o Corporation Service Company                           TN Department of State
         251 Little Falls Drive                                    Division of Business Sen ices
         Wilmington, DE 19808                                      Summons Section
                                                                   6t
                                                                    h Floor, William R. Snodgrass Tower
                                                                   Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy.. Morristown,TN 37816-2046. a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so. judgment by default will be taken against you for the rel ief demanded in the
Complaint.

         Issued this the /c2
                          ) \             day of                                     , 2019, at   po'elock             M.

                                                               Clerk
                                                                       ebt
                                                                        ,
                                                                         ioJavi
                                                                             )
                                                               Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedure,

         Received this the       day of               ,2019,
                                                                   Deputy Sherriff

                                           RETURN ON SERVICE OF SU MMONS

I hereby certify and return that on the            day of              . 2019. I served this summons together   with
the Complaint as follows:                                                                                              ti
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failed to serve this summons within 30 days after its issuance because                                        r- r—
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             The original answer shall be filed with the Clerk of the Court simultaneously s\i ih service-6r--
             plaintiffs' attorney.                                                                      (r)
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             All original exhibits filed with the answer shall be filed with the Clerk of the t oda.               ••

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                                                            Division of Business Services
                                                                Department of State
                                                                 State of I ennessee
              ...
                                                                312 Rosa L. Parks AV L. 6th FL
                                                                  Nashville. I N 37243-1102
    Tre Hargett
  Secretary of State
                              AFFIDAVIT AND ENDORSEMENT
 Case #: CC19CV295BB                                                                    08/12/2019
 Certified #: 70180360000076058605                                         SOS Summons #: 07783788
 RE:TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

 VS:PURDUE PHARMA LP ET AL

       I, ANNE HACKNEY, having been duly authorized by Tre Hargett, Secretary of State of
 Tennessee, do hereby make oath on his behalf and under authorization as follows:

        That on 07/29/2019, I received from the plaintiff the original and certified copies of the
 process, notice or demand issued against AMNEAL PHARMACEUTICALS INC AKA/POE: C/O
 CORPORATION SERVICE COMPANY
 whose address is: 251 LITTLE FALLS DRIVE, WILMINGTON, DE 19808
 and that on 07/31/2019, I mailed by registered or certified return-receipt mail the certified copies
 of the process, notice, or demand to the above address together with a written notice that service
 was made.

        I further make oath that the return receipt for the registered or certified letter was received
 at my office in Nashville, Tennessee, on 08/08/2019, and returned to GREENE COUNTY -
 CIRCUIT COURT of GREENEVILLE, TN on 08/12/2019.



                                                                  IQ     ala
                                                                   Tre Hargett
                                                                                     'i

                                                                   Secretary of Sta e




 Sworn to and subscribed before me this
    t-9-- day of


 Notary Public

 My Commission Expires:      oti          a.)-Do
SS-4201(Rev. 9/15)                                                                               RDA 1003
              IN THE CIRCUIT COURT OF GREENE COUNTY,TENNESSEE

TAKOMA REGIONAL HOSPITAL,INC. Vida, )
TAKOMA HOSPITAL,INC., et al.        )
                                    )
    Plaintiffs.                     )
                                    )                       Case No. CC19CV295BB
v.                                  )
                                    )
PURDUE PHARMA, L.P., et al.,        )
                                    )
    Defendants.                     )

     ORDER GRANTING EXTENSION OF TIME TO RESPOND TO COMPLAINT

         After consideration of the Consent Motion for Extension of Time to Respond to

Complaint, and for good cause shown, it is hereby:

        ORDERED that Defendants AmerisourceBergen Drug Corporation and Cardinal Health.

Inc. shall have an extension of time up to and including October 1, 2019, to respond to Plaintiffs'

Complaint.

        Entered this       day of                       , 2019.



                                                                    .11
                                                     G rene County Circu t Court Judge




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1 7983401v1
                                       CERTIFICATE OF CLERK

        I. Chris Shephard                       Clerk of Circuit Court for Greene       County, do

hereby certify that a true and exact copy of these documents have been served upon

Gary E Brewer, Esq @ 1702 W Andrew Johnson Hwy, Morristown TN 37814


Roger W Dickson g 832 Georgia Avenue Suite1200, Chattanooga TN 37402




by placing a true and exact copy in the U.S. Mail, or by hand delivery, with sufficient postage to

carry same to its destination.

       This the 21st        day of August             — 20 19




                                                       Chris Shepard
                                                                                            Clerk

                                                       Tonya Stills
                                                                                    Deputy Clerk
                                                                      IL THIS. "-•   —TION ON DELIVER"?'

  COnviete items 1,2, and 3.
• Print your name and address on the reverse                                                                  0 Agent
 so that we can return the card to you.                                                                       0 Addresse
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    WILMINGTON, DE 19801                                                   CT CORPORATION
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                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 ffk/a TAKOMA HOSPITAL, INC.,et al.

                   Plaintiffs,                                                NO.         Celq6aqi 66
                                                                                        Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Assertio Therapeutics, Inc.                               Method of Service:
          do The Corporation Trust Company                          TN Department of State
          Corporation Trust Center                                  Division of Business Services
          1209 Orange Street                                        Summons Section
          Wilmington, DE 19801                                      6th Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046,a true copy of the answer to the
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        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     42?         day of                                       2019, at         o'clock #.M.
                                                                                      -- 111
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                                                                Clerk
                                                                          cj AW
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                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the      day of               . 2019,
                                                                    Deputy Sherriff

                                           RETURN ON SERVICE OF SUMMONS                                m           c.D
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                                                                                                     ,  f) —       c_
I hereby certify and return that on the            day of               . 2019. I served this summons fait:titer   cao
the Complaint as follows:
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failed to serve this summons within 30 days after its issuance because                                    c        —0
                                                                                                          1
                                                                                                       'J)
                                                                                                           ••
                                                          NOTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on 40
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall he filed with the Clerk of the Court.
                                                             Division of Business Services
                                                                 Department of State
                                                                  State of Tennessee
                                                                  312 Rosa L. Parks AVE. 6th H.
                                                                    Nashville. TN 37243-1102
 Secretary of State

 HON. CHRIS SHEPARD                                                                          08/20/2019
 101 S MAIN ST                                                                     Case #:CC19CV295BB
 GREENEVILLE, TN 37743-5973
                                                                      Certified #:70180360000076058636


RE: TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

 VS:PURDUE PHARMA LP ET AL

Dear Clerk,

         Enclosed are the following papers in the above styled case:
       •Original Summons
       •Affidavit and Endorsement
         1111 Registered or Certified Return Receipt signed by:
              C T CORPORATION
         ❑ Registered or Certified letter returned refused
         ❑ Registered or Certified letter returned undelivered with notation:


                                                                    Sincerely,




                                                                    Tre Hargett
                                                                    Secretary of State




Enclosures: Original Documents
SS-4210(Rev 8115)                                                                                 RDA 1003
     1DER. C              iT THIS SECTION                                 C 0,(1,1/11. F   THIS   • 71(... .)Pi' OPJ DELIVERY


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  or on the front if s c.e permits.
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                                                 State of Tennessee
                                           Circuit Court of Greene County
                                                    at Greeneville

TAKOMA REGIONAL HOSPITAL. INC.
ft'a TAKOMA HOSPITAL, INC.,et al.

                   Plaintiffs.                                                  NO.      (  IL ( 4 J/A
                                                                                                /(                66
                                                                                         Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      CVS Health Corporation                                       Method of Service:
          do The Corporation Trust Company                             TN Department of State
          Corporation Trust Center                                     Division of Business Services
          1209 Orange St                                               Summons Section
          Wilmington, DE 19801                                          h Floor, William R. Snodgrass Tower
                                                                       6t
                                                                       Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy.. Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you. within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the     a           day of                                         2019. t qi5 o'clock          .M.

                                                                Cler
                                                                         , HS
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the      dav of                 2019.
                                                                       Deputy Sherriff

                                           RETURN ON SERVICE OF SU MMONS

I hereby certify and return that on the            day of                . 2019. I served this summons together with
the Complaint as follows:                                                                                  ci)      1,-3
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failed to sere this summons within 30 days after its issuance because                                      --I
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                                                          NOTICE                                      c)&          ..0
   (I)       The original answer shall be filed with the Clerk of the Court simultaneously with servicrOrt,        =
             plaintiffs' attorney.                                                                    co —'        . ...
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   (2).      All original exhibits filed with the answer shall be tiled with the Clerk of the Court.               ••
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                                                                                                          rn       ......J
                                                             Division of Business Services
                                                                 Department of State
                                                                  State of Tennessee
                                                                312 Rosa L. Parks AVE. 6th FE
     '•.........                                                  Nashville. TN 37243-1 102
   Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                        08/20/2019
 101 S MAIN ST                                                                  Case #:CC19CV295BB
 GREENEVILLE, TN 37743-5973
                                                                    Certified #:70180360000076058674


RE: TAKOMA REGIONAL HOSPITAL INC F/K/A TAKOMA HOSPITAL INC ET AL

VS!PURDUE PHARMA LP ET AL

Dear Clerk,

         Enclosed are the following papers in the above styled case:
         Ei Original Summons
            Affidavit and Endorsement
        [11 Registered or Certified Return Receipt signed by:
              C T CORPORATION
         ❑ Registered or Certified letter returned refused
         ❑ Registered or Certified letter returned undelivered with notation:


                                                                  Sincerely,




                                                                  Tre Hargett
                                                                  Secretary of State




Enclosures: Original Documents
SS-4210(Rev 8/15)                                                                               RDA 1003
                                             State of Tennessee
                                       Circuit Court of Greene County
                                                at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 f/k/a TAKOMA HOSPITAL,INC.,et al.

                   Plaintiffs,                                            NO.   (L
                                                                                 (Jq  S6
                                                                                     29 1
                                                                                   Jury Demanded
 V.
 PURDUE PHARMA,L.P., et al.

                   Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Endo Pharmaceuticals, Inc.
          c/o C T Corporation System
          300 Montvue Rd.
          Knoxville, TN 37919-5546

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
 address is 1702 W. Andrew Johnson Hwy.,Morristown,TN 37816-2046,a true copy of the answer to the
 Complaint which is herewith served upon you. within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the    /p       day of                                        t              o'clock   .M.
                                                                    h -7         V49
                                                           Clerk
                                                                              n5
                                                           Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the / 7 day of J1,
                                         ./      . 2019.
                                                                Deputy hem      ps
                                       RETURN ON SERVICE OF SUM MONS

I hereby certify and return that on the 1 Y day of                   2019. I served this summons together with
the Complaint as follows:              .1   &ide             iteki 4-ce. ...,-/e'
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failed to serve this summons within 30 days after its issuance because

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                                                          N OTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with ser ice on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.




                                                                        P.C. Box 1303
                                  Jerry Long                         Morristown,TN :.37816
                                                     State ofTennessee
                                               Circuit Court of Greene County
                                                        at Greeneville

TAKOMA REGIONAL HOSPITAL. INC.
flki a TAKOMA HOSPITAL, INC.,et al.

                      Plaintiffs,                                            NO.                   Cliq5         66
                                                                                        Jury Demanded
 V.

 PURDUE PHARMA,LP.,et al.

                      Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:         H.D. Smith, LLC                                      Method of Service:
             do The Corporation Trust Company                     TN Department of State
             Corporation Trust Center                             Division of Business Services
             1209 Orange St.                                      Summons Section
             Wilmington, DE 19801                                 6 Floor, William R. Snodgrass Tower
                                                                  '
                                                                  Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy.,Morristown,TN 37816-2046, a true copy of the answer to the
Complaint which is herewith served upon you. within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so. judgment by default will be taken against you for the relief demanded in the
Complaint.

             Issued this the        /Z        day of                                  . 2019.pt q
                                                                                                ":.5 o'clock      .M.

                                                                Clerkp
                                                                                145
                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

             Recei‘ed this the      clay of            .2019.
                                                                    Deputy Sherriff

                                               RETURN ON SERVICE OF SU M MONS                          (..r)       c=.4
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I hereby certify and return that on the      day of                . 2019. I served this summons togetrier—with,
the Complaint as follows:                                                                             rrt,; ••• —,
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failed to serve this summons within 30 days after its issuance because                                    .7-7.•
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                                                             NOTICE                                      --4 —    ••

   (I)          The original answer shall be filed with the Clerk of the Court simultaneously with service-on
                plaintiffs' attorney.                                                                    rri
      12).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                                                             Division of Business Services
                                                                 Department of State
                                                                  State of Tennessee
       fföll                                                    312 Rosa L. Parks AVE.6th FL
      *********                                                   Nashville. TN 37243-1102
   Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                        08/20/2019
 101 S MAIN ST                                                                  Case #:CC19CV295 BB
 GREENEVILLE, TN 37743-5973
                                                                    Certified #:70180360000076091503


RE: TAKOMA REGIONAL HOSPITAL, INC. f/k/a TAKOMA HOSPITAL, INC. et al.

 VS:PURDUE PHARMA, L.P. et al.

Dear Clerk,

          Enclosed are the following papers in the above styled case:
         O Original Summons
         0 Affidavit and Endorsement
         O Registered or Certified Return Receipt signed by:
               C T CORPORATION
         ❑ Registered or Certified letter returned refused
         O Registered or Certified letter returned undelivered with notation:


                                                                  Sincerely,




                                                                  Tre Hargett
                                                                  Secretary of State




Enclosures: Original Documents
SS-4210(Rev. 8/15)                                                                             RDA 1003
            USPS


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                                                                         First-Class Mall
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                                            Department of State
                                       Division of Business Services
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                                     312 Rosa L. Parks AN enue.6 Floor
                                            N ash% We.'FN 37243




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•ENDER COMPLETE THIS SECTION                                   EP 'HIS SECTION ON DELIVERY


• Complete items 1, 2, and 3.                        A. Signature
                                                                                                      •Agent
• Print your name and address on the reverse
 so that we can return the card to you.
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                                                     B. Received by (Printed Name)                C. Date of Deliver
• Attach this card to the back of the mailpiece,
  or on the front if space permits.
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                                                  State ofTennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC
 fikla TAKOMA HOSPITAL,INC.,et al.

                    Plaintiffs,                                                NO.                 J CiCt/Aq5 Le)
                                                                                         Jury Demanded
 V.

 PURDUE PHARMA,L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      SpecGx LLC                                                Method of Service:
          c/o The Corporation Trust Company                         TN Department of State
          Corporation Trust Center                                  Division of Business Services
          1209 Orange St.                                           Summons Section
          Wilmington, DE 19801                                      6th Floor, William R. Snodgrass Tower
                                                                    Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer, plaintiffs' attorney, whose
address is 1702 W. Andrew Johnson Hwy., Morristown,TN 37816-2046 a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you,
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so,judgment by default will be taken against you for the relief demanded in the
Complaint.

          Issued this the     ie;?'        day of                                     , 2019. at     o'clock         //M.

                                                                Clerk

                                                                Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               .2019.
                                                                    Deputy Sherriff

                                            RETURN ON SERVICE OF SUMMONS

I hereby certify and return that on the             da. of              2019. I served this summons togRer with
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the Complaint as follows:
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failed to serve this summons within 30 days after its issuance because
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                                                          NOTICE                                      "T1 r
   ( I)                                                                                                cr)—
             The original answer shall be filed with the Clerk of the Court simultaneously with service.4yrr         IT
             plaintiffs' attorney.                                                                    >              Cii
                                                                                                      --t
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.   m             C;)
                                                                Division of Business Services
                                                                    Department of State
                                                                     State of Tennessee
                                                                  312 Rosa L. Parks AVE.6th FL
     *..........                                                    Nashville. TN 37243-1102
   Tre Hargett
 Secretary of State

 HON. CHRIS SHEPARD                                                                         08/20/2019
 101 S MAIN ST                                                                    Case #:CC19CV295 BB
 GREENEVILLE. TN 37743-5973
                                                                      Certified #:70180360000076091510


RE: TAKOMA REGIONAL HOSPITAL,INC. f/k/a TAKOMA HOSPITAL, INC. et al.

 VS:PURDUE PHARMA, L.P. et al.

Dear Clerk,

         Enclosed are the following papers in the above styled case:
         111 Original Summons
       •Affidavit and Endorsement
        •Registered or Certified Return Receipt signed by:
               C T CORPORATION
        [=1   Registered or Certified letter returned refused
         D Registered or Certified letter returned undelivered with notation:


                                                                     Sincerely,




                                                                    Tre Hargett
                                                                    Secretary of State




Enclosures: Original Documents
SS-4210(Rev 8/15)                                                                                RDA 1003
                           BREWER AND TERRY, P.C.
                                       Attorneys at Law
                                1702 W Andrew Johnson Highway
                                        P.0. Box 2046
GARY E. BREWER                     Morristown, TN 37816-2046
STEVEN W. TERRY                                                      TELEPHONE (423) 587-2730
stevecbrewerandterry.com                                             TELECOPIER (423) 585-0427




                                     August 16. 2019




Christopher Shepard
Circuit Court Clerk
101 S. Main Street, Suite 302
Greeneville. TN 37743

RE: Takoma Regional Hospital, Inc. f/k/a Takoma Hospital, Inc., et al.
    v.
    Purdue Pharma,L.P.,et al.

Dear Mr. Shephard:

Enclosed is the original Summons issued to Noramco, Inc. which we were unable to serve
due to an,insufficient address.

Sine e
                                                FILED
           <                                 TIME '
                                                  3.
   ry
         BrTer                              n         AUG 1 9 2019
                                                   PAwcR61
                                             Circuit Court
Enclosure
                    IN THE CIRCUIT COURT FOR GREENE COUNTY,TENNESSEE
                                      AT GREENVILLE


  TAKOMA REGIONAL HOSPITAL,et al.,

               Plaintiffs,
                                                                                  FILED
  v.                                                    Case No. CC19C

  PURDUE PHARMA L.P., et al.,                                                          AUG 19 2019
                                                                                          Or6
               Defendants.
                                                                             Circuit Cou
                       MOTION BY AGREEMENT TO EXTEND TIME
                 TO ANSWER,MOVE TO DISMISS,OR OTHERWISE RESPOND
                            TO PLAINTIFF'S COMPLAINT

               In accordance with the Tennessee Rules of Civil Procedure, Plaintiffs and Defendants

Abbott Laboratories and Abbott Laboratories Inc. (collectively, "Abbott"), by their respective

undersigned counsel, hereby file this agreed motion to extend the time for Abbott to answer, move

to dismiss, or otherwise respond to Plaintiffs' Original Complaint ("Complaint"), and in support

state as follows:

               1.     Abbott's original deadline to respond to the Complaint has not expired.

               2.     Plaintiff is not opposed to extending the time for Abbott to answer, move to

 dismiss, or otherwise respond to Plaintiffs Complaint until October 1, 2019.

               3.     This Motion is not sought for delay but made in the interests of justice and

judicial economy. Abbott has not previously requested any extension of time to respond to the

 Complaint in this case from this Court.




46645200-v I
                              CERTIFICATE OF SERVICE
          This is to certify that on copies of the foregoing AGREED MOTION TO EXTEND

 THE DEADLINE FOR ABBOTT LABORATORIES AND ABBOTT LABORATORIES INC

 TO ANSWER,MOVE TO DISMISS,OR OTHERWISE RESPOND TO PLAINTIFF'S

 COMPLAINT will be served on all counsel of record.

                                   /s/ Gary E. Brewer




                                             3
46645200-v1
VENABLE„,                                                750 E PRATT STREET SUITE 900 BALTIMORE. MD 21202
                                                         T 410 244 7400 F 410 244 7742 www Venable corn



                                                                                  James K. O'Connor
                                                                                    4 10-244-5217
                                                                                  1 410244 7742
                                                                                  jko'connor 4‘enable com


                                        August 16, 2019



VIA FEDERAL EXPRESS

Clerk's Office
Greene County Circuit Court
101 S. Main Street, #302
Greeneville. TN 37743

       Re:    Takoma Regional Hospital et aL v. Purdue Pharma L.P., et al.
              Case No. CC19CV295BB

Dear Clerk of Court:

       Enclosed is an original and one copy of a Motion by Agreement to Extend Time to
Answer. Move to Dismiss, or Otherwise Respond to Plaintiffs Complaint for filing in the above-
captioned matter. Please date-stamp the enclosed copy and return it via the enclosed self-
addressed. postage prepaid envelope.

       Thank you for your assistance.

                                            Sincerely,



                                            James K. O'Connor

JKO/tfm
Enclosures
47456938                                                 FILED
                                                   TIME             I  d
                                                               AUG 19 2019
                                                                              d
                                                                        CMVIck-IA
                                                   Circ            Court Clerk
                                                   State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

 TAKOMA REGIONAL HOSPITAL. INC.
 fkla TAKOM A HOSPITAL, INC., et al.

                    Plaintiffs.                                                 NO.        LiqC1/
                                                                                                , 29386
                                                                                        J ury Demanded
 V.

 PURDUE PHARMA. L.P.,et al.

                    Defendants.

      TO THE ABOVE NAMED DEFENDANTS:

 TO:      Mark Timney                                              Method of Service:
          354 Pako Avenue                                          TN Department of State
          Keene, New Hampshire 03431-5023                          Division of Business Services
                                                                   Summons Section
                                                                   6 Floor. William R. Snodgrass Tower
                                                                   '
                                                                   Nashville, TN 37243

         You are hereby summoned and required to serve upon Gary E. Brewer. plaintiffs' attorne)., whose
 address is 1702 W. Andrew Johnson Hwy., Morristown, TN 37816-2046. a true copy of the answer to the
 Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
 exclusive of the day of service. You will file the original with the Court.

        If you fail to do so,judgment by default will be taken against you for the relief demanded in the
 Complaint.

          Issued this the /c               day of                                      2019, at410o'clock        .M.
                                                                                       8/74a2AW-
                                                                 Clerk pj
                                                                        ans

                                                                 Deputy Clerk

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

          Received this the       day of               . 2019.
                                                                     Deputy Sherriff

                                            RETURN ON SERVICE OF SU M MONS

I hereby certify and return that on the             day of             . 2019. I served this summons together with
the Complaint as follows:


failed to serve this summons within 30 days after its issuance because


                                                          NOTICE
   (1)       The original answer shall be filed with the Clerk of the Court simultaneously with service on
             plaintiffs' attorney.
   (2).      All original exhibits filed with the answer shall be filed with the Clerk of the Court.
                            BREWER AND TERRY, P.C.
                                        Attorneys at Law
                                1702 W. Andrew Johnson Highway
                                         P 0. Box 2046
GARY E. BREWER                     Morristown, TN 37816-2046
STEVEN W TERRY                                                     TELEPHONE (423) 587-2730
steve@brewerandterry.com                                           TELECOPIER (423) 585-0427




                                                                      3FILETD
                                     August 16. 2019             TIM       3
                                                                          A UG 1 9 2019
                                                                                     ta A
Christopher Shepard                                              Circuit Cou 4„
Circuit Court Clerk
101 S. Main Street. Suite 302
Greeneville, TN 37743

RE: Takoma Regional Hospital, Inc. f/k/a Takoma Hospital, Inc., et al.
    v.
    Purdue Pharma,L.P.,et al.

Dear Mr. Shephard:

Enclosed is a Summons issued to Noramco. Inc. in the above captioned case. Please
certify by placing your seal on the Summons,then return to me in the self-addressed
stamped envelope which I have provided, and I will forward to the Secretary of State for
service.

Sincer



 ary



Enclosure
From:                                                                08/22/2019 14:48          #610 P.002/008




                   IN THE CIRCUIT COURT FOR GREENE COUNTY,TENNESSEE
                                     AT GREENEVILLE


        TAKOMA REGIONAL HOSPITAL. INC.,
        F/KJA TAKOMA HOSPITAL,INC.. et al.,

              Plaintiffs,

        vs.                                                        No.     CC19CV295 BB

        PURDUE PHARMA L.P., et al.,

               Defendants.



                             CONSENT MOTION FOR ORDER EXTENDING
                                    TIME TO FILE RESPONSE


              Defendant Rite Aid of Maryland, Inc.("Rite Aid"), by its undersigned counsel,:no\ es for

    a Consent Order extending the time to file its response to the Complaint. In support thereof, Rite

    Aid states as follows:

              1.     Plaintiffs have agreed to a Consent Order (attached hereto) extending the time for

                     Rite Aid to file its response to the Complaint until October 1. 2019.

              2.     This extension is not sought for delay but made in the interest of judicial

                     economy. Rite Aid has not previously requested any extension of time to respond

                     to the Complaint in this case.

              3.      Rite Aid, in seeking a Consent Order extending the time to file its response to the

                     Complaint, does not waive any of its defenses to this action, including, but not

                     limited to, lack of personal jurisdiction or improper venue. All such defenses are

                     specifically reserved. Further, Rite Aid does not waive its right to timely remove

                     this action to federal court.




                                                                                      AU() 22 2019

                                                                                             curt Clerk
From:                                                                  08/22/2019 14:48           #610 P.004/008




                                        CERTIFICATE OF SERVICE

               I do hereby certify that I served all parties to this motion via email with a true and correct

        copy of the foregoing document on this the 44,4day of August, 2019.



                                                     By:
                                                        Larry H. Montgomery(#9579)
                                                        GLANKLER BROWN,PLLC
                                                        6000 Poplar Ave., Suite 400
                                                        Memphis, TN 38119
                                                       (901)576-1718 Telephone
                                                       (901)525-2389 Facsimile
                                                        Imontgomeryaglankler.com
                                                       jalpertaglankler.com
        IN THE CIRCUIT COURT FOR GREENE COUNTY,TENNESSEE
                          AT GREENVILLE

TAKOMA REGIONAL HOSPITAL,INC.F/K/A        )
TAKOMA HOSPITAL,INC.,AMISUB(SFH),INC.,    )
BAPTIST WOMENS HEALTH CENTER,LLC,         )   No.: CC19CV295BB
CAMPBELL COUNTY HMA,LLC,CLARKSVILLE       )
HEALTH SYSTEM,G.P., CLEVELAND TENNESSEE )
HOSPITAL COMPANY,LLC,COCKE COUNTY         )   JURY TRIAL DEMANDED
HMA,LLC,DICKENSON COMMUNITY HOSPITAL, )
HAWKINS COUNTY MEMORIAL HOSPITAL F/K/A )
HAWKINS COUNTY MEMORIAL HOSPITAL,         )
JEFFERSON COUNTY HMA,LLC,JOHNSTON         )     FILED
MEMORIAL HOSPITAL,INC.,LEBANON HMA,LLC )      TIME 2*. -yr-,
F/KA LEBANON HMA,INC.,LEXINGTON HOSPITAL )
CORPORATION,METRO KNOXVILLE HMA,LLC, )            AUG 2 3 2019
MOUNTAIN STATES HEALTH ALLIANCE F/K/A     )   Cdruprid ka -16
JOHNSON CITY MEDICAL CENTER HOSPITAL,INC.,)
NORTHEAST TENNESSEE COMMUNITY HEALTH )        Circuit CourtTler
CENTERS,INC.,NORTON COMMUNITY HOSPITAL, )
SAINT FRANCIS HOSPITAL — BARTLETT,INC.F/KA)
TENET HEALTH SYSTEM BARTLETT,INC.,        )
SHELBYVILLE HOSPITAL COMPANY,LLC F/K/A    )
SHELBYVILLE HOSPITAL CORPORATION,         )
SMYTH COUNTY COMMUNITY HOSPITAL,          )
TULLAHOMA HMA,LLC F/K/A TULLAHOMA HMA, )
INC.,and WELLMONT HEALTH SYSTEM F/K/A     )
BRMC/HVHMC,INC.,                          )
                                          )
Plaintiffs.                               )
                                          )
v.                                        )
                                          )
PURDUE PHARMA L.P.; PURDUE PHARMA,INC.; )
THE PURDUE FREDERICK COMPANY; RICHARD )
SACKLER; BEVERLY SACKLER; DAVID SACKLER;)
ILENE SACKLER LEFCOURT,JONATHAN           )
SACKLER; KATHE SACKLER; MORTIMER D.A.     )
SACKLER;THERESA SACKLER;JOHN STEWART;)
MARK TIMNEY; CRAIG LANDAU; RUSSELL        )
GASDIA; ANDREW T.STOKES; AMNEAL           )
PHARMACEUTICALS,LLC; AMNEAL
PHARMACEUTICALS,INC.; TEVA
PHARMACEUTICAL INDUSTRIES,LTD.;
TEVA PHARMACEUTICALS USA,INC.;
CEPHALON,INC.; JOHNSON & JOHNSON;
                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document has been delivered to all counsel for
parties at interest in this cause by placing a copy of the same in the Unites States mail, postage
prepaid. in a properly addressed envelope, or by delivering same to each such attorney as follows:

                                      Gary E. Brewer, Esq.
                   o Iland            Brewer & Terry. P.C.
                       ail            1702 W Andrew Johnson Hwy
                 r   Fax
                 1 o FedEx
                   o Email
                                      Morristown, TN 37814-3737
                                      Attorney for Plaintiffs
                                      robin brewerandterry.com

                                       John A. McCauley, Esq.
                                       Venable, LLP
                 e‘er.ls4
                   o Hand              750 East Pratt Street, Suite 900
                     . ail             Baltimore, Maryland 21202
                  0 Fax              j jamccauleyrd venable.com
                   o FedEx           r Attorney for defendants
                   2 Email             Abbott Laboratories Inc
                                       And Abbott Laboratories

                                      Roger Dickson. Esq.
                                      Miller & Martin PLLC
                                      Volunteer Building Suite 1200
                  o Hand
                                      Chattanooga. TN 37402-2289
                      ail
                                      roger.dicksoniimillermartin.com
                  o Fax
                                      Attorney for defendant
                  o FedEx
                                      Amerisourcebergen Drug Corporation
                  o Email
                                      And Cardinal Health Inc.


                                      Nathan Bicks, Esq.
                                      Burch. Porter & Johnson, PLLC
                                      1 30 North Court Ave
                  o and
                                      Memphis TN 38103
                      ail
                                      nbicks(iibpjlaw.com
                  o Fax
                                      Attorney for defendants
                  o FedEx
                                      CVS Health Corporation
                  o Email
                                      CVS Indiana LLC and
                                      CVS Pharmacy Inc

                  o • nd               Joshua Hoeppner. Esq.
                    Mail             1 201 West Sullivan Street
                  o Fax                Kingsport, TN 37660
                  o FedEx              Josh@HoeppnerLaw.com
HODGES
DOUGHTY
kCARSON
A T TOR NE Y




                                                                         H.
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                                                    A ugust 22 019

  Via Hand-Delivery
  Mr. Christopher Shepard
  Greene County Circuit Court Clerk
  1 01 South Main Street
  Suite 302
  Greeneville, TN 37743

          Re:    Takoma Regional Hospital, Inc. et al. v. Purdue Pharma, L.P. and Andrew Stokes, et
                 al.
                 Greene County Circuit Court Docket No.: CC19CV295BB

  Dear Mr. Shepard:

         Please find enclosed for filing a Motionfor Extension of Time to File Responsive Pleading and
  an Agreed Order Permitting Defendant Andrew T. Stokes Through October 1, 2019 to File Responsive
  Pleading in the captioned case.

          Thank you for your cooperation and assistance in this matter. Should you have any questions or
  need additional information, please do not hesitate to contact me.

                                                           Very truly yours,

                                                          HODGES,DO iGHTY & CARSON,PLLC



                                                          Joshua J.
  JJB/mrm

   Enclosures
                                                                FILED
  cc:     Gary E. Brewer, Esq.
          John A. McCauley, Esq.
                                                        TIME 2. -PrY
          Roger Dickson, Esq.                                         AUG 2 3 2019
          Nathan Bicks, Esq.                                          rnfri
          Joshua Hoeppner, Esq.
          John W. Reis, Esq.
          Janelle Geddes, Esq.                            Circuit Co
          Matthew B Evans, Esq.


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                                      P. •e. , , r. nal L.rn:t ..-2
                                        State of Tennessee
                                 Circuit Court of Greene Count
                                          at Greeneville

TAKOMA REGIONAL HOSPITAL, INC.
a/a TAKOM A HOSPITAL, INC.,et al.

               Plaintiffs,                                   NO.     CC19CV295BB
                                                                     Jury Demanded
V.

PURDUE PHARMA, L.P., et al.                                  WAIVER OF SERVICE


TO:    Richard Sackler
       Beverly Sackler
       David Sackler
       Ilene Sackler Lefcourt
       Jonathan Sackler
       Kathe Sackler
       Mortimer D.A.Sackler                                  TIME             `S            —
       Theresa Sackler
       c/o Robert Chapski, Esq.
                                                                       AUG 23
       Lewis, Thomason, King, Krieg & Waldrop, P.C.                                201'c
       424 Church St.
       Suite 2500                                             Circuit Cou
       P.O. Box 198615
       Nashville, TN 37219

       I acknowledge receipt of your request that I waive service of a summons in the action of

Takoma Regional Hospital Inc.f/k/a Takoma Hospital, Inc., et al., Pudue Pharma, L.P., et al.,

which is case number CC19CV295BB in the Circuit Court of the State of Tennessee in and for

the County of Greene at Greeneville. I also have received a copy of the complaint in the action

and a means by which I can return the signed waiver to you without cost to me.

       I agree to save the cost of service of a summons and an additional copy of the complaint

in this lawsuit by not requiring that I (or the persons on whose behalf I am acting) be served with

judicial process in the manner provided by the Tennessee Rules of Civil Procedure.
                              BREWER AND TERRY, P.C.
                                           Attorneys at Law
                                   1702 W. Andrew Johnson Highway
                                            P.0. Box 2046
GARY E BREWER                         Morristown, TN 37816-2046
STEVEN W. TERRY                                                          TELEPHONE (423) 587-2730
steve@threwerandterry.com                                                TELECOPIER (423) 585-0427




                                        August 20, 2019




Christopher Shepard
Circuit Court Clerk
101 S. Main Street, Suite 302
Greeneville, TN 37743

RE: Takoma Regional Hospital, Inc. f/k/a Takoma Hospital, Inc., et al.
    v.
    Purdue Pharma,L.P..et al.

Dear Mr. Shepard:

You will find enclosed a Waiver of Service that the attorney for the eight Sackler defendants has
signed. I would appreciate it if you would file the Waiver of Service in the record in this case.

Si     rely,




     ry E. B wer



Enclosure
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                                            Ciro court Clerk
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                                                           Division of Business Services
                                                               Department of State
                                                                State of Tennessee
          ig*                                                  312 Rosa L. Parks AVE.6th FL
       •.........                                                Nashville. TN 37243-1102
    Tre Hargett
  Secretary of State
 STEWART, JOHN                                                                             07/31/2019
 2847 HARBOR BLVD
 VENTURA, CA 93001-4103


 RE: TAKOMA REGIONAL HOSPITAL. INC. f/k/a TAKOMA HOSPITAL, INC. et al.

  VS:PURDUE PHARMA, L.P. et al.


                                       Notice of Service
       The enclosed process, notice or demand is hereby officially served upon you by the
Tennessee Secretary of State pursuant to Tennessee law. Please refer to the process, notice or
demand for details concerning the legal matter. If you have any questions, please contact the
clerk of the court that issued the process, notice or demand.
       The process, notice or demand may have a court date and time that you must appear to
defend yourself or the number of days from the date of service by which you are required to file
an answer. Failure to appear in court at the time specified or failure to file an answer in the given
time could result in a default judgement being rendered against you for relief sought in the
lawsuit.
      The Secretary of State's office cannot give you legal advice. If you need legal advice,
please consult a private attorney.




                                                                 Tre Hargett
                                                                 Secretary of State
Enclosures: Original Documents


DOCUMENT INFORMATION
SOS Summons # : 07784529
Case #:         CC19CV295 BB
Certified #:    70180360000076091527




SS-4214 (Rev. 8/15)                                                                            RDA 1003
                  IN THE CIRCUIT COURT OF GREENE COUNTY. TENNESSEE

TAKOMA REGIONAL HOSPITAL. INC. f/k/a.
TAKOMA HOSPITAL, INC.. et al.

         Plaintiffs.
                                                               Case No. CC19CV295BB
 V.


PURDUE PHARMA. L.P., et al..

         Defendants.

  CONSENT MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

         Plaintiffs and Defendant H.D. Smith. LLC hereby move for an extension of time through

and including October 1. 2019. for H.D. Smith, LLC to respond to the Complaint in this matter.

In support of this Motion, Plaintiffs and Defendant H.D. Smith, LLC assert the following:

          1.      H.D. Smith. LLC was served with Plaintiffs' Summons and Complaint on or

about August 16. 2019. Pursuant to Tennessee Rule of Civil Procedure 12, H.D. Smith's

response to the Complaint is due on or before September 16. 2019.

         2.       The Complaint, which is brought by 22 named plaintiffs, contains 1.096

paragraphs of allegations over 336 pages and asserts six causes of action against dozens of

defendants (and numerous distinct groups of defendants). Given the Complaint's length and

complexity. defendants need additional time to respond to it.

         3.       Plaintiffs do not oppose the extension of time requested herein.

         4.       This Motion is filed in good faith and not for the purpose of unnecessary delay,

and the granting of this Motion will not prejudice Plaintiffs.

         WHEREFORE, it is respectfully requested that this Court grant Defendant H.D. Smith,

LLC an extension of time up to and including October 1, 2019, to respond to the Comelairlt f

in this action.

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                                                                                 kA I
                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that an exact copy of this pleading has been served upon
counsel for all parties in this action, or upon said parties themselves as required by law, by
delivering a copy thereof, or by depositing a copy of the same in the United States Mail, with
sufficient postage affixed thereto to ensure delivery to the following:

                 Gary E. Brewer
                 Brewer & Terry, P.C.
                 1 702 W. Andrew Johnson Highway
                 Morristown, TN 37814

                 Nathan Bicks
                 Burch, Porter & Johnson, PLLC
                 1 30 North Court Avenue
                 Memphis, TN 38103


          This the 22"d day of August. 2019.

                                               MILLER & MARTIN PLLC


                                               By:




                                                 3
I 8028874v I
                                I                                          le
                           IN THE CIRCUIT COURT FOR GREENE COUNTY
                                  AT GREENEVILLE,TENNESSEE


     TAKOMA REGIONAL HOSPITAL INC.,
     et al.,

             Plaintiffs,

     v.                                                                   No. CC19CV295BB

     PURDUE PHARMA L.P., et al.

             Defendants.


                    CONSENT ORDER EXTENDING TIME TO FILE RESPONSE


             It appearing to the Court. as evidenced by the signatures of counsel for the parties below,

     that there is no opposition to the request of the Defendants The Kroger Co., Kroger Limited

     Partnership II. Walmart Inc., Wal-Mart Stores East. LP. and Walgreens Boots Alliance, Inc. (the

     "Kroger, Walmart, and Walgreens Defendants") for an extension of time to file their response to

     the Complaint, the Court finds that the Kroger, Walmart, and Walgreens Defendants' request for

     an extension of time to file their response should be granted.

             Nothing in this Order shall be construed as a waiver ofany defenses available to the Kroger.

     Walmart, and Walgreens Defendants including, but not limited to, the right to challenge personal

     jurisdiction in this matter.

             It is, therefore, ORDERED that the Kroger, Walmart, and Walgreens Defendants shall file

     their response to Plaintiffs' Complaint on or before October 1, 2019.

     ENTERED this /0day of August, 2019.




                                                                                       it




54
Los Angeles. CA 90071-2452
T: 213.489.3939
F: 213.243.2539
cjlovrienajonesday.com
sgconway( djonesday.com

Attorneysfor Defendants Walmart Inc.
and Wal-Mart Stores East. LP


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                                   "••• ,S                dzspAr.-
 Matthew J. Evans(BPR #017973)
Paige Coleman(BPR #032690)
 KAY GRIFFIN, PLLC
900 S. Gay Street, Suite 802
 Knoxville. Tennessee 37902
(865)314-8422
(865)320-0894

Counselfor Wulgreens Boots Alliance, Inc.


* denotes national counsel who will seek pro hac
vice admission




              .      ra&A."4"           ON         V. s
Gary. E. Brewer(#000942)
1702 W. Andrew Johnson Highway
Morristown, Tennessee 37814
Telephone: 423-587-2730
robin@brewerandterry.com

John W. Barrett
Sterling Starns
David McMullan, Jr.
Richard Barrett
404 Court Square North
Lexington, Mississippi 39095
Telephone: 662-834-9168
donbarrettpaagmail.com

Warren Burns
                       •                                         •
                                 CERTIFICATE OF SERVICE

       I do hereby certify that I served on all parties to this motion a true and correct copy of the
foregoing document electronically, and on plaintiffs' counsel via United States Mail, First Class
Postage prepaid, this the 1 5t`` day of August, 2019.




 Josh oeppner B.P.R. #028908
 Hoeppner Law PLLC
 201 West Sullivan Street
 Kingsport, TN 37660
 Josh@HoeppnerLaw.com
(423)247-6151




                                                5
8/13/2019.                                                                 Josh Hoeppner, Attorney at Law Mail - consent order



 Gm                                                                                                                                               Josh Hoeppner <josh@hosponerlaw.com>




 consent order
 Matthew Evans <Matthew.Evans@kaygriffin.com>                                                                                                                    Mor. Aug 12, 2019 at 3',50 PM
 To Josh Hoeppner <josh©hoeppnertaw.com>
 Cc: Paige Coleman <Paige.coleman@kaygnffin.com>

   Josh-
   I have reviewed the pleading and you may sign our names to the pleading with permission and on behalf of Walgreen's.
   Please forward a copy of the filed pleadings to us by email. Thanks for your help. Matthew.


   Matthew J Evans
   Member
   Kay Griffin PLLC

   marthew e:a-scOvkaygrIftir cc^.

   p 865.314.8422 f: 865.320.0894

   930 S Gar Sr SJ,le 822. Knox.,Ae 7N 37902

   Website



   The information contained in this message is intended only for the personal and confidential use of the designated recipients named above. This message may be an attorney-client
   communication and, as such. is privileged and confidential. If the reader of this message is not the intended recipient, you are hereby notified that you have received this document in
   error, and any review, dissemination, distribution, or copying of this message is strictly prohibited. If you have received this communication in error. please notify us immediately by
   telephone at(615)742-4800 and return the message to us via e-mail. Thank you.




   Sent from my BlackBerry - the most secure mobile device

  (Quoted text rapper,]




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                                       CERTIFICATE OF CLERK

        1. Chris Shephard                          Clerk of Circuit Court for Greene      County, do

hereby certify that a true and exact copy of these documents have been served upon

Josh Hoeppner. Esq (SASE)


Janelle Geddes, Esq @, 51 Louisiana Avenue NW, Washington. Washington DC 20001-2113


Mattew J Evans. Esq g- 900 S Gay Street Suite-802, Knoxville TN 37902


Gary Brewer. Esq @ 1702 W Andrew Johnson Hwy, Morristown TN 37814




by placing a true and exact copy in the U.S. Mail, or by hand delivery, with sufficient postage to

carry same to its destination.

        This the 28th       day of August                - 20 19




                                                           Chris Shepard
                                                                                             Clerk

                                                           Tonya Stills
                                                                                       Deputy Clerk
08/02/2019   FRI   16:10    FAI                                                                           2002/004




                                  IN THE CIRCUIT COURT FOR GREENE COUNTY
                                          AT GREENVILLE,TENNESSEE


        TAKOMA REGIONAL HOSPITAL INC.,
        et al.,

                   Plaintiffs,

        v.                                                                     No. CCI9CV295BB
                                                                               JURY DEMANDED
        PURDUE PHARMA L.P., et al.

                   Defendants,


                           CONSENT ORDER EXTENDING TIME TO FILE RESPONSE


                   It appearing to the Court, as evidenced by the signatures of counsel for the parties below,

        that there is no opposition to Defendants CVS Health Corporation, CVS Pharmacy, Inc., and

        CVS Indiana, L.L.C.'s("CVS Defendants") request for an extension oftime to file their response

        to the Complaint, the Court finds that CVS Defendants request for an extension of time to file

        their response should be granted.

                   Nothing in this Order shall be construed as a waiver of any defenses available to CVS

        Defendants including, but not limited to, the right to challenge personal jurisdiction in this

        matter.

                   It is, therefore, ORDERED that the CVS Defendants shall file their response to Plaintiffs'

        Complaint on or before October 1, 2019.

        ENTERED this        20 day ofJ      y, 019.
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               DATE      is                             CaleUIT COURT JUDCAE
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        New Orleans, Louisiana 70130
        Telephone: 504-799-2845


        Jonathan W. Cuneo
        Monica Miller
        Mark H.Dubester
        David L. Black
        Jennifer E. Kelly
        Evelyn Li.
        4725 Washington, D.C. 20016
        Telephone: 202-789-3960

        Steve Martino
        51 St. Joseph St.
        Mobile, Alabama 36602
        Telephone: 251-433-3131

        Gerald M. Abdalla, Jr.
        602 Steed Road, Suite 200
        Ridgeland, Mississippi 39157
        Telephone: 601-487-4590

        Attorneysfor all Plaintiffs


                                       CERTIFICATE OF SERVICE

                  do hereby certify that served on the counsel of record or parties a true and correct c y
        of the foregoing document via United States Mail, First Class Postage prepaid, this the PI.Znil
        day ofikpi% 2019.
              AlgiesAaf-


                                                          Ryan G. Saharovich




                                                      3
                                       CERTIFICATE OF CLERK

        1. Chris Shephard                       Clerk of Circuit Court for Greene       County, do

hereby certify that a true and exact copy ofthese documents have been served upon

Nathan Bicks, Esq @ 130 North Court Avenue, Memphis TN 38103


Gary Brewer. Esq @ 1 702 W Andrew Johnson Hwy, Morristown TN 37814




by placing a true and exact copy in the U.S. Mail, or by hand delivery. with sufficient postage to

carry same to its destination.

       This the 28th        day of August             — 20 19




                                                       Chris Shepard
                                                                                           Clerk

                                                       Tonya Stills
                                                                                    Deputy Clerk
                     IN THE CIRCUIT COURT FOR GREENE C
                            AT GREENEVILLE,TENNESSEE


TAKOMA REGIONAL HOSPITAL,INC.
F/K/A TAKOMA HOSPITAL,INC., et al.

       Plaintiffs,

vs.                                                       JURY DEMAND
                                                          No. CC19CV295BB
PURDUE PHARMA L.P., et al.

       Defendants.


        NOTICE OF SPECIAL LIMITED APPEARANCE OF COUNSEL
FOR DEFENDANTS RICHARD SACKLER,BEVERLY SACKLER,DAVID SACKLER,
   ILENE SACKLER LEFCOURT,JONATHAN SACKLER,KATHE SACKLER,
           MORTIMER D.A.SACKLER AND THERESA SACKLER


       Without prejudice and reserving all rights and defenses, notice is hereby given of the

special limited appearance of Robert F. Chapski, Whitney Henry Kimerling, Albert C. Harvey,

Justin N. Joy and Mark A. Castleberry of the law firm of Lewis. Thomason, King, Krieg &

Waldrop, P.C., as counsel for Defendants Richard Sackler, Beverly Sackler, David Sackler, Ilene

Sackler Lefcourt, Jonathan Sackler, Kathe Sackler, Mortimer D.A. Sackler and Theresa Sackler

in the above-styled case. By filing this Notice, the undersigned are putting the Court and the

parties on notice of the undersigned's involvement, and Defendants are hereby reserving any and

all defenses, both substantive and procedural, that the Defendants may have in this cause.

Counsel notes, without waiving any other rights or defenses, that the Defendants assert and

reserve any and all defenses to this matter, including those on the bases of improper venue and

lack of jurisdiction. The clerk is requested to direct all mailings and notices in this case to
                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served
on all parties at interest in this cause as follows:

      Z       By placing postage prepaid envelope in United States Mail Service, addressed to:

              Attorneys for All Plaintiffs:

              Gary E. Brewer, Esq.
              BREWER & TERRY,P.C.
              1702 W. Andrew Johnson Highway
              Morristown, TN 37814

              John W.(-Don")Barrett, Esq.
              Sterling Starnes, Esq.
              David McMullan, Jr., Esq.
              Richard Barrett, Esq.
              BARRETT LAW GROUP,P.A.
              P.O. Box 927
              404 Court Square North
              Lexington, MS 39095

              Warren Bums, Esq.
              BURNS CHAREST,LLP
              900 Jackson Street, Suite 500
              Dallas, Texas 75202

              Korey A. Nelson, Esq.
              Lydia A. Wright, Esq.
              Rick Yelton, Esq.
              BURNS CHAREST,LLP
              365 Canal Street, Suite 1170
              New Orleans, LA 70130

              Jonathan W. Cuneo, Esq.
              Monica Miller, Esq.
              Mark H. Dubester, Esq.
              David L. Black, Esq.
              Jennifer E. Kelly, Esq.
              Evelyn Li, Esq.
              CUNEO GILBERT & LADUCA,LLP
              4725 Wisconsin Avenue, NW
              Suite 200
              Washington, DC 20016




                                              3
For Defendant Andrew T. Stokes

Current service information and address unknown.

For Amneal Pharmaceuticals Defendants

Current service information and address unknown.

For Teva Defendants

Current service information and address unknown.

For Defendant Cephalon,Inc.

Current service information and address unknown.

For Defendant Johnson & Johnson

Current service information and address unknown.

For Janssen Defendants

Current service information and address unknown.

For Abbott Laboratories Defendants

Current service information and address unknown.

For Defendant Assertio Therapeutics, Inc.

Current service information and address unknown.

For Endo Defendants

Current service information and address unknown.

For Mallinckrodt Defendants

Current service information and address unknown.

For Defendant SpecGx,LLC

Current service information and address unknown.
For Kroger Defendants

Joshua Hoeppner, Esq.
Hoeppner Law,PLLC
201 West Sullivan Street
Kingsport. TN 37660

For CVS Defendants:

Nathan A. Bicks, Esq.
Ryan G. Saharovich, Esq.
Burch, Porter & Johnson,PLLC
130 N. Court Avenue
Memphis, TN 38103

For Wal-Mart Defendants

Janelle J. Geddes, Esq.
Jones Day
51 Louisiana Avenue, N.W.
Washington, Washington, D.C. 20001

For Defendant Walgreens Boots Alliance, Inc.

Matthew B. Evans, Esq.
Evans & Beier, LLP
818 West 15t North Street
Morristown, TN 37814

For Defendant Noramco

Current service information and address unknown.

For Defendant P & S Pharmacy

Current service information and address unknown.

For Defendant Lowell B. Grizzle

Current service information and address unknown.

For Defendant Henry Babenco

Current service information and address unknown.
                                                                                                   424 Church Street


     LT                                                                                                    Suite 2500
                                                                                                  Nashville, TN 37219
                                                                                  T. (615) 259-1366 F (615) 259-1389

                                                                                                   Robert F. Chapski
LEWIS THOMASON                                                                                     DL: (615) 259-1378
                                                                                       rchapsk iaLervisThomason.corn




                                           August 23. 2019


   Mr. Christopher Shepard, Clerk
   Greene County Circuit Court
   1 01 South Main Street
   Greeneville. TN 37743

          RE:    Takoma Regional Hospital,Inc. v. Richard Sackler,Jonathan Sackler,David
                 Sackler,and Beverly Sackler,et al.
                 Greene County Circuit Court No. CC19CV295BB

   Dear Mr. Shepard:

           Please file the enclosed the Notice of Special Limited Appearance of Counsel for
   Defendants Richard Sackler. Beverly Sackler, David Sackler. Ilene Sackler Lefeourt, Jonathan
   Sackler. bathe Sackler, Mortimer D..4. Sackler and Theresa Sackler in the above-referenced
   matter. I have enclosed an additional copy that I would ask you stamp "filed- and return to me in
   the self-addressed stamped envelope.

          Thank you for your attention to this matter and do not hesitate to contact me if you have
   any questions or concerns. Best regards.

                                        Sincerely.




                                                                         FILED
   RFC/sps                                                           TIME          t
   Enclosure                                                                  AUG 2 6 2019
                                                                                        urt
                                                                    Cir        t C urt Clerk




   www.lewisthomason.com                                             'Knoxville        'Memphis       'Nashville
                                                  State of Tennessee
                                            Circuit Court of Greene County
                                                     at Greeneville

TAKOMA REGIONAL HOSPITAL, INC.
Pk/a TAKOMA HOSPITAL. INC.,et al.

                     Plaintiffs,                                             NO.         CC I 9CV295BB
                                                                                         Jury Demanded
V.

PURDUE PHA RMA. L.P.,et al.
                                                                             ALIAS SUMMONS
                     Defendants.

     TO THE ABOVE NAMED DEFENDANTS:

TO:         Purdue Pharma,Inc.                                                Method of Sen ice:
            c/o United Corporate Services, Inc.                     TN Department of State
            10 Bank Street, Suite 560                                Division of Business Services
            White Plains, N--v York, 10606                          Summons Section
                                                                    6'h Floor, William R. Snodgrass Toner
                                                                     Nashville, TN 37243

        You are hereby summoned and required to serve upon Gary E. Brewer plaintiffs' attorney, whose
address is 1 702 W. Andrew Johnson Hwy., Morristown, TN 378 16-2046.a true copy of the answer to the
Complaint which is herewith served upon you, within 30 days after service of this summons upon you.
exclusive of the day of service. You will file the original with the Court.

       If you fail to do so, judgment by default will he taken against you for the relief demanded in the
Complaint.

            Issued this the     2911-)- day o                         9D1C1            , 2019. at        o'clock   .m.
                                                                )
                                                                71.1
                                                           (7     p uty Cl

(This Summons is issued pursuant to Rule 4 of the Tennessee Rules of Civil Procedures.)

            Received this the      das of            .2019.
                                                                    Deputy Sherrill'

                                            RETURN ON SERVICE OF SUMMONS

I hereby, certify and return that on the        day of                . 2019. 1 served this summons together \sith
the Complaint as follows:


failed to serve this summons within 30 day s after its issuance because


                                                             N OTICE
               'rile original answer shall be tiled with the Clerk of the Court simultaneously %kith service on
                plaintiffs' attorney.
     (2).       All original exhibits tiled with the answer shall he tiled kith the Clerk of the Court.
